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                                   No. 22-1795 & 22-1796

                In The United States Court of Appeals for the First Circuit
      AMERICAN TRUCKING ASSOCIATIONS, INC.; Cumberland Farms, Inc.; M&M
                          Transport Services, Inc.,
                                               Plaintiffs-Appellees,
                             New England Motor Freight, Inc.,
                                                   Plaintiff,
                                          v.
                    RHODE ISLAND TURNPIKE AND BRIDGE AUTHORITY,
                                                Defendant-Appellant,
            PETER ALVITI, JR., IN HIS OFFICIAL CAPACITY AS DIRECTOR OF
                RHODE ISLAND DEPARTMENT OF TRANSPORTATION,
                                                  Defendant-Appellant.

       On Appeal from the United States District Court for the District of Rhode
                     Island, Case No. 1:18-cv-00378-WES-PAS

                BRIEF OF DEFENDANTS-APPELLANTS
        RHODE ISLAND TURNPIKE AND BRIDGE AUTHORITY AND
            PETER ALVITI, JR., IN HIS OFFICIAL CAPACITY
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           REASONS WHY ORAL ARGUMENT SHOULD BE HEARD

            The Court should grant oral argument because the district court

      struck down a state statute on federal constitutional grounds and because

      this case presents important questions relating to federalism and the

      dormant Commerce Clause.




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                                    INTRODUCTION

             The district court held that the dormant Commerce Clause forecloses

       Rhode Island’s effort to fix its crumbling bridges by imposing a facially

       neutral toll on the classes of trucks that cause the lion’s share of the damage

       yet contribute a disproportionately small share to infrastructure

       maintenance. In so doing, the district court transformed the dormant

       Commerce Clause into a mechanism for federal courts to displace the

       reasoned judgments of state legislatures seeking to solve complex

       infrastructure problems. The decision below must be reversed.

             Rhode Island faces an infrastructure crisis. Nearly a quarter of the

       State’s bridges are structurally deficient, and many more are functionally

       obsolete. Existing revenue sources—principally federal funds, state bonds,

       and fuel taxes—generate “insufficient revenue” to “fund the maintenance

       and improvement of Rhode Island transportation infrastructure.” R.I. Gen.

       Laws § 42–13.1–2(4). So, the legislature took action. After efforts to make up

       the shortfall via increased license and registration fees failed to close the

       “funding gap,” id. § 42–13.1–2(7), the State enacted “The Rhode Island

       Bridge Replacement, Reconstruction, and Maintenance Fund Act of 2016,”

       or “RhodeWorks.” R.I. Gen. Laws § 42–13.1–1, et seq.



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             RhodeWorks has two basic components. First, it imposes tolls on the

       largest classes of trucks, namely, tractor-trailers. RhodeWorks does not

       distinguish between out-of-state and local trucks. Instead, it leverages the

       Federal Highway Administration’s vehicle classification schedule, imposing

       tolls on tractor-trailers (Class 8–13 vehicles), while excluding motorcycles,

       cars, and single-unit trucks (Class 1–7 vehicles). Tractor-trailers, the

       legislature found, impose “in excess of seventy percent (70%)” of the damage

       to the State’s transportation infrastructure, yet contribute less than 20% of

       the revenues used to keep that infrastructure in good repair.

             Second, the legislature blunted the tolls’ burden on the tractor-trailers

       that, because of their frequency of use, would otherwise pay the most, or

       else—to avoid paying—divert from highways onto residential roadways. For

       each tractor-trailer, the tolls are capped at $40 per day total; $20 for a one-

       way border-to-border trip along Interstate 95; and one toll per day in each

       direction for each toll facility. The caps are available to all tractor-trailers

       regardless of where they are registered.

             As the district court saw it, these careful legislative judgments are

       unconstitutional for two reasons. First, the court believed that RhodeWorks

       discriminates against out-of-state vehicles. It recognized that RhodeWorks,


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       by its terms, does not give competitive benefits to in-state vehicles that it

       withholds from out-of-state vehicles. Instead, the court’s reasoning was that

       Rhode Islanders are more likely to benefit from RhodeWorks’ daily caps and

       from the legislature’s decision to toll only tractor-trailers. The court also

       credited stray public statements by two officials, one of whom was not even

       a legislator, as evidence of the legislature’s discriminatory intent.

             This reasoning was misguided. RhodeWorks is not discriminatory.

       Discrimination, for dormant Commerce Clause purposes, requires similarly

       situated “out-of-state competitors” to be treated worse than their in-state

       competition. Grant’s Dairy-Me., LLC v. Comm’r of Me. Dep’t of Agric., Food

       & Rural Res., 232 F.3d 8, 18 (1st Cir. 2000). Under RhodeWorks, that never

       happens. An un-tolled Class 6 cement mixer does not compete with a tolled

       Class 8 tractor-trailer that hauls goods. And the daily discounts provided by

       the caps are open to all tolled tractor-trailers, regardless of their State of

       registration. As this Court observed in Doran v. Massachusetts Turnpike

       Authority, 348 F.3d 315 (1st Cir. 2003), frequency-based toll discounts that

       are   open   to   in-state   and   out-of-state   vehicles   but   in   practice

       disproportionately benefit in-state drivers do not “discriminate” in the

       constitutional sense.


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             Nor can the statements cited by the district court salvage its

       discrimination finding. As this Court cautioned when this case was last on

       appeal, the dormant Commerce Clause focuses on discriminatory effect, not

       intent, given the “inherent challenges of using evidence of individual

       lawmakers’ motives to establish” the motives of the “legislature as a whole.”

       Am. Trucking Ass’ns v. Alviti, 14 F.4th 76, 90 (1st Cir. 2021). The district

       court ignored this Court’s warning.

             Second, the district court held that RhodeWorks is unconstitutional

       because it fails to “fairly approximate” tractor-trailers’ use of bridges. That

       holding sharply diverged from settled law. States have long employed use-

       based tolls to raise infrastructure-repair revenues. While the Supreme

       Court has struggled mightily with (though upheld many) flat annual taxes

       that bear no relationship to vehicles’ use of the roads, it has never

       suggested—and no Circuit has ever held—that a road or bridge toll that

       varies based on miles driven or bridges crossed is unconstitutional.

             Under    a   proper    application     of     the    deferential     test   for

       nondiscriminatory fees, RhodeWorks poses no dormant Commerce Clause

       problem. See Evansville-Vanderburgh Airport Auth. Dist. v. Delta Airlines,

       Inc., 405 U.S. 707, 713 (1972); Nw. Airlines, Inc. v. Cnty. of Kent, 510 U.S.


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       355, 369 (1994). The tolls fairly approximate use: they charge the largest

       vehicle classes per crossing (with caps that reset daily). That arrangement

       is a far cry from the “wholly unreasonable” flat annual fees that have flunked

       “fair approximation” for charging sums “unrelated to road use.” Evansville,

       405 U.S. at 715–17.

            The district court was wrong that charging only the heaviest users

       creates a constitutional problem. In this Court’s words, “the government has

       reasonably drawn a line between those it is charging and those it is not.”

       Industria y Distribuction de Alimentos v. Trailer Bridge, 797 F.3d 141, 145

       (1st Cir. 2015). What’s more, contrary to the district court’s view, Rhode

       Island does not force tractor-trailers to pay all bridge maintenance costs.

       RhodeWorks revenue collected from tractor-trailers represents a fraction of

       the revenue used to repair tolled bridges, and a smaller fraction of the

       revenue used to repair the State’s highway system.

            The district court’s decision rested on its own views about where

       Rhode Island should have drawn the tolling line. The court seemed

       convinced that larger single-unit trucks in Classes 6–7 were more like

       tractor-trailers in Class 8 than single-unit trucks in Class 5. Thus, after

       delving into engineering and mathematics, the court concluded that the


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       legislature’s decision to begin tolling at Class 8 violates the dormant

       Commerce Clause.

            The district court’s dalliance into vehicle classification contravenes

       Supreme Court precedent “concerning highway tolls,” which “establish[es]

       that the States are empowered to develop ‘uniform, fair and practical’

       standards for this type of fee,” and that States may “exempt … users” from

       those fees so long as the lines they draw are “not wholly unreasonable.”

       Evansville, 405 U.S. at 715, 718. Any effort by a State to charge some users

       and not others will involve drawing a line somewhere. State legislatures are

       “entitled” to “adapt [their tolling] regulations to the classes” of vehicles

       whose use of the highways “created the necessity” for repair. Cont’l Baking

       Co. v. Woodring, 286 U.S. 352, 373 (1932). The Constitution reserves these

       judgments for Rhode Island’s General Assembly, not a federal court.

            The decision below should be reversed.

                          JURISDICTIONAL STATEMENT

            The district court had jurisdiction under 28 U.S.C. § 1331. This Court

       has jurisdiction under 28 U.S.C. § 1291. The final judgment was entered on

       September 21, 2022. Notices of Appeal were timely filed on October 19, 2022.




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            STATEMENT OF THE ISSUES PRESENTED FOR REVIEW

       1.    Whether RhodeWorks, which subjects all tractor-trailers—both in-

       and out-of-state—to identical tolls and identical daily-resetting caps,

       discriminates against similarly-situated “out-of-state competitors.” Grant’s

       Dairy-Me., 232 F.3d at 18.

       2.    Whether RhodeWorks, by levying user-based tolls on the classes of

       vehicles that overall cause the most damage to the State’s bridges and

       otherwise   under-contribute     to   repair    funds,    represents    a   “fair

       approximation” of bridge use by tolling in a manner that is not “wholly

       unreasonable.” Evansville, 405 U.S. at 715–18.




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                             STATEMENT OF THE CASE

       I.   RhodeWorks

            Rhode Island’s bridges have been deteriorating for decades. Home to

       some of the country’s oldest bridges, the State has the single worst record

       for structural deficiencies nationwide. App.__(May 25, 2022 Tr. 58:18–59:14;

       PX30). Twenty-three percent—nearly 200 bridges in total—are “classified

       as structurally deficient.” R.I. Gen. Laws § 42–13.1–2(2). Many more are

       functionally obsolete. App.__(PX30).

            In 2011, to address this infrastructure crisis, Rhode Island’s General

       Assembly increased license and registration fees to fund a new highway

       maintenance account. R.I. Gen. Laws § 42–13.1–2(5). By 2014, money

       remained lacking. Id. § 42–13.1–2(6). So, the legislature modified the fund to

       allocate additional revenue. Id. Even still, the legislature identified an

       ongoing “funding gap between the revenue needed to maintain all bridges in

       structurally sound and good condition and the annual amounts generated by

       current dedicated revenue sources.” Id. § 42–13.1–2(7).

            In response, the State began exploring levying tolls on its bridges. The

       Intermodal Surface Transportation Efficiency Act of 1991 (“ISTEA”)

       empowers States to undertake “reconstruction or replacement of a toll-free



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       bridge or tunnel and conversion of the bridge or tunnel to a toll facility.” 23

       U.S.C. § 129(a)(1)(E). Pursuant to this authorization, the legislature decided

       to convert several bridges into toll facilities.

             On February 11, 2016, the General Assembly enacted “The Rhode

       Island Bridge Replacement, Reconstruction, and Maintenance Fund Act of

       2016,” or “RhodeWorks.” R.I. Gen. Laws § 42–13.1–1. The statute directs the

       Rhode Island Department of Transportation (“RIDOT”) to set and collect

       tolls “for the privilege of traveling on Rhode Island bridges to provide for

       replacement, reconstruction, maintenance, and operation of Rhode Island

       bridges.” Id. § 42–13.1–4(a). Consistent with ISTEA, see 23 U.S.C.

       § 129(a)(3), revenue generated at each toll facility is first used to reimburse

       reconstruction costs for the associated bridge, at a rate reflecting a

       calculation by RIDOT engineers that measures the share of damage

       attributable to the tolled classes of vehicles. Remaining reconstruction costs

       are covered using 80% federal funding and 20% state funding (comprising

       license fees, registration fees, and gas taxes). App.__(June 10, 2022 Tr. at

       105:3–108:1; DX329 at 8). Once a toll facility is fully repaired, toll revenue

       can be used for annual maintenance and non-toll infrastructure projects

       permitted under ISTEA. App.__(June 10, 2022 Tr. at 111:16–114:1). (No


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       bridge was ever certified as repaired under RhodeWorks, so no excess tolls

       were used for other purposes. App.__(Id. at 112:24–113:5).)

             In designing RhodeWorks, the legislature weighed which vehicles to

       toll and how to structure the tolls. Initially, in 2015, it considered a proposal

       to toll all vehicles classified by the Federal Highway Administration

       (“FHWA”) as Class 6 and above. App.__(PX83; PX101). Under this scheme,

       tolls would have applied to single-unit trucks in Classes 6–7, like garbage

       trucks and dump trucks, as well as tractor-trailers (Classes 8–13). Add.7 n.5.

       But constituents voiced concerns, pointing to the financial strain on small

       businesses. App.___(May 23, 2022 Tr. at 128–29).

             The legislature ultimately opted to toll only tractor-trailers (Classes

       8–13), based on several key findings. See R.I. Gen. Laws § 42–13.1–2. The

       legislature found that “just one, fully-loaded five-axle …tractor trailer has

       the same impact on the interstate as nine thousand six hundred …

       automobiles.” Id. § 42–13.1–2(8). The legislature determined that, in total,

       tractor-trailers cause over “seventy percent (70%) of the damage to the

       state’s transportation infrastructure, including Rhode Island bridges.” Id.

       Notwithstanding the heavy damage they do, the legislature observed that

       tractor-trailers contribute “less than twenty percent (20%) of the state’s


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       total annual revenues to fund transportation infrastructure.” Id. The

       legislature thus determined that tractor-trailers should pay tolls because, by

       class, they do the most harm but contribute comparatively less to fund

       repairs.

             Tolling only tractor-trailers made administrative sense, too. Rhode

       Island collects RhodeWorks tolls using specialized technology. Each tolled

       bridge is associated with a nearby gantry, which deploys a laser to detect

       the telltale gap between a Class 8–13 vehicle’s tractor and its trailer.

       App.__(Verducci Dep. Tr. at 143:21–24). Where a gap is detected, the vehicle

       can be classed and tolled accordingly. App.__(Id. at 143:25–144:2). Class 4–7

       trucks lack this gap; they are single-unit. App.__(Id. at 143:21–144:2).

             The legislature was also careful to mitigate the financial burden on

       vehicles that would be the most affected by the new tolls. It set several caps

       on the total sum tolled in a single day. The first cap limits the tolling of a

       particular tractor-trailer to once per day, per toll facility in each direction.

       R.I. Gen. Laws § 42–13.1–4(b). The second sets a maximum total charge of

       $20 for a “border-to-border through trip on Route 95 Connecticut to Route

       95 Massachusetts,” to reduce the costs to truckers traveling interstate and

       to disincentivize rerouting onto residential streets. Id. § 42–13.1–4(c). The


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       third caps total charges, irrespective of route traveled, at $40 per day per

       truck. Id. § 42–13.1–4(d).

             To implement RhodeWorks, RIDOT established twelve toll facilities,

       with tolls ranging from $2.25–$9.50 per crossing. At gantries positioned

       along the border-to-border I-95 route, RIDOT set tolls at lower rates to

       effectuate RhodeWorks’ $20 cap. App.__(June 3, 2022 Tr. 126:15–127:15,

       137:5–21; DX327 at 12; DX301 at § 6.3). In its operation before the decision

       below, the tolls contributed $61,412,531.75 to the State’s highway fund—

       100% went to bridge improvements. App.__(PX632; June 10, 2022 Tr. at

       111:16–113:5). The toll revenue projected for 2022 was $42 million.

       App.__(June 10, 2022 Tr. at 102:22–24).

       II.   Procedural History

             In 2018, the American Trucking Associations and three companies

       sued RIDOT’s Director in his official capacity, alleging RhodeWorks violates

       the dormant Commerce Clause. The Rhode Island Turnpike and Bridge

       Authority (“RITBA”) intervened to defend the statute.

             The district court initially dismissed the case for want of jurisdiction

       under the Tax Injunction Act, but this Court reversed. Am. Trucking Ass’ns

       v. Alviti, 944 F.3d 45, 56 (1st Cir. 2019).



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             On remand, the district court declined to enter a preliminary

       injunction, finding Plaintiffs had not established a likelihood of success. Am.

       Trucking Ass’ns v. Alviti, 2020 WL 5443551, at *7–8 (D.R.I. Sept. 10, 2020).

       The parties proceeded to discovery. The case reached this Court again in

       2021, this time challenging the district court’s refusal to quash subpoenas of

       individual public officials and a consultant—discovery Plaintiffs sought to

       establish discriminatory intent. 14 F.4th at 83.

             This Court issued a writ of advisory mandamus reversing the district

       court’s decision to allow the discovery from the public officials. Id. at 91. This

       Court assigned little relevance to evidence of allegedly discriminatory

       legislative intent, given that “[t]he Supreme Court has repeatedly focused

       its Commerce Clause analysis on whether a challenged scheme is

       discriminatory in effect.” Id. at 89 (cleaned up). The discovery would carry

       little probative value due to “the inherent challenges of using evidence of

       individual lawmakers’ motives to establish that the legislature as a whole

       enacted RhodeWorks with any particular purpose.” Id. at 90.

             The district court conducted a twelve-day bench trial in May and June,

       2022. At its conclusion, the court held that RhodeWorks violates the dormant

       Commerce Clause because it discriminates against out-of-state commerce in


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       purpose and effect and fails to fairly approximate tractor-trailers’ use of the

       tolled bridges. Add.90.

             On discriminatory purpose, the district court viewed the decision to

       toll only vehicles in Classes 8–13 as “compelling evidence that the General

       Assembly sought to protect local businesses,” given that 80% of tractor-

       trailers hail from out of state. Add.69. Meanwhile, the court said, in-state

       tractor-trailers stand to benefit disproportionately from RhodeWorks’ toll

       caps. Add.71. The court also pointed to public comments by two officials—

       one of whom was not a legislator—as proof of discriminatory intent. Add.69–

       70.

             The district court additionally said that two aspects of RhodeWorks

       render it discriminatory in effect: the daily caps, and the decision to toll

       vehicles beginning at Class 8 (which the court called an “exemption” for

       Class 4–7 single-unit trucks). Add.83–86. First, the court concluded that the

       daily toll caps discriminate because they tend to benefit local tractor-trailers.

       Add.75. Second, the court concluded that the decision not to toll single-unit

       trucks was discriminatory because it shifted the tolling burden away from

       vehicle classes that are owned in higher percentages by in-staters (single-




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       unit trucks) onto those more likely to be owned by out-of-staters (tractor-

       trailers). Add.86.

             Because the court held that RhodeWorks is discriminatory, it applied

       strict scrutiny and (after less than a page of analysis, see Add.89) held that

       the State “fail[ed] to meet this high bar.” Add.5.

             The district court also held that RhodeWorks is not a “fair

       approximation” of bridge use. The court said that, by not tolling single-unit

       trucks, the legislature had “failed to reasonably draw a line between those it

       is charging and those it is not.” Add.58 (cleaned up). The court excluded from

       its fairness analysis (1) all non-toll sources of revenue for tolled bridges; and

       (2) all infrastructure costs and revenue contributions beyond the tolled

       bridges. Add.47, 49. Viewed through that narrowed lens, the court concluded

       that “large commercial trucks should not bear the entire tolling burden

       associated with defraying the costs of the tolled bridges.” Add.63.

             The district court entered judgment for Plaintiffs and enjoined further

       tolling under the RhodeWorks statute. RIDOT’s Director and RITBA now

       appeal.




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                                SUMMARY OF ARGUMENT

             RhodeWorks easily survives dormant Commerce Clause review.

       First, it is not discriminatory. The district court gleaned discriminatory

       intent from stray statements by two officials. But this Court has cautioned

       against precisely that error. See Alviti, 14 F.4th at 90 (“warn[ing] against

       relying too heavily on such evidence”). As for discriminatory effect, the tolls

       apply even-handedly to the vehicle classes that tend to do the most damage

       to bridges, regardless of the vehicles’ registration. Charging all tractor-

       trailers    does   not   disadvantage    any   similarly-situated       out-of-state

       businesses. And, as this Court held in Doran, frequency-based discounts

       open to all tolled vehicles (like RhodeWorks’ daily caps) are not

       discriminatory, even if they disproportionately benefit in-state drivers. 348

       F.3d at 321. RhodeWorks’ facially-neutral, per-crossing tolls are nothing like

       the flat annual fees struck down for their discriminatory effects against out-

       of-state competition. If this Court nevertheless finds that the toll caps are

       discriminatory, it should sever them and uphold the remainder of

       RhodeWorks, consistent with RhodeWorks’ severability clause.

             Second, RhodeWorks does not unduly burden interstate commerce—

       its per-crossing tolls on the heaviest vehicle classes represent a “fair



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       approximation” of bridge use. The district court could cite no case holding a

       per-use road toll unconstitutional for failing “fair approximation” because,

       fundamentally, tolls estimate use: they charge vehicles when, and only when,

       they drive on roads or bridges. Here, RhodeWorks tolls only the vehicle

       classes that generally do the most damage to bridges. Moreover, the toll

       revenue collected from tractor-trailers represents only a share of how bridge

       repairs are actually funded, and a still smaller share of how Rhode Island’s

       infrastructure system is bankrolled. As the Supreme Court and Courts of

       Appeals have made clear, user fees must be viewed in this broader funding

       context. Analyzed that way, RhodeWorks’ line-drawing is constitutional.

                              STANDARD OF REVIEW

            This case arises from a bench trial. The district court’s factual findings

       are reviewed for clear error, and its legal conclusions are reviewed de novo.

       Trailer Bridge, 797 F.3d at 144.

                                        ARGUMENT

            The district court was wrong to strike down a use-based road toll in

       the name of the dormant Commerce Clause. That unprecedented second-

       guessing of a State’s effort to solve its complex infrastructure problems

       requires reversal.



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             RhodeWorks does not violate the dormant Commerce Clause. It

       requires all tractor-trailers, in- and out-of-state alike, to pay a toll when they

       cross a bridge. The legislature decided to toll the classes of vehicles that, on

       average, cause the most damage. It chose to mitigate (though not eliminate)

       the tolls’ impact on the most frequent users (who otherwise would bear the

       highest toll burdens) to avoid incentivizing them to divert onto residential

       streets or causing them financial strain. The resulting tolls are

       nondiscriminatory and fairly approximate the tolled vehicles’ bridge use.

             The district court nonetheless struck down RhodeWorks based on its

       disagreement with the legislature’s policy decisions to enact a per-day cap

       and to distinguish between tractor-trailers and single-unit trucks. But the

       dormant Commerce Clause does not greenlight the district court’s brand of

       micromanagement. The doctrine protects interstate commerce. It does not

       give federal judges free-ranging authority to iron out every perceived

       unfairness in the brass tacks of States’ revenues collection measures.

             The district court overreached, ignoring “one of the first principles of

       constitutional adjudication”: “the basic presumption of the constitutional

       validity of a duly enacted state [] law.” Doughty v. State Emps.’ Ass’n of

       N.H., SEIU Loc. 1984, CTW, CLC, 981 F.3d 128, 134 (1st Cir. 2020) (quoting


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       San Antonio Indep. Sch. Dist. v. Rodriguez, 411 U.S. 1, 60 (1973) (Stewart,

       J., concurring)). The decision below should be reversed.

       I.    When States Enact Nondiscriminatory Laws, The Dormant
             Commerce Clause Requires Deference To Their Policy Judgments.

             The   Commerce      Clause     empowers     Congress      “[t]o   regulate

       Commerce … among the several States.” U.S. Const. art. I, § 8, cl. 3.

       Although the text does not expressly restrain States, the Supreme Court

       has “sensed a negative implication in th[is] provision.” Dep’t of Revenue of

       Ky. v. Davis, 553 U.S. 328, 337 (2008).1

             The so-called “dormant” Commerce Clause “is driven by concern about

       economic protectionism—that is, regulatory measures designed to benefit

       in-state economic interests by burdening out-of-state competitors.” Id. at

       337–38 (quotation marks omitted). The doctrine “prohibits protectionist

       state regulation designed to benefit in-state economic interests by

       burdening out-of-state competitors.” Grant’s Dairy-Me., 232 F.3d at 18; see

       also Family Winemakers of Cal. v. Jenkins, 592 F.3d 1, 10–11 (1st Cir. 2010)




       1
        Appellants preserve the argument that the “dormant” Commerce Clause
       cannot strip the States of powers. See South Dakota v. Wayfair, Inc., 138 S.
       Ct. 2080, 2100–01 (2018) (Gorsuch, J., concurring); id. at 2100 (Thomas, J.,
       concurring).

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       (explaining the doctrine polices “[s]tate laws” that “alter conditions of

       competition to favor in-state interests over out-of-state competitors”).

             “Modern precedents rest upon two primary principles that mark the

       boundaries of a State’s authority to regulate interstate commerce. First,

       state regulations may not discriminate against interstate commerce; and

       second, States may not impose undue burdens on interstate commerce.”

       Wayfair, 138 S. Ct. at 2090–91.

             Consistent with the doctrine’s core anti-protectionism interest, “State

       laws that discriminate against interstate commerce face ‘a virtually per se

       rule of invalidity.’” Id. at 2091. Such statutes are subjected to strict scrutiny.

       All. of Auto. Mfrs. v. Gwadosky, 430 F.3d 30, 35 (1st Cir. 2005).

             By contrast, when a law is nondiscriminatory, deference is due to state

       prerogatives. State laws that “‘regulat[e] even-handedly to effectuate a

       legitimate local public interest … will be upheld unless the burden imposed

       on such commerce is clearly excessive in relation to the putative local

       benefits.’” Id. (quoting Pike v. Bruce Church, Inc., 397 U.S. 137, 142 (1970)).

       The latter test—“Pike balancing”—is highly deferential. Davis, 553 U.S. at

       339 (“State laws frequently survive this Pike scrutiny.”); Minerva Dairy,

       Inc. v. Harsdorf, 905 F.3d 1047, 1059 (7th Cir. 2018) (“If the state law affects


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       commerce without any reallocation among jurisdictions and does not give

       local firms any competitive advantage over those located elsewhere, we

       apply the normal rational-basis standard.” (cleaned up)).

             In cases addressing the constitutionality of user fees like tolls, the

       Supreme Court has long “regard[ed] it as settled that a charge designed only

       to make the user of state-provided facilities pay a reasonable fee to help

       defray the costs of their construction and maintenance may constitutionally

       be imposed on interstate and domestic users alike.” Evansville, 405 U.S. at

       714. Courts apply a three-part test: a fee is “reasonable” if “it (1) is based on

       some fair approximation of use of the facilities, (2) is not excessive in relation

       to the benefits conferred, and (3) does not discriminate against interstate

       commerce.” Nw. Airlines, 510 U.S. at 369. The third prong reflects the

       dormant Commerce Clause’s nondiscrimination principle, while the first and

       second prongs implement the requirement that state laws not impose an

       “undue burden” on interstate commerce.

             As explained below, all parties agree that the test’s second prong—

       excessiveness—is not relevant here. As for the first prong, consistent with

       principles of deference to nondiscriminatory state laws, the Supreme Court

       has recognized that a “fair, if imperfect, approximation” will “pass


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       constitutional muster, even though some other formula might reflect more

       exactly the relative use of the state facilities by individual users.”

       Evansville, 405 U.S. at 716–17. Legislative judgments must be upheld unless

       the fees are “wholly unrelated” to use. Id. at 715.

             The Court should hold that RhodeWorks is nondiscriminatory. It

       should further hold that RhodeWorks tolls pass the lenient “fair

       approximation” test.

       II.   RhodeWorks Is Not Unconstitutionally Discriminatory.

             The district court ruled that RhodeWorks is unconstitutional because

       it was “enacted with a discriminatory purpose” and “discriminate[s] against

       interstate commerce in effect.” Add.90, 88–89. Both holdings are wrong.

       Public statements by individual officials expressing concern about

       protecting small businesses do not establish a legislature’s discriminatory

       purpose. And a program that subjects all tractor-trailers—both in-state and

       out-of-state—to identical tolls (with daily caps) is not discriminatory in

       effect.

             A.     Rhode Island Did Not             Enact   RhodeWorks        With   A
                    Discriminatory Purpose.

             The district court struck down RhodeWorks in part because it

       perceived the legislature’s “intent” to be “clearly protectionist.” Add.72.


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       That was error. Courts should rarely, if ever, invalidate statutes based on

       the perceived intent of the legislature. The purported evidence here cannot

       suffice to invalidate RhodeWorks.

             To begin, “[t]he Commerce Clause regulates effects, not motives, and

       it does not require courts to inquire into … legislators’ reasons for enacting

       a law that has a discriminatory effect.” Comptroller of Treasury of Md. v.

       Wynne, 575 U.S. 542, 561 n.4 (2015). As this Court observed on this case’s

       last appeal, “it is difficult to conceive of a case in which a toll that does not

       discriminate in effect could be struck down based on discriminatory

       purpose.” 14 F.4th at 89; see Gwadosky, 430 F.3d at 36 n.3 (similar). If

       RhodeWorks has an unconstitutionally discriminatory effect, it may be

       invalidated without analysis of purpose. If RhodeWorks lacks an

       unconstitutionally discriminatory effect, it should not be invalidated merely

       because the court thinks some legislators wanted (but apparently failed) to

       create such an effect. Combing the legislative process for clues of “intent”

       adds nothing.

             Even if discriminatory purpose were ever enough to invalidate a

       statute, Plaintiffs’ evidence fell well short. After correctly rejecting most of

       Plaintiffs’ evidence on this point, the district court deemed public statements


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       by two individuals to be “compelling evidence that the General Assembly

       sought to protect local businesses with its decision to toll only Class 8+

       trucks.” Add.66–69. As the court recounted, an earlier draft of RhodeWorks

       would have tolled all trucks Class 6 and above, but the final bill tolled Class

       8 and above with a per-day cap. Id. Addressing these changes, then-Senate

       Majority Leader Ruggerio stated the trucks to be tolled are “larger

       commercial trucks, not your local landscaper truck or not your local, the

       usual pick-up trucks.” Add.70. RIDOT Director Alviti said he had been

       “listening to the various stakeholders and transportation industries in

       Rhode Island,” and the bill was changed to address its “impact on various

       industries.” Id.

             Ruggerio’s and Alviti’s statements shed no light on the intent of the

       legislature. These remarks were not “legislative history” akin to federal

       Senate or House Reports: “There is no recorded legislative history in Rhode

       Island from which to ascertain legislative intent.” Such v. State, 950 A.2d

       1150, 1158 (R.I. 2008) (quotation marks omitted).

             The district court nonetheless relied on these statements because

       then-Leader Ruggerio and Director Alviti were “key officials.” Add.70. That

       was wrong. As for Ruggerio, this Court’s prior decision noted “the inherent


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       challenges of using evidence of individual lawmakers’ ”—here, a single

       lawmaker’s—“motives to establish that the legislature as a whole enacted

       RhodeWorks with any particular purpose.” 14 F.4th at 90; see Rhode Island

       v. Narragansett Indian Tribe, 19 F.3d 685, 697–99 (1st Cir. 1994) (rejecting

       floor statements by bill sponsor as insufficient to establish legislative

       purpose). Statements from non-legislators like Alviti are even less

       probative. See Gwadosky, 430 F.3d at 39. The Court should not use such

       statements to infer the intent of the legislature as a body—especially when

       the legislature articulated its intent in legislative findings. Add.8–9.

             Even taken for all they are worth, these statements cannot establish

       discriminatory intent. The district court was troubled that Ruggerio

       referred to “local landscaper truck[s]” and “pick-up trucks” and Alviti to

       “industries in Rhode Island.” If legislation were deemed “discriminatory”

       every time a legislator declared she had heard her constituents’ concerns,

       few laws would survive.

             This Court’s decision in Doran makes that plain. Evidence there

       showed the toll program had been adopted “in response to political pressure

       to benefit commuters.” 348 F.3d at 321. Yet this Court rejected the

       argument that such evidence established “discriminatory intent and


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       purpose,” noting that legislating to benefit local commuters was “surely a

       constitutionally valid purpose.” Id.

             More to the point, the Supreme Court and this Court have recognized

       that legislators who note the concerns of local constituents do not prove

       discriminatory intent. See Minnesota v. Clover Leaf Creamery Co., 449 U.S.

       456, 463 n.7, 471 n.15 (1981); Cranston Firefighters, IAFF Loc. 1363, AFL-

       CIO v. Raimondo, 880 F.3d 44, 50 (1st Cir. 2018). Neither Ruggerio, nor

       Alviti, nor anyone else expressed desire to treat differently similarly

       situated in-staters and out-of-staters. No one suggested, for example, that

       out-of-state pick-up trucks or landscapers should be tolled, but similar in-

       state vehicles should be exempt. Trial testimony showed that constituents

       opposed tolling Class 6–7 trucks to protect small businesses, not to

       discriminate against out-of-state competitors. See, e.g., App.___(May 23,

       2022 Tr. at 128:1–129:11). No evidence hinted at a desire to discriminate

       against interstate competition.

             B.     RhodeWorks Is Not Discriminatory In Effect.

             Lacking proof of discriminatory intent, the district court identified two

       aspects of RhodeWorks that purportedly were discriminatory in effect: the

       fact that single-unit trucks are not tolled, and the daily caps. Add.83–84, 88–



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       89. Neither feature—alone or together—supplies “substantial evidence of an

       actual discriminatory effect.” Cherry Hill Vineyard, LLC v. Baldacci, 505

       F.3d 28, 37 (1st Cir. 2007). The tolls do not “inherently discriminate” against

       out-of-state competition. Wynne, 575 U.S. at 562.

                   1.    Declining to toll Classes 4–7 is not discriminatory.

             The district court erred in holding that the decision to toll tractor-

       trailers but not single-unit trucks is discriminatory in effect. As the district

       court recognized, “RhodeWorks does not discriminate on its face.” Add.64

       n.43. It draws the line based on truck class, not State of registration. In-state

       tractor-trailers pay identical tolls to out-of-state tractor-trailers. In-state

       single-unit trucks are not tolled, just as out-of-state single-unit trucks are

       not. Within any industry, the playing field is level.

             The district court found that the statute was “discriminatory” because

       a larger percentage of Class 4–7 trucks are in-state. Add.85–86. According

       to the court, that statistical disparity was enough to trigger strict scrutiny.

       Add.89. No precedent supports this broad understanding of discrimination.

             “Conceptually, … any notion of discrimination assumes a comparison

       of substantially similar entities.” General Motors Corp. v. Tracy, 519 U.S.

       278, 298 (1997). When “the different entities serve different markets,” then



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       “eliminating the tax or other regulatory differential would not serve the

       dormant Commerce Clause’s fundamental objective of preserving a national

       market for competition undisturbed by preferential advantages conferred

       by a State upon its residents or resident competitors.” Id. at 299. Thus, strict

       scrutiny applies only when “[s]tate laws … alter conditions of competition to

       favor in-state interests over out-of-state competitors.” Family Winemakers,

       592 F.3d at 10–11.

             Here, there is no “discrimination” pertinent to the dormant Commerce

       Clause. RhodeWorks neither discriminates among “substantially similar

       entities,” nor favors in-state over out-of-state competitors. To be sure,

       tractor-trailers are treated differently than motorcycles, cars, and single-

       unit trucks, but, as the district court acknowledged, there was no “evidence

       that in-state competitors have gained a competitive advantage at the

       expense of out-of-state competitors that use Class 8+ trucks.” Add.88. No

       one would seriously contend that an in-state cement truck and an out-of-

       state tractor-trailer compete; wet cement is not poured into tractor-trailers,

       and pallets of consumer goods are not hauled on cement trucks. That should

       have ended the analysis. The fact that the ratio of in-state to out-of-state

       landscapers may exceed the ratio of in-state to out-of-state tractor-trailers


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       does not wrest from States the constitutional authority to draw reasonable

       lines.

                This Court said the same in Doran. There, plaintiffs contended that

       Massachusetts’ toll program discriminated because it “invariably results in

       a significant degree of permanent cost exporting onto the interstate

       traveler, non-resident and/or nonparticipant.” 348 F.3d at 321 (cleaned up).

       This Court rejected that argument, noting that “interstate travelers pay the

       same tolls as resident travelers.” Id. Even though “it is expected that

       nonparticipants will pay higher tolls,” this Court found, “it does not follow

       that interstate commerce will be burdened, much less that it will suffer

       discrimination.” Id. And the Supreme Court made the same point in

       Evansville: the mere fact that the “vast majority” of individuals subject to a

       user fee are out-of-staters is not enough to establish unconstitutional

       discrimination. 405 U.S. at 717.

                The district court’s bare focus on a degree of disparate impact is

       particularly inappropriate given that the legislature enacted aspects of

       RhodeWorks to protect interstate tractor-trailers. The $20 limit on total

       border-to-border I-95 tolls lowered the burden on the precise route traveled

       disproportionately by out-of-staters. Supra 11–12. It cannot be the case that


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       because Rhode Island is geographically small, with fewer tractor-trailers

       registered in-state than some of its neighbors, the dormant Commerce

       Clause forbids Rhode Island, and Rhode Island uniquely, from tolling

       tractor-trailers no matter how solicitous the legislature is to preventing

       interstate disruption.

             Plus, there were obvious justifications for the lines the legislature

       drew. As noted, tractor-trailers, on average, cause the most damage to

       bridges but pay a disproportionately small share of repair costs. That

       tractor-trailers do not cause all the damage, or that some individual trucks

       in Class 6 or 7 may cause damage comparable to some tractor-trailers in

       Class 8, does not undermine the basic rationality of—or render

       constitutionally suspect—the legislative judgment about where to begin

       tolling. See FCC v. Beach Commc’ns, Inc., 508 U.S. 307, 315–16 (1993)

       (“[T]he fact that the line might have been drawn differently at some points

       is a matter for legislative, rather than judicial, consideration.” (cleaned up)).

             Finally, administrative considerations supported structuring the tolls

       as the legislature did. Rhode Island confirms the accuracy of tolls using

       lasers to detect the telltale gap between the tractor and trailer that marks a

       vehicle in Class 8–13. Supra 11. Class 1–7 vehicles lack this gap because they


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       are single-unit. With non-discriminatory rationales for the legislative line-

       drawing at hand, in addition to measures aimed at protecting interstate

       traffic, the district court’s leap from disparate impact to unconstitutional

       discrimination was indefensible.

             The district court’s reasoning, if upheld, would cannibalize States’

       authority. Every day, legislatures enact statutes that have disparate

       impacts on in-state and out-of-state businesses. For example, in many

       States, non-discrimination or disability-accessibility laws exempt small

       businesses with fewer than a threshold number of employees. In Rhode

       Island, state anti-discrimination laws apply only to employers with four or

       more employees. R.I. Gen. Laws § 28–5–6(8)(i). This exemption

       disproportionately benefits local businesses, because, if a business employs

       three or fewer people and operates in Rhode Island, it is almost certainly

       based there, whereas larger businesses may be based out of state. Thus, the

       ratio of in-state to out-of-state exempt businesses exceeds the ratio of in-

       state to out-of-state non-exempt businesses. Likewise, progressive income

       taxes disproportionately benefit local businesses: the ratio of in-state to out-

       of-state small businesses exceeds the ratio of in-state to out-of-state big

       businesses. The district court’s reasoning implies that such laws are


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       “discriminatory,” requiring strict scrutiny. No Circuit has hinted at that

       outcome.

                   2.    The toll caps—alone or in combination with the choice of
                         tolled vehicles—lack a discriminatory effect.

             The discrimination analysis does not change just because Rhode Island

       adopted daily toll caps to blunt the tolls’ impact on tractor-trailers that,

       because of their frequency of use, would otherwise pay the most. The district

       court found these caps “discriminate against interstate commerce in effect,”

       and applied strict scrutiny. Add.83–84, 89. That was wrong.

             Two points should be made clear at the start. First, tractor-trailers

       that trigger the toll caps are not exempt from tolls. Instead, the caps function

       as frequency-based discounts, lowering the effective rate of tolls paid on a

       particular day. Second, the caps are facially neutral. Both in-state and out-

       of-state tractor-trailers can—and do—benefit.

             That arrangement does not discriminate “in effect” to favor Rhode

       Islanders. To the contrary, while the tolls were operational, the percentage

       of out-of-state tractor-trailers benefitting from the caps was consistently

       higher than the percentage of in-state tractor-trailers benefitting.

       App.___(DX327 at 14; June 3, 2022 Tr. at 141:6–143:1); see Add.80. Many local




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       trucks never benefited and will never benefit from the caps. App.___(DX327

       at 13; June 3, 2022 Tr. at 120:21–121:12, 140:4–141:5).

             The toll caps offer clear policy benefits, including for health and safety.

       They prevent tolls from being so high as to incentivize heavy vehicles to

       travel instead on residential streets ill-equipped to handle them—such

       diversion would harm local infrastructure, air quality, pedestrian and cyclist

       mobility, conservation land, and community recreation areas. App.__(DX041

       at 6-6–6-7; DX041 at 6-7–6-24; DX063 at 6-36–6-63). The Supreme Court has

       afforded particular deference to state regulation aimed at the “safe and

       economic administration” of “state highways.” S.C. State Highway Dep’t v.

       Barnwell Bros., 303 U.S. 177, 187 (1938) (approving highway regulations

       that “applied alike to interstate and intrastate traffic”). The caps also ease

       the burden on businesses with garages next to gantries; they would

       otherwise pay exorbitant sums due to their location. App.___(June 2, 2022

       Tr. at 60:16–61:20).

             The district court nonetheless found discrimination because although

       “in-state and out-of-state vehicles can benefit from the caps,” it suggested,

       “Rhode Island-plated vehicles benefit to a significantly greater degree based

       on their traffic share than out-of-state vehicles.” Add.81; see Add.80 (in-state


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       vehicles accrued 39.9% of discounts, but amounted to 18.6% of transactions).

       That reasoning contradicts Doran.

             In Doran, this Circuit upheld a strikingly similar toll program. Drivers

       who participated in the program—“FAST LANE”—got toll discounts at

       Massachusetts toll plazas: $0.25 at the $1 toll plazas and $0.50 at the $3 toll

       plazas. 348 F.3d at 317. To participate, drivers purchased a transponder for

       $27.50. Id. The inevitable effect was that drivers who frequently used these

       roads paid lower tolls, per trip, than occasional drivers. Anyone (in- or out-

       of-state) could participate, but the fixed cost of the transponder made the

       program uneconomical for low-frequency drivers. That meant the benefits

       flowed naturally—by design—to in-state vehicles. Id.

             This Court upheld FAST LANE as not “discriminatory.” The Court’s

       reasoning could have been written for this case:

                   The FLDP [(FAST LANE Discount Program)] is
                   available on identical terms to drivers without
                   regard to their residence; the program incorporates
                   no distinctions or classifications based on residence
                   and participation is open to anyone. The benefits of
                   the discount program accrue simply on account of a
                   driver’s frequency of use.




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       Id. at 319. Here, likewise, tolls are imposed “on identical terms to drivers

       without regard to residence.” The “benefits” of the toll caps accrue “by a

       driver’s frequency of use.”

            The Doran Court continued:

                  The right to purchase [a transponder] is not
                  restricted to residents, but is open to all. The decision
                  whether to do so turns on one’s anticipated
                  frequency of use. The distance a driver lives from
                  Boston will be a factor, but not the only factor,
                  affecting the frequency with which he or she is likely
                  to drive through the toll plazas or the tunnels. But
                  the frequency calculus creates no resident versus
                  nonresident classification.

       Id. The same is true here. Everyone can benefit from the toll caps. A driver’s

       residence “will be a factor, but not the only factor,” in determining whether

       the driver uses the bridges with sufficient frequency that the caps are

       reached, but that involves “no resident versus nonresident classification.”

            The Doran Court further noted:

                  The toll is higher for nonparticipants than for
                  participants, regardless of where they live. Thus,
                  many infrequent nonparticipating drivers living in
                  and around Boston will pay a higher toll for whatever
                  distances they may drive than commuters from, say,
                  Manchester, Providence or Portland who have
                  chosen to participate.




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       Id. Here, again, the toll is lower for frequent drivers than for infrequent

       drivers, regardless of where they live. Indeed, as the district court noted, as

       to the $40 daily cap, most of the discounts—64%—accrue to out-of-state

       vehicles. Add.80. That is not “discrimination,” even if a small number of very-

       high-frequency drivers who work near toll gantries cause in-state drivers to

       have a higher average discount. Id.

             The district court attempted to distinguish Doran by suggesting

       RhodeWorks’ “caps sever” the “pivotal connection to actual use of the

       bridges.” Add.82. “After the caps kick in,” the court expounded, “a driver

       pays nothing no matter how many times they drive through the gantries,

       unlike the discount in Doran where the tolls remained tied to gantry use.”

       Id. Not so. The toll caps do not “sever” the “connection to actual use.” They

       lower the effective rate paid by frequent users. And they reset every day.

       So the tolls are and remain tied to bridge use. As such, Doran applies with

       full force here. Doran teaches that a statute is not discriminatory if it is open

       to all but gives volume discounts to high-frequency drivers. That reasoning

       stands whether the discount is structured as a per-day cap or a per-ride

       percent-off.




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             Additionally, the district court’s focus on caps’ supposedly “severing”

       the tolls’ connection to use highlights the court’s overreach. Legislation often

       advances multiple goals. See, e.g., Plumley v. S. Container, Inc., 303 F.3d

       364, 372 (1st Cir. 2002) (noting that there is “nothing odd” in a legislature’s

       balancing competing interests). Implementing caps evinces that, in

       RhodeWorks, the legislature sought to achieve multiple—at times in

       tension—policy goals. The State needed to raise repair funds, but it did not

       want to divert tractor-trailer traffic into residential neighborhoods, see

       App.__(DX041 at 6-6–6-7), or cause economic hardship to the truckers who

       would otherwise pay the most.

             Moreover, the caps allay industry concern about over-tolling. Plaintiff

       American Trucking Associations has leveled dormant Commerce Clause

       challenges against other States’ ISTEA-authorized tolls, arguing those

       States burden interstate commerce because they charge truckers too much.

       See, e.g., Am. Trucking Ass’ns v. N.Y.S. Thruway Auth., 886 F.3d 238, 246–

       47 (2d Cir. 2018); Owner Operator Indep. Drivers’ Ass’n v. Pa. Tpk. Comm’n,

       934 F.3d 283, 292 (3d Cir. 2019). Rhode Island’s tolls are not unconstitutional

       because they blunt that very impact—particularly since the $20 cap on the

       border-to-border I-95 route is structured to benefit interstate vehicles.


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             American Trucking Associations v. Michigan Public Service

       Commission, 545 U.S. 429 (2005), resolves any doubt that RhodeWorks is

       “discriminatory” in dormant Commerce Clause terms. There, the Supreme

       Court upheld a $100 flat fee on trucks engaged in intrastate commercial

       hauling. The statute had a clear disparate impact: in-state trucks tend to

       have more intrastate deliveries than out-of-state trucks, so, in effect, in-

       staters received a significant volume discount. Still, the Court upheld the

       statute, reasoning it “does not facially discriminate against interstate or out-

       of-state activities or enterprises” and “applies evenhandedly to all carriers

       that make domestic journeys.” Id. at 434. Identical reasoning applies:

       RhodeWorks is “uniformly assessed upon all those who engage in local

       business, interstate and domestic firms alike.” Id. at 438.

             In reaching a contrary conclusion, the district court relied principally

       on two pre-Michigan cases involving flat annual taxes. But flat taxes (which

       are untied to actual use) present dormant Commerce Clause issues that road

       and bridge tolls (which are charged based on use) do not.

             American Trucking Associations v. Scheiner, 483 U.S. 266 (1987),

       involved a flat annual tax paid by all out-of-state trucks. For in-state trucks,

       the tax was deemed already paid as part of the State’s registration fee. Id.


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       at 271. Dividing 5–4, the Supreme Court found Pennsylvania’s law

       discriminatory: “Although out-of-state carriers obtain a privilege to use

       Pennsylvania’s highways that is nominally equivalent to that which local

       carriers receive, imposition of the flat taxes for a privilege that is several

       times more valuable to a local business than to its out-of-state competitors

       is unquestionably discriminatory and thus offends the Commerce Clause.”

       Id. at 296.

             Scheiner differs from this case in three key ways. First, by operation,

       Pennsylvania’s flat tax functioned as a discriminatory statute: in virtually

       every case, in-state commerce was privileged over out-of-state commerce.

       For one thing, because the flat tax was offset against Pennsylvania

       registration fees, in-state truckers effectively never paid. For another, an in-

       state trucker would almost always use Pennsylvania’s roads more often in a

       given year than a similarly situated out-of-state trucker, so face a lower per-

       mile tax. That is a far cry from this case, where many Rhode Islanders never

       benefit from the toll caps and the percentage of out-of-state trucks

       benefitting is higher than that of in-state trucks. App.__(DX327 at 14). As

       Doran observed, Scheiner “rests on the premise that the imposition of the




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       Pennsylvania tax did not treat interstate and intrastate interests

       evenhandedly.” 348 F.3d at 319–20.

             Second, in Scheiner, the disparate impact of the flat tax on in-state

       versus out-of-state interests was much more dramatic. “On the average, the

       Pennsylvania-based vehicles subject to the flat taxes travel about five times

       as many miles on Pennsylvania roads as do the out-of-state vehicles;

       correspondingly, the cost per mile of each of the flat taxes is approximately

       five times as high for out-of-state vehicles as for local vehicles.” 483 U.S. at

       276. There is nothing close here: as the court noted, out-of-state vehicles

       received 60.1% of the discounts (on 81.4% of transactions). See Add.80.

             Third, Scheiner emphasized the practical effect of the flat tax on

       interstate commerce: “If each State imposed flat taxes for the privilege of

       making commercial entrances into its territory, there is no conceivable doubt

       that commerce among the States would be deterred.” 483 U.S. at 284. The

       Court noted that over a dozen States had adopted similar flat taxes for the

       benefit of crossing state lines, which “can obviously divide and disrupt the

       market for interstate transportation services.” Id. at 285. By contrast, the

       Court upheld the tax at issue in Michigan, explaining it did not “significantly

       deter[] interstate trade.” 545 U.S. at 435. Here, as in Michigan, there is no


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       evidence that the capped tolls deter interstate trade. (Indeed, the legislature

       established the $20 cap—and RIDOT set the resulting toll rates—on the

       border-to-border I-95 route to avoid this result. See supra 11–12.).

             Nor does Trailer Marine Transport Corp. v. Rivera Vazquez, 977 F.2d

       1 (1st Cir. 1992), support the district court. Trailer Marine, like Scheiner,

       involved a flat $35 tax that “Puerto Rico charges each vehicle … per year as

       a contribution to the accident compensation fund, offering an optional

       reduction to $15 for those trailers that remain in Puerto Rico for 30 days or

       less.” Id. at 10. Applying Scheiner, this Court found the law discriminated in

       effect. “A transitory trailer that stays only 30 days in Puerto Rico, and so

       qualifies for the $15 fee, is likely … to cause only 1/12th as many accidents as

       a trailer that is based in Puerto Rico twelve months a year. Yet the transient

       trailer pays almost half the ordinary flat fee, effectively paying five or six

       times as much per accident.” Id. As in Scheiner, Puerto Rico’s tax made

       virtually all non-local vehicles worse off than local vehicles and resulted in

       dramatic disparities. As explained, RhodeWorks does not.

             The district court also held that RhodeWorks is invalid under

       Scheiner’s “internal consistency” test. That test asks “whether, if the same

       system was applied in every jurisdiction, it would cause an ‘impermissible


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       interference with free trade.’” Add.78. But the “internal consistency test”

       cares about flat fees—a State’s effectively collecting $200 to pass “GO,”

       irrespective of what the driver does in the State. The problem with that kind

       of flat fee is that, if fifty States were to adopt it, there would be massive

       taxes on interstate commerce levied for the very privilege of moving

       between States—stepping a toe or turning a wheel over the line from Ohio

       to Pennsylvania. Those concerns are not present where, as here, fees are

       tethered to use.

             In any event, the Supreme Court has pared back the “internal

       consistency” test. In Michigan, the Court “concede[d] that here, … if all

       States did the same, an interstate truck would have to pay fees totaling

       several hundred dollars, or even several thousand dollars, were it to ‘top off’

       its business by carrying local loads in many (or even all) other States.” 545

       U.S. at 438. The Court still upheld the tax, reasoning that “[a]n interstate

       firm with local outlets normally expects to pay local fees that are uniformly

       assessed upon all those who engage in local business, interstate and domestic

       firms alike.” Id. As Michigan makes clear, if a State imposes “local fees” that

       a driver “normally expects to pay,” the fee is constitutional, even if a driver

       operating in multiple States would pay higher fees than a driver operating


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       in one. Id. Interstate trucks expect to pay nondiscriminatory tolls, see supra

       37; this expectation does not change because a State caps daily tolls.

             The district court attempted to distinguish Michigan on the ground

       that “the burden of a widely applied RhodeWorks toll program would fall on

       interstate commerce, whereas the burden in Michigan falls on increased

       intrastate commerce.” Add.82–83. That distinction is illusory. In both cases,

       the fees had a disproportionate impact on out-of-state vehicles. Particularly

       under    Michigan’s articulation of the         “internal consistency” test,

       RhodeWorks survives.

                   3.    The district court applied strict scrutiny to decide whether
                         to apply strict scrutiny.

             The structure of the district court’s opinion illustrates the fundamental

       problem with its approach. To assess compliance with the dormant

       Commerce Clause, a court makes a threshold determination whether a law

       is discriminatory. If so, strict scrutiny applies.

             But here the court applied strict scrutiny as part of that threshold

       determination. The court spent sixteen pages closely scrutinizing the

       potentially discriminatory impact of the tolls and Rhode Island’s

       justifications for enacting them. Add.73–89. The court critiqued the

       “robustness” of the legislative process; probed the minds of officials to divine

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       the intent of the legislature; construed the legislature’s pursuit of multiple

       objectives as pretext; and second-guessed legislative line-drawing to

       determine for itself whether Class 6 trucks are more like tolled Class 8

       tractor-trailers or un-tolled Class 4 trucks. Having concluded the tolls were

       “discriminatory,” the district court then purported to apply strict scrutiny.

       Add.89. But because it had effectively already applied strict scrutiny, there

       was nothing left to do—the strict scrutiny analysis took less than a page. Id.

            Dormant Commerce Clause analysis should not work that way. As

       Doran shows, the “discrimination” determination is straightforward. 348

       F.3d at 321. Under Supreme Court precedent, a toll is “discriminatory” if it

       facially discriminates or “inherently” functions just like a discriminatory

       statute. Wynne, 575 U.S. at 562. There is no discrimination if a State’s line-

       drawing treats in-state and out-of-state vehicles alike. The district court

       should have made that threshold finding and stopped there.

            C.     If The Court Concludes RhodeWorks’ Caps Discriminate, It
                   Should Sever Them.

            RhodeWorks is nondiscriminatory. But if this Court disagrees and

       believes that its caps discriminate, the Court should sever the caps. The toll

       caps appear in standalone sections of RhodeWorks. R.I. Gen. Laws § 42–

       13.1–4(b)–(d). And the law has a severability clause, which reads: “If a part

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       of this chapter is held unconstitutional or invalid, all valid parts that are

       severable from the invalid or unconstitutional part remain in effect.” Id.

       § 42–13.1–14. Hence, if the Court holds the caps unconstitutional, it should

       ensure the “valid parts” of the statute—i.e., the tolls and every other aspect

       of RhodeWorks—“remain in effect.” Id. The severability clause makes clear

       the “legislative purpose and intent,” Landrigan v. McElroy, 457 A.2d 1056,

       1061 (R.I. 1983); the Court should respect that judgment. See Moreau v.

       Flanders, 15 A.3d 565, 586 (R.I. 2011); see also Barr v. Am. Ass’n of Pol.

       Consultants, Inc., 140 S. Ct. 2335, 2349 (2020) (“[A]bsent extraordinary

       circumstances,” courts “adhere to the text of the severability or

       nonseverability clause.”).

            A court may disregard a severability clause where severance would

       “destroy[] legislative intent,” Bouchard v. Price, 694 A.2d 670, 678 (R.I.

       1997), but that is not this case. Without the caps, RhodeWorks would still

       fulfill the legislature’s aim: raising revenues from otherwise under-

       contributing tractor-trailers to fill the State’s “funding gap.” See R.I. Gen.

       Laws § 42–13.1–2(7), (8). (The caps appear nowhere in the legislative

       findings.) “[S]everance of the unconstitutional portion … is consistent with




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       the underlying purpose of the statute and intent of the Legislature.”

       Landrigan, 457 A.2d at 1061.

       III. RhodeWorks Tolls Fairly Approximate Bridge Use.

            Because RhodeWorks is not discriminatory, the only remaining

       question is whether its tolls represent a “fair approximation” of use.

       RhodeWorks’ brand of per-use charge is a classic method of ensuring a “fair

       approximation”: the district court could point to no federal case that has

       struck down a per-use (as opposed to flat) road or bridge toll for failing to

       fairly approximate use. Nor is the result different because RhodeWorks tolls

       only those vehicle classes that cause the most damage. There is no dormant

       Commerce Clause problem from charging only the heaviest users, especially

       given that un-tolled users contribute to the upkeep of bridges and

       infrastructure through myriad taxes and fees. Particularly under the “lower

       level of scrutiny” applicable to nondiscriminatory statutes, RhodeWorks is

       constitutional. Gwadosky, 430 F.3d at 35.

            A.     Per-Use Tolls Fairly Approximate Use.

            A nondiscriminatory statute complies with the dormant Commerce

       Clause unless it imposes “undue burdens on interstate commerce.” Wayfair,

       138 S. Ct. at 2090–91. In the context of user fees, courts ordinarily consider



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       whether the challenged fees are “excessive in comparison with the

       governmental benefit conferred” and “based on some fair approximation of

       use.” Doran, 348 F.3d at 320–21 (quotation marks omitted). In this case,

       however, all agree that “excessiveness” is not at issue given ISTEA’s

       authorization for States to toll vehicles beyond the costs they impose on toll

       facilities. 23 U.S.C. § 129(a)(3)(A)(v) (“if the public authority certifies

       annually that the tolled facility is being adequately maintained, [toll revenue

       may be used for] any other purpose for which Federal funds may be

       obligated by a State under title [23]”); Add.35 (noting Plaintiffs’ concession).

       Thus, the sole remaining inquiry trains on the method of calculating revenue

       collection: whether the tolls are based on a “fair, if imperfect, approximation”

       of use. Evansville, 405 U.S. at 716–17.

             Deference is the touchstone: a state law should be upheld unless it is

       “wholly unreasonable,” “even though some other formula might reflect more

       exactly the relative use of the state facilities by individual users.” Id. at 717–

       18. The Supreme Court’s cases “concerning highway tolls,” “establish that

       the States are empowered to develop ‘uniform, fair and practical’ standards”

       to recoup road repair costs. Id. at 715.




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             Under the Supreme Court’s deferential approach, a user fee like a road

       or bridge toll that charges vehicles when—and only when—they use toll

       facilities should survive. No Circuit has struck down such a toll for failure to

       fairly approximate; they are nothing like the flat annual taxes that have

       troubled federal courts. Meanwhile, the Circuits, including this one, have

       consistently upheld road tolls as fair approximations of use: this Court in

       Doran, 348 F.3d at 320–21; the Second Circuit in Selevan v. New York

       Thruway Authority, 711 F.3d 253, 259–60 (2d Cir. 2013), and Janes v.

       Triborough Bridge & Tunnel Authority, 774 F.3d 1052, 1055 (2d Cir. 2014);

       and other Circuits in, e.g., Owner-Operator Independent Drivers Ass’n v.

       Holcomb, 990 F.3d 565, 568 (7th Cir.), cert. denied, 142 S. Ct. 351 (2021), and

       Yerger v. Mass. Tpk. Auth., 395 F. App’x 878, 884 n.3 (3d Cir. 2010) (tolls are

       assessed “in direct proportion to the use of the toll facilities”).

             Applying these precedents, RhodeWorks tolls are “fair” because they,

       like all per-use road tolls, charge only those trucks that use Rhode Island

       bridges. If a truck does not cross a bridge, it is not charged. If a truck crosses

       one bridge, it is charged one toll. If it crosses two bridges, it is charged two.

       If a truck crosses the same bridge every day, it is charged the same toll every




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       day. Hence, RhodeWorks fairly approximates use. This case is as simple as

       that.

               In concluding to the contrary, the court recognized that Rhode Island

       designed its tolls to charge vehicles that generally “do most of the damage

       to bridges, in effect ‘consuming’ the useful life of the bridge over time.”

       Add.52. The court promptly veered off course by rejecting the idea of “useful

       life,” suggesting this Econ-101 concept was “unusual” and off the table. Id.

       It insisted instead that “a ‘user’ of a tolled bridge” must be defined as “a

       vehicle that crosses the bridge”—and hence a “use” must be a crossing. Id.

       Thus, under the district court’s view, the proper starting point was not the

       legislature’s conclusion that tractor-trailers cause 70% of the damage, but

       the court’s perspective that they constitute 3% of the bridge-crossers. As

       the court put it, “97% of the vehicles making use of the tolled bridges—

       vehicles in Classes 1–7—are not tolled.” Add.54. “Without looking much

       deeper, a system that places the entire toll burden on an extreme minority

       of users is inherently unfair and fails the test.” Id.

               The district court’s approach stands alone. The Supreme Court long

       ago made clear that, in classifying vehicles to collect road-repair revenue, a

       state legislature is “entitled” to “adapt its regulations to the classes” whose


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       use of the highways “created the necessity” for reconstruction. Woodring,

       286 U.S. at 373. This deferential approach has allowed States flexibility to

       effectively recoup the costs of their “highways [that were] being pounded to

       pieces by … great trucks which, combining weight with speed, [had been]

       making the problem of maintenance well-nigh insoluble.” Id. at 364. The

       Supreme Court has “sustained numerous tolls based on a variety of

       measures of actual use, including”: the “manufacturer’s rated capacity and

       weight of trailers”; “carrying capacity”; “capacity of vehicles”; and “gross-

       ton mileage.” Evansville, 405 U.S. at 715 (collecting cases). As these

       examples show, the Supreme Court has respected States’ choice to toll based

       on a concept of “use” that goes beyond mere miles driven—or bridges

       crossed—and approximates the wear and tear that big, heavy vehicles do to

       roads and bridges. This Circuit should not be the first to doubt the States’

       role.

               B.     RhodeWorks’ Distinction Between Tractor-Trailers And
                      Single-Unit Trucks Does Not Create A Fair-Approximation
                      Problem.

               Starting from its mistaken premise that Rhode Island lacked leeway

       to toll based on the wear and tear that heavy vehicles cause, the district

       court faulted the legislature’s decision to toll tractor-trailers. In the court’s



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       view, RhodeWorks fails to fairly approximate use because other vehicles,

       especially single-unit trucks, also cross bridges, so should also pay tolls.

       Add.54.

            But Rhode Island’s choice to toll only some vehicles does not violate

       “fair approximation.” The question is whether “the government has

       reasonably drawn a line between those it is charging and those it is not.”

       Trailer Bridge, 797 F.3d at 145. And the answer here is yes. The legislature

       imposed tolls on the vehicle classes that cause 70% of the damage, while

       contributing 20% of the revenue.

                   1.    The Constitution permits Rhode Island to toll only the
                         vehicle classes that cause the most damage.

            The district court believed that placing the “entire tolling burden” on

       tractor-trailers was unconstitutional. Add.63. That was error.

            To start, the court was wrong to conclude that tolling some users and

       not others is constitutionally suspect. Precedent makes clear that a State

       may charge the heaviest users and elect not to toll everyone else. In

       Evansville, the Supreme Court considered a flat $1 fee imposed by Indiana

       and New Hampshire on a subset of airport users: enplaning commercial

       airline passengers. 405 U.S. at 709. The fees exempted numerous passenger

       classes, such as “active members of the military and temporary layovers,

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       deplaning commercial passengers, and passengers on noncommercial flights,

       nonscheduled commercial flights, and commercial flights on light aircraft.”

       Id. at 717–18. The Supreme Court found that the fees satisfied the lenient

       “fair approximation” test because the line between those who paid and those

       who did not, while “imperfect,” was “not wholly unreasonable.” Id. at 716–

       18. The Court explained that “[c]ommercial air traffic requires more

       elaborate navigation and terminal facilities, as well as longer and more costly

       runway systems, than do flights by smaller private planes,” so it was

       acceptable for commercial passengers to pay the fees and those on

       noncommercial planes not to. Id. at 718. The same reasoning applies here.

             Since Evansville, the Supreme Court and Courts of Appeals, including

       this one, have heeded its lesson: a user fee can “represent[] a reasonably fair

       allocation” of “costs among users” even when it charges only some of them,

       N.H. Motor Transport Ass’n v. Flynn, 751 F.2d 43, 49 (1st Cir. 1984), so long

       as “the government has reasonably drawn a line between those it is charging

       and those it is not.” Trailer Bridge, 797 F.3d at 145 (approving as a “fair

       approximation” cargo fees that did not charge unscanned cargo (quotation

       marks omitted)); accord Nw. Airlines, 510 U.S. at 369–70 (approving as fair

       approximation fees that did not allocate some aircraft costs to airport


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       concessionaires); Alamo Rent-A-Car, Inc. v. Sarasota Manatee Airport

       Auth., 906 F.2d 516, 519–21 (11th Cir. 1990) (upholding as fair approximation

       fees for passenger pickup at airports that did not charge all vehicles using

       the access roads). In light of that wall of precedent, Rhode Island was

       entitled to toll Classes 8–13 and not 1–7.

             Moreover, even if the district court were correct that vehicles in

       Classes 1–7 had to contribute to repairs, the court was wrong to suggest they

       do not. The court reached that conclusion by disregarding two sets of

       substantial non-toll contributions by those vehicles.

             First, the district court deemed “irrelevant” all non-toll sources of

       revenue to fund bridge repairs. Add.50. As a result, the court analyzed the

       tolls under the fiction that tractor-trailers pay for all bridge repairs and un-

       tolled vehicles pay nothing. In the real world, that is not the case. Only a

       fraction of bridge repair costs are funded through tolls. Add.51 n.33 (citing

       June 10, 2022 Tr. at 109:25–110:16). The federal government pays for 80% of

       remaining bridge repair costs, while the State covers the final 20% with non-

       toll revenue sources like registration fees and gas taxes assessed only on

       residents. Add.50 (citing June 10, 2022 Tr. at 105:12–108:1, 109:25–110:10). A




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       court cannot reasonably assess whether a toll is a “fair” way of paying for a

       bridge if it ignores how the bridge was actually paid for.

             The district court’s myopic approach also broke from Supreme Court

       precedent. In Evansville, the Court examined the fairness of the airport

       fees—levied on only some users—by looking to the broader funding picture.

       405 U.S. at 718–19. Because “business users, like shops, restaurants, and

       private parking concessions, do contribute to airport upkeep” in other ways,

       such as “through rent, a cost that is passed on in part at least to their

       patrons,” the Court found it fair that not all passengers paid the challenged

       fees. Id. at 718. Considering other revenue streams is integral to evaluating

       fair approximation; the district court was not free to ignore that context.

             The district court asserted that “[e]ven if [it] considered other

       contributions tolled and un-tolled users make toward the costs of the bridge,

       it would make no difference to the outcome.” Add.51 n.33. As the court saw

       it, tolled Class 8–13 users also pay other taxes, and out-of-state un-tolled

       Class 1–7 vehicles do not pay at all. Id. True enough, but it remains the case

       that in-state un-tolled vehicles do contribute to repair funds by paying gas

       taxes and registration fees, as well as federal taxes. App.__(DX328 at 5) (in-

       state Class 4–7 vehicles pay RIDOT surcharge, RI license fees, RI


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       registration fees, IRP registration fees, RI title fees, and RI light duty

       inspection fees). It is not true that Rhode Island burdens tractor-trailers

       with all bridge repair costs.

             Second, the district court ignored another reality: a bridge is useless

       without a highway on both sides of the bridge. Trucks benefit from roads and

       associated state services up and down the highway—all funded by un-tolled

       vehicles. Yet, in the district court’s mind, these substantial contributions

       were irrelevant. Add.47–51.

             Again, the court erred. Courts consider users’ benefits from the

       broader infrastructure system. See Alamo, 906 F.2d 516, 521 (rental car

       company benefitted from existence of airport, not just roads it used); Enter.

       Leasing Co. of Detroit v. Cnty. of Wayne, 191 F.3d 451, 1999 WL 777678, at

       *2 (6th Cir. 1999) (similar); Angus Partners LLC v. Walder, 52 F. Supp. 3d

       546 (S.D.N.Y. 2014) (considering costs associated with infrastructure

       facilities that support bridges and tunnels in evaluating tolls’ “fair

       approximation”); see also Auto. Club of N.Y., Inc. v. Port Auth. of N.Y. &

       N.J., 887 F.2d 417 (2d Cir. 1989) (expenses for PATH train included in

       evaluating bridge and tunnel tolls because the train was part of an integrated

       infrastructure system that reduced load on bridges and tunnels, thus


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       benefitting toll-payers); Janes v. Triborough Bridge & Tunnel Auth., 977 F.

       Supp. 2d 320, 341 (E.D.N.Y. 2013) (in approving road tolls, weighing “the

       value of mass transit” and the benefits of “a smoothly functioning mass

       transit system”), aff’d, 774 F.3d 1052 (2d Cir. 2014).

             Bridgeport & Port Jefferson Steamboat Co. v. Bridgeport Port

       Authority, cannot save the district court’s framing error. 567 F.3d 79 (2d Cir.

       2009). There, the Second Circuit invalidated a fee on ferry passengers for

       funding “virtually the entirety of the [transportation agency’s] operating

       budget,” id. at 86, including “all salaries, health benefits, [and] pension

       payments.” Id. at 83. This case presents two key differences. For one, tolled

       vehicles do not bear the entire funding burdens in light of un-tolled users’

       substantial contributions. Supra 53–55. For another, the legislature made

       findings supporting the reasonableness of the toll structure: tractor-trailers

       cause the most damage but underfund repairs. R.I. Gen. Laws § 42–13.1–

       2(8). There were no such findings justifying the ferry fee arrangement in

       Bridgeport.

             Viewed in the proper funding context, there is no “fair approximation”

       problem with tolling only tractor-trailers.




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                   2.    The Constitution permits Rhode Island to draw a line
                         between tractor-trailers and single-unit trucks.

             Further delving into the province of the State, the district court found

       a constitutional problem with where the legislature drew tolling lines. The

       district court apparently accepted that Rhode Island need not toll passenger

       vehicles (Class 1–3); thought small single-unit trucks (Class 4–5) were

       marginal; and saw medium-size single-unit trucks (Class 6–7) as more akin

       to tractor-trailers, so, the court believed, they must be tolled. Add.60.

       Because the legislature did not draw the line at the district court’s preferred

       location, the court deemed RhodeWorks unconstitutional. Id. The court’s de

       novo line-drawing exercise shows just how much it overstepped.

             Rhode Island offered, in its legislative findings, reasoned justifications

       for its decision to begin tolling at Class 8 tractor-trailers: the GAO study

       finding that “just one, fully-loaded five-axle (5) tractor trailer has the same

       impact on the interstate as nine thousand six hundred (9,600) automobiles,”

       as well as RIDOT’s analysis that tractor-trailers cause more than 70% of the

       damage while contributing less than 20% of the revenue. Add.9.

             The district court disregarded the legislature’s factual determinations.

       The court deemed the GAO study “inapplicable” because it examined

       pavement generally, not bridges specifically. Add.56. The court made that

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       finding notwithstanding expert testimony that studying pavement makes no

       difference; the damage to bridges is equivalent. Compare R.I. Gen. Laws

       § 42–13.1–2(8), with App.__(DX326 at 15; June 3, 2022 Tr. at 3:3–11:5

       (concluding tractor-trailers cause 70-80% of bridge damage)). The court also

       did not like that the legislature had estimated vehicle volume by class using

       a particular calculation method (“equivalent single-axle load”). See Add.56.

             Everything about the district court’s reasoning was wrong. The

       district court gave far too little deference to the State’s legislative findings.

       “States are not required to convince the courts of the correctness of their

       legislative judgments. Rather, those challenging the legislative judgment

       must convince the court that the legislative facts … could not reasonably be

       conceived to be true by the governmental decisionmaker.” Clover Leaf

       Creamery, 449 U.S. at 464 (cleaned up)); see also Turner Broad. Sys. v. FCC,

       520 U.S. 180, 195–96 (1997) (courts review legislative findings under “a

       standard more deferential than [they] accord to judgments of an

       administrative agency,” inter alia, “out of respect for its authority to

       exercise the legislative power”). Even considering constitutional challenges

       to statutes, “deference must be accorded to [the legislature’s] findings as to

       the harm to be avoided and to the remedial measures adopted for that end.”


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       Turner Broad., 520 U.S. at 196. The legislature here made precisely those

       findings, as to the harm tractor-trailers cause and the tolling measures to

       cure the repair funding gap. The district court should have deferred.

            Even setting aside the legislative findings, the legislature’s policy

       judgment to draw the line at Class 8 was reasonable. The legislature simply

       borrowed the FHWA’s classification scheme and concluded that bigger

       trucks tend to cause more damage than smaller ones. Cf. Woodring, 286 U.S.

       at 364. While the State could have created a more finely reticulated tolling

       scheme, it was not constitutionally compelled to do so. See Int’l Harvester

       Co. v. Evatt, 329 U.S. 416, 422 (1947) (the Court “has long realized the

       practical impossibility of a state’s achieving a perfect apportionment of

       expansive, complex business activities …, and has declared that ‘rough

       approximation rather than precision’ is sufficient”); Jorling v. U.S. Dep’t of

       Energy, 218 F.3d 96, 103 (2d Cir. 2000) (rejecting the “alternative” to fair

       approximation’s deferential approach, which would force courts “to engage

       in a detailed cost accounting analysis that endeavors to determine the cost,

       properly allocated to each payer, of every person, product, and facility

       involved in providing the service”). The difference between tractor-trailers

       and single-unit vehicles is “rational.” Evansville, 405 U.S. at 718–19. And


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       that is enough. See Clark v. Paul Gray, Inc., 306 U.S. 583, 594 (1939) (“The

       classification of the traffic for the purposes of regulation and fixing fees is a

       legislative, not a judicial function. Its merits are not to be weighed in the

       judicial balance and the classification rejected merely because the weight of

       the evidence in court appears to favor a different standard.”).

             At a basic level, RhodeWorks tolls are miles from the taxes the

       Supreme Court has struck in the name of “fair approximation”: flat annual

       fees charging sums “wholly unrelated to road use.” Evansville, 405 U.S. at

       715. In Scheiner, the Supreme Court invalidated a flat annual tax that did

       “not even purport to approximate fairly the cost or value of the use of

       Pennsylvania’s roads.” 483 U.S. at 290. The Court made clear: “[s]o long as a

       State bases its tax on a relevant measure of actual road use, obviously both

       interstate and intrastate carriers pay according to the facilities in fact

       provided by the State,” so there is no “fair approximation” problem. Id. at

       291. That is true here. Other Circuits upholding use-based road tolls have

       distinguished Scheiner on this basis. E.g., Holcomb, 990 F.3d at 568

       (Scheiner “do[es] not affect the validity of a per-mile toll”).

             Were there remaining doubt, Capitol Greyhound Lines v. Brice, 339

       U.S. 542 (1950), confirms that RhodeWorks tolls pass “fair approximation.”


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       There, the Supreme Court upheld a tax of “2% upon the fair market value of

       motor vehicles” used in Maryland; the tax was levied not only when the

       vehicle was purchased, but also anytime ownership transferred. Id. at 543

       (quotation marks omitted). This tax, as the dissent observed, bore “at best a

       most tenuous relationship” to use, “since differences in value are due to a

       vehicle’s appointments or its age or to other factors which have no bearing

       on highway use,” and the fee was tethered to “shift in … ownership” not

       “road use.” Id. at 553–54 (Frankfurter, J., dissenting). Still, the Supreme

       Court upheld it as a “rough approximation.” Id. at 546–47 (quotation marks

       omitted). Were courts to demand “precision,” they would “add[] to

       administrative burdens of enforcement, which fall alike on taxpayers and

       government.” Id. That was reason enough “to justify states in ignoring even

       such a key factor as mileage, although the result may be a tax which on its

       face appears to bear with unequal weight upon different carriers.” Id. at 547.

       If the Capitol Greyhound toll is constitutional, then so is RhodeWorks.

                  3.    ISTEA permits Rhode Island to toll vehicles beyond the
                        share of damage they impose on bridges.

            The district court still seemed convinced that tractor-trailers were

       harmed by Rhode Island’s decision not to toll single-unit trucks (especially

       Classes 6–7) because if single-unit trucks pay nothing, then tractor-trailers

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       must pay more than their fair share. Add.63 (“large commercial trucks

       should not bear the entire tolling burden associated with defraying the costs

       of the tolled bridges”). Of course, as discussed, smaller vehicles do contribute

       to bridge and infrastructure maintenance. Even setting that reality aside,

       the court overlooked a crucial point. Under federal law, it is irrelevant

       whether tractor-trailers pay more than the exact share of the damage they

       cause to bridges because ISTEA authorizes exactly that. See 23 U.S.C.

       § 129(a)(3)(A)(v); supra 47. Federal courts have recognized this point in

       blessing tolls that the trucking industry complained were unconstitutionally

       high—that is, that charged trucks more than the damage they imposed. See

       N.Y.S. Thruway, 886 F.3d at 246–47; Pa. Tpk., 934 F.3d at 292.

             The district court paid lip service to ISTEA’s “displace[ment]” of the

       “‘excessiveness’ part of the Evansville/Northwest Airlines analysis.”

       Add.34–35. But the court missed the upshot. As a result of ISTEA, Rhode

       Island is free, under federal law, to toll vehicles and use toll revenues to fund

       not only the tolled bridges but also other, unrelated highway maintenance,

       construction, and repair. Hence, even if Rhode Island’s decision not to toll

       lower-class vehicles meant that tolled tractor-trailers paid an amount

       greater than the share of costs they impose on bridges, this is not a


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       constitutional problem: ISTEA authorizes it. See White v. Mass. Council of

       Constr. Emps., Inc., 460 U.S. 204, 213 (1983) (“Where state or local

       government action is specifically authorized by Congress, it is not subject to

       the Commerce Clause even if it interferes with interstate commerce.”);

       accord Wayfair, 138 S. Ct. at 2089 (“when Congress exercises its power to

       regulate commerce by enacting legislation, the legislation controls”).

             The district court’s decision boils down to its doubt that Rhode Island

       could draw the tolling line at tractor-trailers (Classes 8–13), while declining

       to toll medium single-unit trucks (Classes 6–7). The court’s perception that

       single-unit trucks were getting too sweet a deal is no basis to strike down

       RhodeWorks under the dormant Commerce Clause. The doctrine serves a

       narrow purpose: it safeguards “interstate commerce” by policing

       discrimination and “undue burdens on interstate commerce.” Wayfair, 138

       S. Ct. at 2090–91. Rhode Island’s decision not to toll single-unit trucks does

       not discriminate against interstate commerce. Supra 22–44. It does not place

       tractor-trailers at a competitive disadvantage because tractor-trailers and

       single-unit trucks do not compete. Nor does Rhode Island’s decision not to

       toll single-unit trucks burden interstate commerce. The fact that single-unit

       trucks do not pay these tolls does not impact tractor-trailers’ access to


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       interstate highways whatsoever. If Rhode Island had drawn the line at the

       district court’s preferred location and begun tolling at Class 6, that would

       not (in light of ISTEA’s authorization) change what Class 8–13 vehicles

       would pay to cross Rhode Island’s bridges or move between States.

       Plaintiffs have an even steeper hill to climb because RhodeWorks caps total

       border-to-border tolls at $20 to protect interstate commerce. Supra 11–12.

             The district court should have deferred to the legislature’s policy

       judgments.    RhodeWorks      involves     ordinary   line-drawing     that   the

       Constitution leaves to the sound judgment of the States.2

                                     CONCLUSION

             For the foregoing reasons, the judgment should be reversed.




       2
        Pike balancing asks whether a state law imposes a burden on interstate
       commerce that is “clearly excessive in relation to the putative local benefit.”
       Pike, 397 U.S. at 142. As described, the “undue burden” test implements
       Pike balancing. Supra 21. Even were Pike a separate test, RhodeWorks
       satisfies it. As the foregoing analysis makes plain, RhodeWorks has clear
       benefits: raising needed bridge-repair revenue from the trucks that tend to
       do the most damage while under-contributing to repair funds. Any “modest
       burdens” Plaintiffs perceive “are outweighed by the benefits [Rhode Island]
       seeks to secure[.]” Grant’s Dairy-Me., 232 F.3d at 24. RhodeWorks is
       nothing like the “small number of … cases” invalidating legislation under
       Pike. Tracy, 519 U.S. at 298 n.12.

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                          CERTIFICATE OF COMPLIANCE

             In accordance with Federal Rule of Appellate Procedure 32(a)(7), I

       certify that the foregoing brief has been prepared in Microsoft Word 2016

       using 14-point Century Expanded typeface and is double-spaced (except for

       headings, footnotes, and block quotations). I further certify that the brief is

       proportionally spaced and contains 12,936 words, excluding the parts of the

       brief exempted by Federal Rule of Appellate Procedure 32(f). Microsoft

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                            CERTIFICATE OF SERVICE

            I certify that, on February 10, 2023, a true and correct copy of the

       foregoing was filed with the Clerk of the United States Court of Appeals for

       the First Circuit via the Court’s CM/ECF system, which will send notice of

       such filing to all registered CM/ECF users.



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                                        ADDENDUM
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                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF RHODE ISLAND
       ___________________________________
                                           )
       AMERICAN TRUCKING ASSOCIATIONS,     )
       INC.; CUMBERLAND FARMS, INC.;       )
       M&M TRANSPORT SERVICES, INC.;       )
       NEW ENGLAND MOTOR FREIGHT, INC.,    )
                                           )
            Plaintiffs,                    )
                                           )
                  v.                       )    C.A. No. 18-378 WES
                                           )
       PETER ALVITI, JR., in his           )
       Official Capacity as Director of    )
       The Rhode Island Department of      )
       Transportation; RHODE ISLAND        )
       TURNPIKE AND BRIDGE                 )
       AUTHORITY,                          )
                                           )
            Defendants.                    )
       ___________________________________)

                         FINDINGS OF FACT AND CONCLUSIONS OF LAW

       WILLIAM E. SMITH, District Judge.

            In the early 1980s, an article appeared in the Wall Street

       Journal that described the State of Rhode Island as “little more

       than a smudge on the fast lane to Cape Cod.”            Leon Daniel, Poor

       Little Rhode Island, Maligned but Fighting Back, UPI, Sept. 11,

       1983.    That fast lane runs from the state’s southern border with

       Connecticut on I-95 North, to Providence about forty-five miles

       distant, then to I-195 into Massachusetts and on to the Cape.             (I-

       95 continues north into Massachusetts as well.)            The governor at

       the time, J. Joseph Garrahy, was less than amused with the tongue-

       in-cheek comment.    “With friends like that, who needs enemies?” he




                                         Add.1
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       was quoted as saying about the Rhode Islander who penned the piece.

       Milly McLean, Rhode Island: Even the Natives Poke Fun at It, UPI,

       Dec. 10, 1984.     The remark struck a nerve: Rhode Islanders have

       always been a little sensitive that their state’s diminutive size

       garners it less respect than it deserves for its history, culture,

       beautiful   beaches,   and   diversity. 1    That    lack   of   respect   is

       exacerbated by the fact that the busiest highway in the United

       States – the I-95 North/South corridor – effectively bisects the

       state.   More than 250,000 cars and trucks speed through the state

       on I-95 every day, many never stopping to appreciate the charms of

       the Ocean State.

            While governors and business owners and tourism officials

       have grumbled for decades about this reality, in 2015 then-governor

       Gina Raimondo and her compatriots in the General Assembly figured

       out a way finally to monetize the “fast lane to Cape Cod” – by

       tolling the bridges along the major interstate and state highway

       corridors that connect “little Rhody” to its larger neighbors and

       states beyond.

            But tolling highways is tricky and controversial business.

       The need to raise money to fund construction and repairs of bridges

       must be balanced against the political reality that many local


            1 Articles like “Good-Bye, Rhode Island,” advocating that
       Rhode Island should not even be a state, but rather subsumed into
       one of its neighbors, don’t help. See Donald Dale Jackson, Good-
       Bye, Rhode Island, Smithsonian Magazine, Jan. 2000.

                                               2

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       residents and business owners use those same corridors daily to

       get around the state.              The solution they contrived – dubbed

       “RhodeWorks,” the first and only of its kind in the United States

       – was to toll only large commercial trucks (or tractor trailers)

       at various bridge locations along these major corridors.                          This

       plan had the obvious appeal of raising tens of millions of needed

       dollars       from   tractor     trailers   while      leaving      locals    largely

       unaffected.

              Until now.      In 2018, the trucking industry represented by its

       association, the American Trucking Associations, Inc. (“ATA”), and

       two companies, 2 M&M Transport Services, Inc. and Cumberland Farms,

       Inc., filed suit to block the RhodeWorks tolls.                  This Court denied

       the requested injunction, and litigation proceeded. A couple trips

       to the Court of Appeals stalled the process, 3 but in May and June

       of 2022, the Court conducted a twelve-day bench trial featuring

       fine       lawyers   and   numerous   national      experts    in    transportation

       economics and highway engineering.               This decision decides the fate

       of the RhodeWorks tolling program.

              As the Court describes in detail below, the RhodeWorks tolling

       program       violates     the   Commerce   Clause      of    the    United    States

       Constitution.        For this reason, the State is permanently enjoined


              2   A third is no longer an active party.

              For a full procedural history, those interested can review
              3

       both this Court’s and the First Circuit’s previous decisions.

                                                    3

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       from further tolling under the law.

             This    decision,        consistent      with       Federal   Rule     of     Civil

       Procedure     52,     sets    forth    the    Court’s      findings   of     fact        and

       conclusions of law.           But this decision is one largely grounded in

       legal analysis, turning on data analytics and expert testimony;

       for that reason, and to make this decision more readable, the

       Court’s initial findings of fact section is sparse relative to its

       conclusions of law, and is best understood as an overview.                        Within

       the legal analysis, the Court finds many additional facts, and

       these are specifically incorporated as additional findings of

       fact.

             The Court begins its conclusions of law – where it also rules

       on several lingering evidentiary motions – with three issues

       antecedent     to     the    merits.      First,      a    surprise   trial       motion

       necessitates a lengthy standing analysis, and the Court finds

       standing does exist for all Plaintiffs.                   Next, the familiar issue

       of   congressional          authorization      is   addressed,      followed        by    a

       discussion of the burden of proof.                  Moving then to the heart of

       the case, the Court considers the trial evidence under dormant

       Commerce     Clause    principles.           That   analysis    starts       with    fair

       approximation, holding that the RhodeWorks tolling program does

       not fairly approximate use of the facilities under any relevant

       measurement.        Next, the Court analyzes the discrimination issue.

       It concludes that the General Assembly enacted the program with a

                                                      4

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       discriminatory       purpose   and     that      the     program    indeed     does

       discriminate in effect.            With that, the Court applies strict

       scrutiny, and finds the State fails to meet this high bar.

       I.    Findings of Fact

             A.     RhodeWorks Background

             Rhode Island is home to more than 700 bridges listed on the

       National Bridge Inventory System.              May 25 Tr. 58:18-24, ECF No.

       235 (analyzing PX30, and indicating the number is 772); June 1 Tr.

       198:12-22, ECF No. 238 (testifying that the number is 779); PX419

       at 1 (reflecting the number is 766).                For decades, its bridges

       ranked among the worst in the country, with more than 100 rated as

       being in poor condition.           PX419 at 1.     This deterioration was in

       part due to historic underfunding of the state’s infrastructure.

       Id.; PX30 at 7.        Of the 611 state-owned bridges on the National

       Bridge Inventory, 142 were structurally deficient as of 2015. 4

       June 1 Tr. 87:1-9.

             Seeking a cure, the Rhode Island Department of Transportation

       (“RIDOT”)      began    studying      options      for     investing      in    its

       transportation assets, including bridges, as early as 2008.                     See

       PX30.      By 2015, RIDOT had begun to lay the foundation for the

       legislation that became known as RhodeWorks.               See June 1 Tr. 72:8-

       15.   With RhodeWorks, RIDOT hoped to address funding deficiencies,


             4Many bridges were also designated as functionally obsolete.
       June 1 Tr. 87:10-13, ECF No. 238.

                                                  5

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       reorganize financing, and better execute project planning.                 Id.

       74:12-75:5.     But its primary goal was to fix Rhode Island’s

       deficient bridges.     Id. 74:19-23.

            Part of the RhodeWorks proposal was a tolling system designed

       to fund bridge repairs.          From early on, the program aimed at

       tolling only trucks, not passenger vehicles.              See Peter Garino

       Dep. 15:10-16:3; see June 1 Tr. 72:8-15.          This limitation stemmed

       from the belief that trucks cause more damage to bridges than do

       other vehicles.    Garino Dep. 15:22-16:3.       In their research, RIDOT

       employees found support for this approach in a 1979 Government

       Accounting Office (“GAO”) study concerning truck damage. Id. 39:1-

       9; May 24 Tr. 96:19-98:22, ECF No. 234.

            In the leadup to the first draft of the legislation, RIDOT

       commissioned several studies to assess potential toll corridors

       and bridges.      See, e.g., PX65.       The process looked to several

       factors, some of which included volume of traffic and damage to

       bridges. June 1 Tr. 78:15-25. RIDOT was interested in determining

       where it would be most “cost effective” to toll, id. 89:15-25;

       Garino Dep. 26:15-25, and also how the toll system would impact

       in-state and out-of-state registered vehicles, see PX190; PX208 at

       6; PX217.

            RIDOT set a projected revenue goal from the RhodeWorks program

       at approximately $45 million per year.           June 1 Tr. 82:16-84:17.

       The Department estimated that it would use RhodeWorks to fund about

                                                6

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       ten percent of the total cost of bridge repairs needed throughout

       the state.    Id.

            In 2015, the General Assembly considered two versions of the

       RhodeWorks bill.       See PX83; PX101.     The first would have tolled

       Class 6+ vehicles. 5    See PX83 at 9-10.    After objections from local

       businesses, the legislation was modified to toll only Class 8+

       vehicles with a limitation on toll charges for multiple trips over

       the same bridge.    See PX101 at 11-12.

            On February 11, 2016, the Rhode Island General Assembly




            5 Throughout this decision, various vehicle classifications
       are discussed.    A “Large Commercial Truck,” pursuant to Rhode
       Island General Laws § 42-13.1-3(3), “shall be defined pursuant to
       the Federal Highway Administration (FHWA) vehicle classification
       schedule as any vehicle within Class 8 – single trailer, three (3)
       or four (4) axles, up to and including Class 13 – seven (7) or
       more axle multi-trailer trucks, as such classifications may be
       revised from time to time by the FHWA.”     Class 8+ vehicles are
       known as “combination trucks,” which have two or three separate
       parts. May 25 Tr. 106:13-19, ECF No. 235. Lower classes — 5-7 —
       are commonly known as straight trucks (the truck consists of a
       single unit).   Id. 106:6-13.    These vehicles may include dump
       trucks, cement mixers, and garbage trucks. Id. 106:7-11. Class
       5 vehicles include tow trucks and may also include single-unit
       trucks. Id. 106:6-7; see also PX653 at 8-9. Class 4 vehicles are
       buses. May 25 Tr. 106:5-6. Finally, Classes 1-3 are typically
       passenger vehicles, including motorcycles, cars, pickup trucks, or
       ambulances.   Id. at 105:24-106:5; see also PX653 at 8-9.      The
       record inconsistently defines straight trucks as Classes 4-7 and
       Classes 5-7.   May 26 Tr. 31:13-17 (defining straight trucks as
       Classes 4-7), 153:23-25 (defining straight trucks as Classes 5-
       7). The Court understands it to be category error to include Class
       4 vehicles (buses) in this definition, and so it does not. Most
       record evidence focuses on Classes 6 and 7 as compared to Class
       8+, and so the Court does, too; however, where warranted, it
       expands its analysis to Classes 4-7, and other times to Classes 5-
       7.

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       enacted “The Rhode Island Bridge Replacement, Reconstruction, and

       Maintenance Fund Act of 2016” (“RhodeWorks”).          See R.I. Gen. Laws

       § 42-13.1-1.    The General Assembly made the following legislative

       findings, included in the statute:

            (1) The state of Rhode Island, through the Rhode Island
            department of transportation (“the department”), funds
            the reconstruction, replacement, and maintenance of all
            bridges in Rhode Island, except the Newport Bridge, the
            Mount Hope Bridge, the Jamestown-Verrazano Bridge, and
            the Sakonnet River Bridge.

            (2) According to the Federal Highway Administration
            (FHWA) 2015 National Bridge Inventory (NBI) data, there
            are seven hundred sixty-four (764) bridges in Rhode
            Island greater than twenty feet (20’) in length.     Of
            these NBI bridges, one hundred seventy-seven (177)
            bridges, or twenty-three percent (23%), are classified
            as structurally deficient.

            (3) For the past several decades, Rhode Island has
            depended on three (3) primary sources for funding all
            transportation       infrastructure      construction,
            maintenance, and operations: federal funds, state bond
            funds, and motor fuel tax revenue. Of these sources,
            two (2), federal funds and motor fuel tax revenue, are
            mutable.

            (4)   The  2008   governor’s    blue   ribbon    panel   on
            transportation   funding,   the   2011    senate    special
            commission on sustainable transportation funding, and
            the 2013 special legislative commission to study the
            funding for East Bay bridges determined that there is
            insufficient revenue available from all existing sources
            to fund the maintenance and improvement of Rhode Island
            transportation infrastructure.

            (5) In 2011, the general assembly adopted a component of
            the recommended systemic change to transportation
            funding by dedicating increased resources from the Rhode
            Island capital plan fund and creating the Rhode Island
            highway maintenance account, to be funded by an increase




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            in license and registration fees, beginning in FY2014.

            (6) In 2014, the general assembly adopted changes to the
            Rhode Island highway maintenance account to provide
            additional    state    revenue     for    transportation
            infrastructure in future years.

            (7) Although the state is shifting from long-term
            borrowing to reliance upon annual revenues to fund
            transportation infrastructure on a pay-as-you go basis,
            and although a recurring state source of capital funds
            has been established, there is still a funding gap
            between the revenue needed to maintain all bridges in
            structurally sound and good condition and the annual
            amounts generated by current dedicated revenue sources.

            (8) According to the U.S. General Accounting Office,
            just one, fully-loaded five-axle (5) tractor trailer has
            the same impact on the interstate as nine thousand six
            hundred (9,600) automobiles. The department estimates
            that tractor trailers cause in excess of seventy percent
            (70%) of the damage to the state’s transportation
            infrastructure, including Rhode Island bridges, on an
            annual   basis.      However,    revenue   contributions
            attributable to tractor trailers account for less than
            twenty percent (20%) of the state’s total annual
            revenues to fund transportation infrastructure.

            (9) The United States Congress, consistent with its
            power to regulate interstate commerce and pursuant to 23
            U.S.C. § 129, has authorized states to implement
            reconstruction or replacement of a toll-free bridge and
            conversion of the bridge to a toll facility, provided
            that the state:

                  (i) Has in effect a law that permits tolling on a
                  bridge prior to commencing any such activity; and

                  (ii) Otherwise complies with the requirements of 23
                  U.S.C. § 129.

       Id. § 42-13.1-2.

            In its final form, RhodeWorks directs RIDOT to set and collect

       tolls from large commercial trucks “for the privilege of traveling


                                               9

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       on   Rhode       Island        bridges     to     provide     for     replacement,

       reconstruction,        maintenance,        and    operation    of    Rhode     Island

       bridges.”     Id. § 42-13.1-4(a).               It expressly prohibits tolling

       vehicles     defined      as    Federal    Highway     Administration        (“FHWA”)

       Classes 1-7.     Id. § 42-13.1-5.         The director of RIDOT is authorized

       to “designate any Rhode Island bridge on the National Highway

       System as a toll bridge” and to determine the toll amount charged

       at each location. 6        Id. §§ 42-13.1-7, 8.           The revenue generated

       from tolling is collected in a special fund, id. § 42-13.1-6, to

       be “used to pay the costs associated with the operation and

       maintenance      of    the      toll      facility,     and    the    replacement,

       reconstruction, maintenance, and operation of Rhode Island bridges

       on the National Highway System or any other use permitted under 23

       U.S.C. § 129,” id. § 42-13.1-9.

            Built in to the RhodeWorks program are several limitations on

       tolling, known as “toll caps.”             See id. §§ 42-13.1-4(b)-(d).           The

       first tasks RIDOT with establishing a program that “limit[s] the

       assessment of the tolls upon the same individual large commercial

       truck    using    a    [radio      frequency       identification       transponder

       (“RFID”)] to once per toll facility, per day in each direction, or

       an equivalent frequency use program based upon individual large




            6 The National Highway System includes major roads                           and
       encompasses approximately 13.8% of the roads in Rhode Island.                     May
       25 Tr. 131:25-132:6.
                                                    10

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       commercial truck use.”       Id. § 42-13.1-4(b).         The second sets the

       maximum total charge at $20 for large commercial trucks making a

       “border-to-border through trip on Route 95 Connecticut to Route 95

       Massachusetts” using an RFID.           Id. § 42-13.1-4(c).             The final

       restriction caps the amount a single large commercial truck using

       an RFID can be charged daily at $40.           Id. § 42-13.1-4(d).

            Nearly all vehicles driving over the RhodeWorks bridges do

       not pay any tolls. 7 In fact, large commercial vehicles only account

       for approximately 3% of the total vehicle traffic on those bridges.

       May 25 Tr. 114:12-13.        Passenger vehicles, Classes 1-3, account

       for more than 90% of the traffic.        Id. 147:6-12.         Transaction data

       demonstrate    that   approximately      19%     of    tolled    vehicles         are

       registered    in   Rhode   Island,    compared    to   about    81%     of    tolled

       vehicles registered outside the state. 8          May 26 Tr. 25:5-22.

            By all accounts, the RhodeWorks tolling system is unique.

       See id. 105:19-106:7, ECF No. 236 (Plaintiffs’ expert, Dr. Jonathan

       Peters, testifying that RhodeWorks is “unprecedented and well




            7 The parties introduced extensive data and statistics at
       trial. The Kapsch data record vehicles passing through RhodeWorks
       toll gantries and sort those vehicles into tollable and un-tollable
       vehicle classes. The Emovis data capture transaction-level data.
       That is, those data show billing information for tolled vehicles
       under the RhodeWorks program. Several pre-implementation sets of
       data were also introduced, including from studies conducted by two
       state consultants, CDM Smith and Louis Berger.

            8 These data are based on a one-month sample in July 2020.
       Id. 149:25-150:6.

                                                11

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       outside    the   norm[]”);     June    2     Tr.    76:2-77:13,      ECF    No.   239

       (Defendants’ expert, Dr. Kenneth A. Small, testifying that he is

       not aware of other tolling agencies that toll only Class 8+

       trucks); June 1 Tr. 124:16-125:20 (Director Peter Alviti, Jr.,

       Director    of   the   Rhode   Island      Department        of   Transportation, 9

       testifying that he “underst[ood] that no one had done truck only

       [tolling], but . . . that there were a large number of tolling

       agencies that were differentiating large commercial vehicles from

       smaller vehicles and charging them [disproportionately] more than

       they were charging other vehicles.”).

            On cue, RIDOT implemented tolls at locations across the state.

       See DX250. Each reconstructed bridge or group of bridges is linked

       to a nearby toll gantry.       See, e.g., DX41 § 1.1; DX63 § 1.1.                 Five

       of the tolls are located on the I-95 corridor, three on I-295 (a

       beltway    around   Providence),       one    on     I-195   (which     travels    to

       Southeastern Massachusetts), and three on U.S. Route 6 or Rhode

       Island Route 146.       See DX250; DX63 § 1.1.               Toll locations have

       incrementally gone live (though at least one is not yet active). 10




            9  In his testimony, Director Alviti recalled being told that
       one other turnpike in New York tolled only large commercial
       vehicles. June 1 Tr. 125:6-20. Aside from RhodeWorks, no other
       record evidence reveals a tolling system targeting only large
       commercial trucks.

            10Evidence in the record shows that Location 5 is connected
       to the I-95 Viaduct in Providence. June 6 Tr. 22:19-22, ECF No.
       241. This location has not yet gone live. See DX250.
                                                    12

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       See DX250, DX44, DX67, DX86, DX107.              The toll amounts range from

       $2.25 to $9.50, 11 and the five tolls on the I-95 corridor total

       $17.75.      See DX250.

              RIDOT created separate accounts for each location.                  June 10

       Tr. 108:4-25, ECF No. 242.                The revenue collected from each

       location is first used to reimburse funds to reconstruct the tolled

       bridge, id. 110:6-10, and is allocated to reimburse these at a

       rate that       corresponds   to    a   damage   calculation      done    by   RIDOT

       engineers specific to each bridge, id. 109:1-111:23.                 The costs to

       rebuild the bridge above and beyond that damage allocation are

       generally paid according to an 80/20 split between federal and

       state funds. 12      Id. 109:25-111:3.       Once the bridge reconstruction

       costs have been repaid, RIDOT will allocate a certain amount of

       toll     revenue    for   yearly    maintenance    costs    and   then    use   the

       remaining revenue for other permissible projects. 13                 Id. 111:21-




               RIDOT set the following toll rates for each location:
              11

       Location 1-$3.25; Location 2-$3.50; Location 3-$6.25; Location 4-
       $2.25; Location 6-$2.50; Location 7-$6.50; Location 8-$8.50;
       Location 9-$7.50; Location 10-$9.50; Location 11-$3.50; Location
       12-$6.75; Location 13-$5.00. DX250. (This skips Location 5.)

              Most of the bridges were paid for by federal funds (80%)
              12

       and state funds (20%). June 10 Tr. 109:25-110:10, ECF No. 242.
       One bridge in the program will not be paid for using state funds,
       only toll revenue and federal funds. Id. 122:7-123:2.

              RIDOT’s Acting Chief Operating Officer testified that RIDOT
              13

       intended to use the excess funds to repair other bridges but also
       acknowledged that excess revenue could be used for other projects
       permitted by federal legislation. Id. 97:19-21, 113:6-19.

                                                   13

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       114:6.

            B.     ISTEA

            The    RhodeWorks    tolling      program    would     not   be       permissible

       absent    authorization    from      Congress    in   the   Intermodal        Surface

       Transportation Efficiency Act of 1991 (“ISTEA”). 14               This is because

       states may not toll interstate highways.                23 U.S.C. § 301.            An

       exception to this general prohibition is 23 U.S.C. § 129, which

       permits “reconstruction or replacement of a toll-free bridge or

       tunnel and conversion of the bridge or tunnel to a toll facility.”

       Id. § 129(a)(1)(E).       A public authority may use revenues generated

       from such     tolling    for   any    purpose    listed     under      §   129(a)(3),

       including repayment of debt and maintenance and improvement of

       “the facility.” See id. § 129(a)(3). Additionally, “if the public

       authority certifies annually that the tolled facility is being

       adequately maintained,” it may use excess revenue for “any other

       purpose for which Federal funds may be obligated by a State under

       this title.”     Id. § 129(a)(3)(A)(v).

            Prior to implementation of the RhodeWorks tolls, RIDOT and

       FHWA executed separate Memoranda of Understanding (“MOU”) for each

       proposed toll location.        See DX34; DX99.        Before the toll gantries




            14 ISTEA was enacted to “develop a National Intermodal
       Transportation   System  that  is  economically efficient and
       environmentally sound[.]” Pub. L. 102-240.
                                                  14

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       went live, FHWA approval was required. 15           See June 10 Tr. 159:23-

       160:2, ECF No. 242.           These MOUs set forth RIDOT’s intent to

       reconstruct specified bridges and toll them in accordance with 23

       U.S.C. § 129(a).      See DX34; DX99.    The MOUs also stated that “RIDOT

       desires to implement tolls on large commercial vehicles or ‘tractor

       trailers’ using an open road tolling structure using one or more

       gantries to collect tolls” on those bridges.                See DX34; DX99.

       Lastly, RIDOT and FHWA agreed that the ”Toll Project[s] m[et] the

       toll eligibility requirements of 23 U.S.C. 129(a)(1)” and that

       RIDOT must comply with all other requirements set forth in that

       statute.     See DX34; DX99.

       II.   Conclusions of Law

             A.     Preliminary Matters

                    1.    Standing

             Standing exists to keep courts within their constitutional

       limits, ensuring they exercise “the Judicial Power of the United

       States” only over “Cases” and “Controversies.”               Spokeo, Inc. v.

       Robins, 578 U.S. 330, 337 (2016) (cleaned up).                Thus, before a

       federal court can reach the merits of any dispute, the party

       asserting      jurisdiction    must    meet   the    familiar,         three-part

       “irreducible constitutional minimum of standing:” injury in fact,




             15Each location was also required to have an environmental
       assessment. June 10 Tr. 159:23-160:2, ECF No. 242.

                                                15

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       causation, and redressability.           Lujan v. Defs. of Wildlife, 504

       U.S. 555, 560 (1992).

            By    its   canonical    definition,       an    injury   in   fact   is   the

       “invasion of a legally protected interest which is (a) concrete

       and particularized and (b) actual or imminent, not conjectural or

       hypothetical.”       Id.     (internal   citations       and   quotation      marks

       omitted).        “Financial    loss,”    even    in    small   amounts,      “is   a

       paradigmatic example of an injury in fact.”              Pincus v. Am. Traffic

       Sols., Inc, 986 F.3d 1305, 1310 n.7 (11th Cir. 2021) (concluding

       allegedly wrongful payment of $7.90 gave standing).                 The amount of

       pecuniary loss is generally irrelevant because money unlawfully

       taken is a clear legal injury that is actual, particularized,

       concrete, and redressable. 16      See Bacchus Imps., Ltd. v. Dias, 468

       U.S. 263, 267 (1984) (liability for a tax alone gave standing in

       dormant Commerce Clause challenge, even if that cost was passed on

       to customers); All. of Auto. Mfrs. v. Gwadosky, 430 F.3d 30, 37




            16Some financial losses may be “too trifling of an injury to
       support constitutional standing.” Santos v. TWC Admin. LLC, No.
       CV 13-04799 MMM (CWx), 2014 WL 12558009, at *18 (C.D. Cal. Aug. 4,
       2014) (quoting Skaff v. Meridien N. Am. Beverly Hills, LLC, 506
       F.3d 832, 840 (9th Cir. 2007)). But the financial losses courts
       have found to be de minimis are typically smaller than even a
       single toll here. See id. at *19 (“[A]n error of less than one
       cent appears to be the type of de minimis injury that does not
       suffice to support Article III standing.”); Epstein v. J.P. Morgan
       Chase & Co., No. 13 Civ. 4744(KPF), 2014 WL 1133567, *2 (S.D.N.Y.
       Mar. 21, 2014) (finding loss of interest accruing on $0.67 over
       seven weeks to be de minimis injury insufficient for standing).
       The losses alleged and proven at trial are not de minimis.

                                                 16

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       (1st        Cir.    2005)     (recognizing      “concrete        pecuniary     injury”

       sufficient to give standing without analyzing amount).

              As a case progresses, all three elements of standing “must be

       supported in the same way as any other matter on which the

       plaintiff bears the burden of proof, i.e., with the manner and

       degree       of    evidence   required    at    the    successive     stages    of   the

       litigation.”         Lujan, 504 U.S. at 561.          “[A]t the final stage, those

       facts [that establish jurisdiction] (if controverted) must be

       ‘supported adequately by the evidence adduced at trial.’”                            Id.

       (quoting Gladstone Realtors v. Vill. of Bellwood, 441 U.S. 91, 115

       n.31 (1979)).           Jurisdiction is so foundational that it is a

       question “the court is bound to ask and answer for itself, even

       when not otherwise suggested, and without respect to the relation

       of the parties to it.”           Steel Co. v. Citizens for a Better Env’t,

       523 U.S. 83, 94 (1998) (internal quotation marks omitted).

              Because Plaintiffs’ claimed loss is financial, the individual

       Plaintiffs must prove that one of their interstate trucks paid an

       allegedly unconstitutional RhodeWorks toll.                       And ATA can show

       standing on associational grounds if it proves one of its members

       paid an unconstitutional toll. 17              What evidence the Court may look

       to in evaluating those showings here, however, is more fraught.



              For associational standing, ATA must prove that one of its
              17

       “members would otherwise have standing to sue in their own right,
       the interests at stake are germane to the organization’s purpose,
       and neither the claim asserted nor the relief requested requires

                                                      17

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              At the close of Plaintiffs’ case, they hit a speed bump.

       Defendants    surprised        them    by   moving    for   Judgment    on    Partial

       Findings under Rule 52(c), ECF No. 222, arguing Plaintiffs failed

       to prove an injury in fact during their case-in-chief.                      Defendants

       pointed out that none of Plaintiffs’ witnesses mentioned M&M

       Transport or Cumberland Farms, nor did Plaintiffs offer evidence

       that any member of ATA drove a Class 8+ truck through a Rhode

       Island toll gantry.       Because of these failures, Defendants contend

       that when Plaintiffs rested their case, the Court lost jurisdiction

       and was powerless to reach the merits or reopen the case.

              Plaintiffs’      response      is    twofold:    ATA     has   associational

       standing, which suffices on its own; and, in any event, evidence

       of standing existed in the trial record – both in a deposition

       designation they believed Defendants submitted and in objected-to

       testimony solicited from a witness in Defendants’ case.                      To top it

       off,     Plaintiffs      cry     sandbagging         because     Defendants        never

       questioned standing up to this point.

              Adhering to caution, Plaintiffs moved for the Court to reopen

       the record to receive additional evidence of standing, Mot. to

       Reopen    Case,   ECF    No.    221.        They   argued      reopening     was    both

       permissible and proper because standing had not been controverted



       the participation of individual members in the lawsuit.” Friends
       of the Earth, Inc. v. Laidlaw Env’t Servs. (TOC), Inc., 528 U.S.
       167, 181 (2000).      There is little question the latter two
       requirements are met.

                                                     18

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       at any time before Defendants’ Motion, save for some pro forma

       language in Defendants’ Answer nearly four years ago.                     Along with

       their     contention   that   the   Court      has   jurisdiction     to     reopen,

       Plaintiffs argue that refusal to reopen would unfairly reward

       Defendants’     trial-by-ambush       tactics        and   waste    the      copious

       resources poured into this litigation from all sides.                        Nothing

       would prevent Plaintiffs from walking downstairs and refiling

       their suit the same day it was dismissed. 18 The Court conditionally

       denied the 52(c) Motion and conditionally reopened the record to

       allow Plaintiffs to present additional evidence of standing.                    June

       13 Tr. 2:12-15, ECF No. 243.

            The Court must answer three distinct questions: (1) May the

       Court reopen the record?; (2) If yes, should it do so as a matter

       of discretion?; and (3) Have Plaintiffs proven standing on whatever

       part of the record is appropriate to consider?               The answer to each

       is yes.     Plaintiffs’ Motion to Reopen is GRANTED and Defendants’

       Motion for Judgment on Partial Findings is DENIED.


            18 Defendants make the peculiar claim that the Court is
       powerless to render any judgment or to reopen the record because
       it lacks jurisdiction and that a dismissal would act as a judgment
       on the merits worthy of res judicata effect in their favor. This
       argument confuses cases in which damages are a necessary but
       unproven element at trial and jurisdictional challenges, like that
       mounted here. See Am. C.L. Union of Ill. v. City of St. Charles,
       794 F.2d 265, 269 (7th Cir. 1986) (distinguishing between injury
       that “goes to damages (or in an equity case like this, to the right
       to obtain an injunction)” and “a dismissal on jurisdictional
       grounds that might allow the plaintiff to start the suit over
       again”).

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                         a.     May the Court reopen the record?

            Defendants’ argument that the Court lost jurisdiction at the

       close of Plaintiffs’ case rests on two venerable principles: a

       plaintiff bears the burden of proving jurisdiction at trial, see

       Lujan, 504 U.S. at 561, and a court may not adjudicate a dispute

       without jurisdiction, Steel Co., 523 U.S. at 94.                  Defendants argue

       that even though jurisdiction was never seriously questioned,

       Plaintiffs’ evidentiary failure at trial suddenly and permanently

       deprived the Court of jurisdiction, preventing the Court from

       reopening the record.        This is plainly wrong.

            The Court obviously cannot reach the merits or render any

       judgment   without      jurisdiction.           But    its     evaluation    of    its

       jurisdiction    is     not   confined      to   the        evidence    submitted   by

       Plaintiffs in their case-in-chief, especially when standing was

       not in dispute.      Instead, “it is familiar law that a federal court

       always has jurisdiction to determine its own jurisdiction.” United

       States v. Ruiz, 536 U.S. 622, 628 (2002).                     This hoary rule has

       always   included      the   power    to   take       in    evidence    of   standing

       appropriate to the stage of the proceeding, both before and after

       trial.   See Rivera-Flores v. P.R. Tel. Co., 64 F.3d 742, 748 (1st

       Cir. 1995) (“[E]ven where the claim is set for jury trial, the

       court has great latitude to direct limited discovery and to make

       such factual findings as are necessary to determine its subject

       matter jurisdiction.”); see also Parents Involved in Cmty. Sch. v.

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       Seattle Sch. Dist. No. 1, 551 U.S. 701, 718 (2007) (relying, in

       part, on facts asserted in new affidavit submitted under Supreme

       Court     Rule   32.3    to    assure    itself     of   jurisdiction        after   new

       circumstances resulted in jurisdiction being questioned); Warth v.

       Seldin, 422 U.S. 490, 501 (1975) (noting that, at the motion-to-

       dismiss stage, “it is within the trial court’s power to allow or

       to require the plaintiff to supply, by amendment to the complaint

       or   by   affidavits,      further      particularized      allegations        of    fact

       deemed supportive of plaintiff’s standing”).

             The Supreme Court’s seminal standing cases place the burden

       on   plaintiffs       to      prove   standing      at   trial,     but      only     “if

       controverted.”        Lujan, 504 U.S. at 561.            For example, in Alabama

       Legislative Black Caucus v. Alabama, after a bench trial, the

       district court found that one of the plaintiffs had failed to prove

       standing because the record did “not clearly identify the districts

       in which the individual members of the [Conference] reside.”                         989

       F. Supp. 2d 1227, 1292 (M.D. Ala. 2013), vacated and remanded, 575

       U.S. 254 (2015).           On review, the Supreme Court decided it was

       reasonable for the Conference to believe standing was not at issue,

       and thus “elementary principles of procedural fairness required

       that the District Court, rather than acting sua sponte, give the

       Conference       an     opportunity       to   provide      evidence      of    member

       residence.”      Ala. Leg. Black Caucus v. Alabama, 575 U.S. 254, 271

       (2015) (emphasis added).              Neither the close of the plaintiffs’

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       case-in-chief nor the completion of trial altered the Supreme

       Court’s conclusion that the district court could properly accept

       such evidence; indeed, the Court went further, directing it to do

       so.      Id.

                Similarly, in Gill v. Whitford, 138 S. Ct. 1916 (2018), the

       Court found the district court lacked jurisdiction because the

       plaintiffs had failed to produce evidence at trial of sufficiently

       individualized harm.          Id. at 1932-33. 19     Despite this failing, the

       Court remanded to give the plaintiffs “an opportunity to prove

       concrete and particularized injuries.” Id. at 1934. It is telling

       that Defendants do not point to a single case in which a court has

       held it was constitutionally powerless to reopen a case to hear

       jurisdictional evidence after a plaintiff failed to prove standing

       at trial (which, of course, is different from declining to do so

       under ordinary principles guiding a court’s discretion to reopen),

       without having notice that it was at issue. 20              Instead, many courts



              Gill v. Whitford, 138 S. Ct. 1916 (2018) effectively guts
                19

       Defendants’ attempt to distinguish Alabama Black Legislative
       Caucus from this case on the grounds that in the latter case, the
       Court found standing for at least some members and therefore had
       not completely “lost” jurisdiction. See Defs.’ Obj. Pl.’s Mot.
       Reopen 10-11, ECF No. 225. In Whitford, the Court found none of
       the plaintiffs had standing but still remanded so they could
       “attempt to demonstrate standing in accord with the analysis in
       this opinion.” 128 S. Ct. at 1923.

               Nor do the cases Defendants rely on support their
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       conclusion.    Although a court “lacks the power to create
       jurisdiction by embellishing a deficient allegation of injury,”
       Elend v. Basham, 471 F.3d 1199, 1206 (11th Cir. 2006) (internal

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       have concluded they have this power and then received new standing

       evidence.    See, e.g., Pub. Emps. for Envt’l Resp. v. Bright, No.:

       3:18-CV-13-TAV-HBG, 2021 WL 1220928, at *4 (E.D. Tenn. Mar. 31,

       2021) (reopening case to accept affidavits when the defendants

       challenged Article III standing after trial but standing was not

       controverted before trial); see also Cranpark, Inc. v. Rogers Grp.,

       Inc., 821 F.3d 723, 733-35 (6th Cir. 2016) (holding district court

       erred in refusing to consider evidence of standing which was not

       “adduced at trial,” where the plaintiff’s mistake was reasonable).




       quotation marks omitted), this admonition does not apply to the
       question of whether it has the power to reopen the record.
       Reopening to receive new jurisdictional evidence when the Court’s
       jurisdiction has suddenly been cast into doubt is different from
       “embellishing” the record by stretching inferences or assuming
       harms where they are insufficiently pleaded, “wholly inchoate,” or
       “entirely conjectural.” Id. at 1209.
            Defendants also cite Steel Co. for the proposition that
       “[w]ithout jurisdiction the court cannot proceed at all in any
       cause.   Jurisdiction is power to declare the law, and when it
       ceases to exist, the only function remaining to the court is that
       of announcing the fact and dismissing the cause.” 523 U.S. at 94
       (quoting Ex parte McCardle, 7 Wall. 506, 514 (1868)). True enough.
       But applying this directive here requires the Court to beg the
       question by assuming that jurisdiction has “ceased to exist,”
       rather than merely having been cast into doubt by Defendants’
       surprise motion. The broader point of Steel Co. was to rebuke a
       practice brewing in the lower courts of assuming hypothetical
       jurisdiction when the merits were clear, the jurisdictional
       question thorny, and the merits favored the party challenging
       jurisdiction, such that that party would win anyways. Id. at 93-
       94, 101. The case says nothing about what to do with a surprise
       jurisdictional attack or what part of the trial record a court
       should use in determining jurisdiction (for good reason, Steel Co.
       was decided on appeal of a motion to dismiss). Rather, it holds
       that the jurisdictional question must be answered before a court
       addresses the merits. Id. at 101.
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                Thus, the Court concludes it has constitutional power to

       resolve     doubts    about    its   jurisdiction     and   take    evidence     to

       determine those facts which would support the exercise of its

       jurisdiction, even after the close of Plaintiffs’ case-in-chief.

       Thus, having concluded the Court may reopen the record, it turns

       to whether it should exercise its discretion to do so here.

                            b.   Should the Court exercise its discretion to
                                 reopen the record?

                “[T]he   particular    criteria     that   guide    a   trial      court’s

       decision to reopen are necessarily flexible and case-specific.”

       Rivera-Flores, 64 F.3d at 746.            That said, the First Circuit has

       directed courts to non-exclusively consider “whether: (1) the

       evidence sought to be introduced is especially important and

       probative; (2) the moving party’s explanation for failing to

       introduce the evidence earlier is bona fide; and (3) reopening

       will cause no undue prejudice to the nonmoving party.”                    Id.

                Here, there is no question the evidence is important and

       probative.        Without it, M&M Transport and Cumberland Farms would

       likely be dismissed.

                Similarly, Plaintiffs have shown a bona fide reason for their

       failure to introduce more evidence of standing in their case-in-

       chief.     No dispute over standing was raised in the long history of

       this case outside of Defendants’ now-dusty Answer.                    It was not

       mentioned in two appeals to the Court of Appeals, nor in the


                                                   24

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       pretrial memoranda, nor in Defendants’ opening statement.                      See

       Cranpark, 821 F.3d at 730, 733 (concluding standing was a foregone

       conclusion,       despite   boilerplate    objection     in    the   defendants’

       answer).         In any event, Plaintiffs had a good-faith reason to

       believe as recently as two days before trial that Defendants would

       be submitting a deposition designation containing clear evidence

       of standing. Defendants did not submit that deposition. The Court

       need not decide whether this last-minute decision was entirely

       innocent, a wily litigation tactic, or something more nefarious;

       whatever the reason, this shift supports a finding that Plaintiffs’

       reasons for not submitting this deposition were bona fide.                     And

       given the obviously concrete and particularized harm associated

       with paying an allegedly unconstitutional toll, there was good

       reason to think standing was so patently obvious that it was not

       a genuine dispute.          See Ala. Leg. Black Caucus, 575 U.S. at 270

       (noting “common sense inference” of standing, absent specific

       challenge, led the plaintiffs to reasonably believe their evidence

       of standing was sufficient); Rivera-Flores, 64 F.3d at 747 (“[I]t

       may amount to an abuse of discretion for a trial court to decline

       to reopen in circumstances where the movant has demonstrated

       reasonably genuine surprise.”) (internal quotation marks omitted).

       The      Court   finds   Plaintiffs’    surprise   to   be    both   genuine   and

       reasonable and their explanation for the limited evidence of

       standing bona fide.

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                Finally, there is no undue prejudice to Defendants in reaching

       the merits of this dispute now.                   Litigation is not a game, and

       although some cases no doubt hinge on mistakes of counsel or

       technical errors, the orientation of the Court is “to secure the

       just, speedy, and inexpensive determination of every action and

       proceeding.”           Fed. R. Civ. P. 1.        Refusal to sanction a procedural

       ambush         is     not     prejudicial,     especially   if   it   merely    allows

       Defendants to defend the law on the merits. 21

                For all these reasons the Court holds it both can and should

       accept          the     evidence      offered     conditionally       in    reopening.

       Plaintiffs’ Motion to Reopen, ECF No. 221, is GRANTED.

                                   c.   Is Plaintiffs’ evidence of standing
                                        sufficient?

                Having granted Plaintiffs’ Motion to Reopen, the Court next

       considers whether the evidence introduced on reopening is enough

       to prove standing.               It is.   Then, in order to produce a thorough

       record, the Court makes additional holdings on the independent

       adequacy of two other potential bodies of standing evidence.                         It

       considers           the      propriety    of    standing    evidence       adduced   in




               One might even go so far as to say that the State should
                21

       want a ruling on the constitutionality of RhodeWorks and ought to
       be reluctant to use procedural sleights of hand to deflect or delay
       such a ruling. After all, if the RhodeWorks scheme violates the
       Commerce Clause, as it does, the State should want to stop the
       improper tolling and fix the problem.

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       Defendants’ case and then decides whether the evidence admitted in

       Plaintiffs’ case-in-chief is itself sufficient to prove standing.

                                           i.      Plaintiffs’ Evidence on Reopening

                Defendants       argue    that    even    considering      the   evidence    on

       reopening, Plaintiffs still failed to prove standing.                           Some of

       these         arguments   border    on     the    frivolous. 22      Considering     the

       evidence on reopening, each Plaintiff has easily proven an injury

       in fact sufficient for standing.

                First, the evidence showed that Plaintiff Cumberland Farms

       maintains a fleet of 120 trucks Classes 8 or above, which service

       gas      stations     and   convenience          stores   throughout      New   England,

       including Rhode Island. June 13 Tr. 11:15-12:7, 13:5-13:17. Since

       RhodeWorks went into effect, the company’s operating costs have

       increased by about $100,000 because of the tolls.                     Id. 16:4-16:20.

       Given testimony that its headquarters is in Massachusetts, id.

       11:21-22, its business is spread across New England, and its trucks

       regularly use bridges tolled by RhodeWorks, the Court has no

       trouble finding by a preponderance of the evidence that Cumberland

       Farms has paid significant RhodeWorks tolls while in interstate

       commerce.          This evidence proves injury in fact.                    And because

       Cumberland Farms continues to operate in Rhode Island, the Court




               See, e.g., Defs.’ Post-Trial Br. (“Defs.’ Br.”) 15 n.14,
                22

       ECF No. 229 (arguing $100,000 in tolls is a de minimis injury for
       standing purposes because Cumberland Farms is a large company).

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       finds      that   future     harm   is     more    than     speculative,        justifying

       prospective injunctive relief.

                Second, the evidence showed that Plaintiff M&M Transport is

       a trucking company headquartered in Massachusetts and uses a fleet

       of roughly 500 Class 8+ trucks to ship goods across the country,

       from warehouses to retail locations, including into Rhode Island

       and      Connecticut.        Id.    27:16-30:8.           It    has    been   subject     to

       RhodeWorks tolls each day since the program began, increasing its

       operating costs.           Id. 30:15-31:7.             Thus, for M&M Transport, the

       Court finds by a preponderance of the evidence that the company

       has      suffered   pecuniary       loss    from       paying    RhodeWorks       tolls   in

       interstate commerce and will continue to do so in the future.                             It

       therefore has standing to sue based on the evidence admitted on

       reopening.

                Finally, for associational standing, ATA must prove that its

       “members would otherwise have standing to sue in their own right,

       the interests at stake are germane to the organization’s purpose,

       and neither the claim asserted nor the relief requested requires

       the participation of individual members in the lawsuit.”                           Friends

       of the Earth, Inc. v Laidlaw Env’t Servs. (TOC), Inc, 528 U.S.

       167, 181 (2000).        The constitutionality of RhodeWorks, the first

       truck-only tolling system in the country, is an interest germane

       to    ATA’s       purpose,    and     nothing          about    this     suit     requires

       participation of individual members.                    And because Cumberland Farms

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       has standing and is a member of ATA, ATA too has standing.                        See

       June 13 Tr. 12:18-22; PX759.              Separate from this, ATA’s general

       counsel testified to personally witnessing various ATA members’

       trucks (UPS, Walmart, C.R. England, NFI Industries, Signature

       Transport, and DJ Cronin) driving on the RhodeWorks toll corridors,

       including moments before and after they passed through gantries.

       June 13 Tr. 46:1-47:9.           The Court therefore finds it more likely

       than     not   these   members    paid    a   RhodeWorks       toll   in   interstate

       commerce and this testimony independently supports ATA’s standing.

                                        ii.     Evidence from Defendants’ Case

                On cross-examination, Plaintiffs elicited testimony from Dr.

       Vijay K. Saraf, a defense expert, showing that some data he used

       to form his expert opinions also proved that M&M Transport and

       Cumberland Farms paid RhodeWorks tolls.                 June 6 Tr. 68:17-72:19,

       73:15-75:4, ECF No. 241.           Defendants objected to this testimony

       and moved to strike, arguing that they had carefully avoided

       soliciting      any    opinion    that     relied     on   a    Plaintiff-specific

       analysis of the underlying data and thus this testimony exceeded

       the proper scope of cross-examination by asking about the basis

       for an opinion Dr. Saraf never gave.               Id. 64:10-65:21, 69:24-70:1,

       72:22-23.      The Court took the objection under advisement.

                Now, after careful review of the record, the Court agrees

       with Defendants. Although opinions in Dr. Saraf’s direct testimony

       relied on Emovis and Kapcha data, none of his direct testimony

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       relied         on    searching         or    collating          these    data     by     E-Z     Pass

       transponders             known    to   belong       to     Plaintiffs       M&M   Transport        or

       Cumberland Farms.                Questions about a Plaintiff-specific analysis

       were therefore questions about an analysis that did not form the

       basis of any opinion given in his direct testimony and thus were

       beyond the permissible scope of cross-examination.                                     Defendants’

       objection           is   sustained,         and    Dr.     Saraf’s      testimony        about    M&M

       Transport and Cumberland Farms, id. 68:17-72:19, 73:15-75:4, is

       stricken from the trial record. 23                       For this reason, the Court need

       not decide whether a deferred Rule 52(c) motion should be decided

       based on the entire trial record or the record at the time the

       motion is made – an issue the parties debate but that is rendered

       academic by the exclusion of this portion of Dr. Saraf’s testimony.

                                               iii. Evidence in Plaintiffs’ Case-in-
                                                    Chief

                If limited only to their case-in-chief, Plaintiffs argue that

       a deposition designation they believed Defendants submitted shows

       M&M Transport has standing and that ATA has both associational and

       organizational             standing.               But        the   deposition         designation

       Plaintiffs believed was submitted, was not.                               Whether this was a

       foul trick or a benign trial decision, the relevant portions of




               For the same reason, the Court sustains Defendants’
                23

       objection to the admission of Exhibit DX236. See June 6 Tr. 72:20-
       23. The clerk is directed to revise the Exhibit and Witness List,
       ECF No. 227, accordingly.

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       Shawn     Sanford’s     deposition    may    not     be   considered     as     part   of

       Plaintiffs’ case-in-chief, and Plaintiffs cannot rely on that

       deposition to prove M&M Transport’s standing.

                The   question    of   ATA’s     associational        standing       based    on

       evidence in Plaintiffs’ case-in-chief is a close call.                        As noted

       earlier, associational standing here depends on whether ATA has

       proven that one of its members has standing.                           To this end,

       Plaintiffs rely on the testimony of John Lynch, an ATA executive,

       stating that ATA has member companies in all fifty states.                       May 24

       Tr. 11:4-5.        Their argument proceeds again from Alabama Black

       Legislative Caucus, in which the trial court faulted the plaintiffs

       for failing to identify the legislative districts where individual

       members resided.          575 U.S. at 269.         The Supreme Court reversed,

       holding most plaintiffs’ proof on standing was adequate because

       they had members in every county, their purpose was to help those

       less fortunate, and these facts together supported an inference

       that it was “highly likely” it had members in each majority-

       minority district.         Id. at 269-270.        Plaintiffs argue that because

       ATA, an organization dedicated to advancing national trucking

       interests,      has   2,000     members     spread    across     the    fifty    states

       (including      Rhode     Island   and    every      surrounding       state)    it    is

       extremely likely that its members have paid a RhodeWorks toll.

                The Court agrees.         Following the logic of Alabama Black

       Legislative Caucus, the Court finds that it is more likely than

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       not that at least one ATA member paid a RhodeWorks toll in

       interstate travel.       Indeed, this is a near certainty.          As the Court

       did in that case, this Court finds it is so highly likely that an

       ATA member paid a toll in interstate travel that ATA has standing

       based solely on the evidence in Plaintiffs’ case-in-chief.

                But   the   Court    rejects    ATA’s     argument      that      it    has

       organizational standing to sue.          Organizational standing exists on

       proof of “concrete and demonstrable injury to the organization’s

       activities — with the consequent drain on the organization’s

       resources — [which] constitutes far more than simply a setback to

       the organization’s abstract social interests.”                    Havens Realty

       Corp. v. Coleman, 455 U.S. 363, 379 (1982).                    ATA may have an

       interest in preventing truck-only tolling systems from spreading

       beyond Rhode Island, but expenditures solely for litigation of the

       matter at hand and lobbying cannot support organizational standing

       on a diversion of resources theory.               See Equal Means Equal v.

       Ferriero, 3 F.4th 24, 30 (1st Cir. 2021).

                In sum, the Court determines that it both may and should

       reopen the record to admit additional evidence of Plaintiffs’

       standing.      The evidence produced in the reopened record proves all

       three Plaintiffs have a real stake in this litigation and would be

       injured by a constitutional infirmity in RhodeWorks.                      The Court

       therefore has jurisdiction.          Although the evidence solicited in

       Defendants’      case   is   excluded,   the   Court    also   finds      that   ATA

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       successfully demonstrated associational standing based solely on

       the evidence in its case-in-chief.

                     2.      Congressional Authorization

                Another     of     Defendants’    threshold          arguments      involves

       congressional authorization; this, the Court has addressed at an

       earlier stage of this litigation.           See Am. Trucking Ass’n, Inc. v.

       Alviti (“ATA I”), No. 18-378, 2020 WL 4050237, at *2 (D.R.I. July

       20,      2020).      Defendants’   argument      comes   in    two    parts:    first,

       Plaintiffs’        dormant    Commerce    Clause     challenge       fails     because

       Congress authorized the State to take the exact action at issue in

       this case; and second, Plaintiffs’ fair approximation argument

       fails because of Congress’s prior authorization of the tolling

       regime.

                “Congress    may    ‘redefine    the    distribution        of   power   over

       interstate commerce’ by ‘permitting the states to regulate the

       commerce in a manner which would otherwise not be permissible.’”

       S.-Cent. Timber Dev., Inc. v. Wunnicke, 467 U.S. 82, 87-88 (1984)

       (quoting S. Pac. Co. v. Arizona, 325 U.S. 761, 769 (1945)) (cleaned

       up).      But congressional authorization must be “expressly stated”

       or “made unmistakably clear.”            N.Y. State Dairy Foods, Inc. v. Ne.

       Dairy Compact Comm., 198 F.3d 1, 9 (1st Cir. 1999) (internal

       citations and quotation marks omitted).                   This is because “the

       democratic process at the state level does not in and of itself

       function as an effective restraint against protectionist state

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       laws because the burdens that such laws impose will fall on actors

       who are unrepresented in state legislatures.”                 Ne. Patients Grp.

       v. United Cannabis Patients & Caregivers of Me., 45 F.4th 542, 552

       (1st Cir. 2022).          Therefore, this rule “reduces significantly the

       risk that unrepresented interests will be adversely affected.”

       Id. (quoting S.-Cent. Timber Dev., 467 U.S. at 92).

                Earlier in this case, the Court ruled that it was “unpersuaded

       by Defendants’ broad interpretation of congressional authorization

       in ISTEA,” finding that the statutory scheme does not “evince an

       unmistakably clear intent by Congress to completely shield state

       highway tolling activity from Commerce Clause challenges.”                  ATA I,

       2020 WL 4050237, at *2 (internal quotation marks omitted).                      The

       Court sees no reason to disturb this ruling. 24                   Through ISTEA,

       Congress authorized, subject to certain requirements, an activity

       it once barred: tolling on the interstate highways.                 See 23 U.S.C.

       129(a).         But this allowance does not grant states carte blanche to

       toll in ways that violate the dormant Commerce Clause.

                Defendants’ second argument fares no better.            It is true that

       ISTEA permits “a public authority to use toll revenues for non-

       toll road projects.”          Owner Operator Indep. Drivers Ass’n, Inc. v.



              Defendants suggest that the toll system here is “supported
                24

       by ISTEA and by the [MOUs] entered into between the State and the
       FHWA, Congress’s authorized agent.” Defs.’ Br. 24 n.24. But the
       MOUs address compliance with ISTEA and have no bearing on whether
       Congress, through ISTEA, authorized the challenged activity here.
       See DX34; DX99.

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       Penn. Tpk. Comm’n, 934 F.3d 283, 292 (3d Cir. 2019).                       At the

       judgment on the pleadings stage, Plaintiffs conceded, and the Court

       agreed, this effectively displaced the “excessiveness” 25 part of

       the Evansville/Northwest Airlines 26 analysis.                  ATA I, 2020 WL

       4050237, at *2; see Owner Operator Indep., 934 F.3d at 293 (“ISTEA

       contemplated that tolls exceeding the amount needed to fund a toll

       road would be collected and spent on non-toll road projects.”).

       Not satisfied with this congressional gift, Defendants take aim at

       Plaintiffs’ reliance on highway cost allocation studies (“HCASs”)

       to show that RhodeWorks’ tolling of only Class 8+ trucks does not

       fairly approximate usage by all vehicles.                    Defendants say if

       allocation is required, “there could never be any excess revenue,”

       so Plaintiffs’ argument is nothing more than a “camouflaged attempt

       to challenge the excessiveness of the tolls.” 27              Defs.’ Post-Trial

       Br. (“Defs.’ Br.”) 27, ECF No. 229.                As Plaintiffs note, ISTEA



               This asks whether a fee is “excessive in comparison with
                25

       the governmental benefit conferred.”       Evansville-Vanderburgh
       Airport Auth. Dist. v. Delta Airlines, Inc., 405 U.S. 707, 717
       (1972).

              Id. at 716-17; N.W. Airlines, Inc. v. Cty. of Kent, Mich.,
                26

       510 U.S. 355, 369 (1994).     The so-called Evansville test is
       discussed in detail below.

              Foreshadowing their fair approximation argument, Defendants
                27

       throw in that ISTEA precludes an argument that fair approximation
       must be measured only by the actual costs associated with the
       individual tolled facilities and that Congress recognized in ISTEA
       the importance of an interconnected transportation system. These
       issues are discussed in more detail below in the context of the
       Court’s fair approximation analysis. See infra.
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       “says nothing at all about who may be required to pay the toll or

       the allocation of the toll burden.”             See Pls.’ Reply Supp. Post-

       Trial Br. (“Pls.’ Reply”) 9, ECF No. 231.                  The fact that excess

       revenues are used on other projects does not absolve a state of

       its Commerce Clause duty to toll users fairly.

                The excessiveness and fair approximation inquiries of the

       Evansville test serve distinct purposes.             Fair approximation zeros

       in on the fairness of the method by which the fees are charged,

       not the reasonableness of the amount of money generated from them.

       Plaintiffs’ reliance on HCAS analyses does not implicitly endorse

       the State’s methodology; it merely attempts to show that a toll

       system should account in some fair way for all users of the tolled

       facilities.

                    3.    Burden of Proof

                And last, the parties disagree about Plaintiffs’ burden of

       proof:     Plaintiffs   say   the    burden     is   the   usual   preponderance

       standard, while Defendants claim it’s beyond a reasonable doubt in

       cases concerning constitutionality.

                Superficially, at least two federal district court cases

       support Defendants’ position.          See Donahue v. City of Bos., 264 F.

       Supp. 2d 74 (D. Mass. 2003); Devaney v. Kilmartin, 88 F. Supp. 3d

       34 (D.R.I. 2015).       But delving deeper, both are distinguishable:

       in stating that the party contesting constitutionality bears the

       burden of a beyond-a-reasonable-doubt standard, these cases did so

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       in reliance on state – not federal – law.                      In Donahue, the court

       cited to a Massachusetts Supreme Judicial Court case for the

       principle        that        “the     party       challenging          the      statute’s

       constitutionality must demonstrate beyond a reasonable doubt that

       there      are   no     conceivable        grounds    which      could       support    its

       validity.”       264 F. Supp. 2d at 82-83 (cleaned up).                This principle,

       which the court considered in analyzing the constitutionality of

       a Massachusetts statute, traces back to 1917 in Massachusetts

       common law.       See Perkins v. Inhabitants of Town of Westwood, 115

       N.E. 411, 411–12 (Mass. 1917) (“All rational presumptions are made

       in favor of the validity of every act of the legislative department

       of government, and the court will not refuse to enforce it unless

       its      conflict     with     the    Constitution        is     established       beyond

       reasonable doubt.”).           And in Devaney, a Magistrate Judge of this

       Court analyzing alleged violations of the federal and Rhode Island

       constitutions         “pause[d]      to    assemble   the      state   law     principles

       applicable       to    interpreting         ordinances.”       88   F.   Supp.     3d    at

       44.      Citing only Rhode Island law, she said this:                    “Finally, the

       party contesting constitutionality . . . bears the burden of

       proving beyond a reasonable doubt that the challenged enactment is

       unconstitutional.”           Id. at 45 (cleaned up).

                These principles mimic the burden that state courts impose on

       themselves when analyzing constitutionality.                    See Gomes v. Bristol

       Mfg. Corp., 184 A.2d 787, 790 (R.I. 1962) (“In considering the

                                                        37

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       question of the constitutionality of a statute this court is bound

       to uphold it unless its unconstitutionality appears beyond a

       reasonable doubt.”); see also State v. Kofines, 80 A. 432, 435-36

       (R.I. 1911) (“‘It is but a decent respect due to the wisdom, the

       integrity, and the patriotism of the legislative body by which any

       law is passed,’ says Justice Washington, ‘to presume in favor of

       its validity, until its violation of the Constitution is proved

       beyond all reasonable doubt.’” (quoting Ogden v. Saunders, 25 U.S.

       213, 270 (1827) (opinion of Washington, J.)).                 So federal courts

       follow suit and apply this standard when analyzing violations of

       those states’ constitutions.           See R.I. Fishermen’s All., Inc. ex

       rel. Fuka v. Dep’t of Env’t Mgmt., No. CIV.A.07-230ML, 2008 WL

       4467186,     at    *5   (D.R.I.    Oct.     3,   2008), aff’d     sub      nom. R.I.

       Fishermen’s All., Inc. v. R.I. Dep’t of Env’t Mgmt., 585 F.3d 42

       (1st Cir. 2009) (“Plaintiffs carry the burden of proving beyond a

       reasonable doubt that the regulations violate the Rhode Island

       Constitution.”) (emphasis added).

                But here Plaintiffs allege only a federal constitutional

       violation.        Nothing   in    dormant    Commerce    Clause    jurisprudence

       instructs that a heavier burden applies in testing a law against

       the federal Constitution, even when the relevant state law does

       impose such a standard.          Compare N.H. Motor Transp. Ass’n v. Flynn,

       751 F.2d 43, 47 (1st Cir. 1984) (never specifying that the burden

       is beyond a reasonable doubt) with Pet. of Bos. & Me. Corp., 251

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       A.2d      332,     335    (N.H.   1969)    (requiring     statutes     to      be    proven

       unconstitutional            beyond all reasonable doubt);            compare         Cherry

       Hill Vineyard, LLC v. Baldacci, 505 F.3d 28, 33-34 (1st Cir. 2007)

       (making no mention of heightened standard of proof) with Op. of

       the Justs., 162 A.3d 188, 209 (Me. 2017), as revised (Sept. 19,

       2017)           (“[A]      statute        enjoys      a     ‘heavy       presumption’

       of constitutionality, it is the burden of the party challenging

       the statute to establish that it is unconstitutional, and the

       challenging                   party                must           meet                 that

       burden beyond a reasonable doubt.” (quoting Op. of the Justs., 850

       A.2d 1145, 1149 (Me. 2004)).                Proving the point, those principal

       dormant Commerce Clause cases the Court relies on today – Scheiner,

       Trailer Marine, Doran, Trailer Bridge, to name a few - make no

       mention of the beyond a reasonable doubt standard. 28

                Seeing no reason to take a different route here, the Court

       gets to the merits.

                B.      Merits

                        1.      Dormant Commerce Clause Principles

                Under Article I, Section 8 of the United States Constitution,

       Congress shall have power to regulate commerce among the several

       states.         The Supreme Court has “long held that this Clause also




               Even if the beyond a reasonable doubt standard applied,
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       Plaintiffs would meet it, at the very least with respect to fair
       approximation and likely with respect to discrimination as well.
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       prohibits state laws that unduly restrict interstate commerce.”

       Tenn. Wine & Spirits Retailers Ass’n v. Thomas, 139 S. Ct. 2449,

       2459 (2019).           “‘This negative aspect of the Commerce Clause’

       prevents the States from adopting protectionist measures and thus

       preserves a national market for goods and services.” 29 Id. (quoting

       New Energy Co. of Ind. v. Limbach, 486 U.S. 269, 273 (1988)).

                The Supreme Court has held that modern dormant Commerce Clause

       doctrine concerns two primary principles: (1) “state regulations

       may not discriminate against interstate commerce” and (2) states

       “may not impose undue burdens on interstate commerce.”                     S. Dakota

       v. Wayfair, Inc., 138 S. Ct. 2080, 2091 (2018).                  “[T]he Commerce




              Straight out of the gate, Defendants argue Plaintiffs’ case
                29

       should be tossed because there is a good chance that the Supreme
       Court will re-examine the viability of the dormant Commerce Clause
       and revoke it.      They suggest that, presented with such an
       opportunity, the Court will likely “reject the dormant Commerce
       Clause” because it is “not tethered to any constitutional text.”
       Defs.’ Br. 18.    Although it is true that the dormant Commerce
       Clause has a “long and complicated history,” and the Supreme Court
       has aptly described its jurisprudence as a “quagmire,” the Court
       has also very recently reinforced its validity. See Tenn. Wine &
       Spirits Retailers Ass’n v. Thomas, 139 S. Ct. 2449, 2459 (2019);
       Quill Corp. v. N. Dakota By & Through Heitkamp, 504 U.S. 298, 315
       (1992), overruled on other grounds by S. Dakota v. Wayfair, Inc.,
       138 S. Ct. 2080 (2018); see also Am. Trucking Ass’ns, Inc. v.
       State, Dep’t of Transp., 339 Or. 554, 562 (2005). In Tenn. Wine,
       the Court examined the history of the dormant Commerce Clause,
       noting that restricting state protectionism “is deeply rooted in
       our case law” and that without the Clause “we would be left with
       a constitutional scheme that those who framed and ratified the
       Constitution would surely find surprising.” 139 S. Ct. at 2459.
       And even if Defendants’ crystal ball is accurate and the Supreme
       Court decides at some future point to reexamine this line of
       jurisprudence, for now this Court must respect and apply it.
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       Clause was designed to prevent States from engaging in economic

       discrimination so they would not divide into isolated, separable

       units.”        Id. at 2093-94.        In cases involving user fees, the fee is

       reasonable “if it (1) is based on some fair approximation of use

       of the facilities, (2) is not excessive in relation to the benefits

       conferred,        and   (3)        does   not   discriminate      against     interstate

       commerce.”        N.W. Airlines, Inc. v. Cty. of Kent, Mich., 510 U.S.

       355, 369 (1994) (citing Evansville-Vanderburgh Airport Auth. Dist.

       v. Delta Airlines, Inc., 405 U.S. 707, 716-17 (1972)).                         Both this

       Court and the First Circuit, along with other circuits, have

       applied the Evansville/Northwest Airlines test in highway tolling

       cases.         Cohen v. R.I. Tpk. & Bridge Auth., 775 F. Supp. 2d 439,

       445 (D.R.I. 2011); see Doran v. Mass. Tpk. Auth., 348 F.3d 315,

       320-21 (1st Cir. 2003); Selevan v. N.Y. Thruway Auth., 584 F.3d

       82, 98 (2d. 2009).                 (And Evansville itself relied on highway

       tolling cases, finding them “instructive.”                   405 U.S. at 715.)

                The    test    is    disjunctive:       failing    any    of   the    three   is

       sufficient to invalidate a law under the Commerce Clause. As noted

       above      and     in        the     Court’s     prior     rulings,     congressional

       authorization takes excessiveness out of play.                     See ATA I, 2020 WL

       4050237, at *2.              So, for Plaintiffs’ challenge to succeed, they

       must show either that RhodeWorks’ tolling regime fails to fairly

       approximate each tolled users’ use of the tolled facilities or

       that it discriminates against interstate commerce.                            Plaintiffs

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       prove RhodeWorks does both.

                    2.     Does RhodeWorks fairly approximate use?

                The fair approximation test asks whether the tolls “reflect

       a fair, if imperfect, approximation of the use of the facilities

       for whose benefit they are imposed” and whether the law has

       reasonably drawn the line between users it exempts and users it

       charges for use of a facility.                 See Evansville, 405 U.S. 717;

       Industria y Distribuction de Alimentos v. Trailer Bridge, 797 F.3d

       141, 145 (1st Cir. 2015). Defendants attempt to shape the analysis

       in three ways: first, they seek to limit what can be considered by

       excluding evidence of the costs of operating, maintaining, and

       repairing the tolled facilities; second, if costs are included,

       they want to dilute the impact by expanding the “denominator” –

       the benefit side of the equation – to the tolled bridge group’s

       functionally-related           facilities;    and    third,    they     contend    that

       other sources of RIDOT’s revenue must be factored into the equation

       so that the tolled trucks’ share is compared to the financial share

       paid by other users through various taxes and fees beyond tolls.

       In   line    with       that   attempt,    Defendants    offer      a   corresponding

       idiosyncratic definition of use.                   None of these arguments are

       remotely convincing but must be dispatched to set the stage for

       explaining        why    the    RhodeWorks    tolls     do    not   meet     the   fair

       approximation test.




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                             a.     Parameters of the Test

                                    i.   Are the costs of operating, maintaining,
                                         and repairing the bridges relevant to
                                         assessing use of the facilities?

                The   parties       disagree     about     whether    use    in      the    fair

       approximation         calculation       includes    costs     associated      with    the

       facilities.          This costs versus use debate is not mere semantics:

       inclusion of costs changes the inquiry substantially because the

       focus becomes allocation of all costs of the facility (past and

       future) among all users, as opposed to a narrower allocation of

       fees     against      only   those   vehicles       Defendants    say    consume      the

       facility over time.           Defendants hope to cabin the inquiry to fees

       approximating a user’s use (as they define it) of a facility,

       excluding that user’s fair portion of what it costs the State to

       operate, maintain, and repair the facility.                   And they submit that

       their position must be correct because consideration of costs is

       reserved       for    excessiveness,      which     congressional       authorization

       removed from the calculation.                 And because HCASs concern such

       costs, Defendants argue the Court should grant their Motion in

       Limine seeking to exclude Plaintiffs’ HCAS models, ECF No. 166.

       But the Court sides with Plaintiffs and finds that the costs of

       operating, maintaining, and repairing the tolled facilities are

       the proper metric.

                The distinction Defendants attempt to draw between costs and

       use is an illusory one.              Incurred costs are often the basis for

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       imposing a fee in the first place.            See Evansville, 405 U.S. at

       714 (“[A] charge designed only to make the user of state-provided

       facilities pay a reasonable fee to help defray the costs of their

       construction and maintenance may constitutionally be imposed on

       interstate and domestic users alike.”).                 Indeed, Evansville’s

       “reasonable fee” asks whether the fee structure roughly apportions

       the costs of building and maintaining the facility among the

       various users who benefit from using it.                See Nw. Airlines, 510

       U.S. at 369 (“The Airport’s decision to allocate costs according

       to a formula that accounts for [a] distinction appears to ‘reflect

       a fair, if imperfect, approximation of the use of facilities for

       whose benefit they are imposed.’” ((quoting Evansville, 405 U.S.

       at   716-17))    (emphasis   added);    see     Selevan,     584   F.3d     at    98

       (directing the district court to examine fair approximation by

       “consider[ing] whether the . . . policy at issue reflects rational

       distinctions     among    different   classes     of    motorists    using       the

       Bridge, so that each user, on the whole, pay some approximation of

       his or her fair share of the state’s cost for maintaining the

       Bridge”)      (internal   quotation     marks     and     citation       omitted).

       Evansville’s language further proves that both retrospective and

       prospective costs may be considered.          See 405 U.S. at 714.

                Defendants’ reliance on Jorling v. United States Department

       of Energy, 218 F.3d 96 (2d Cir. 2000), for the principle that there

       is a meaningful difference between fair approximation of use of a

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       facility and fair approximation of the costs of that use only gets

       them so far.             In Jorling, 30 the Second Circuit observed that

       frequently         the   distinction    between      use   and   costs       makes   no

       difference to the outcome, but there may be situations in which

       the two diverge.            Id. at 101.    To illustrate the point, Jorling

       gives an extended helpful hypothetical about planes of varying

       sizes requiring different degrees of runway staff to land.                      Id. at

       101-02.         A bigger plane requires more runway staff and thus costs

       the airport more for each landing than does a smaller plane; a

       per-landing user fee would not capture this difference in costs

       but would still likely be permissible as a rough “surrogate for an

       otherwise complicated and expensive attempt to allocate costs.”

       Id. at 102.         Because the aim of the fair approximation analysis is

       deciding         “whether   the   challenged      method   for   imposing      charges

       fairly apportions the cost of providing a service,” “a method for

       imposing charges based on each payer’s approximate use will pass

       muster as an adequate apportionment of costs.”                        Id. at 103.

       Allocation of costs is what the test is after, even if simpler

       measures of use can in some cases be substituted in as a proxy.

       See Evansville, 405 U.S. at 715 (“[W]e have sustained numerous




              There, the Second Circuit considered the fair approximation
                30

       question in the context of the intergovernmental tax doctrine,
       which borrowed this element from dormant Commerce Clause
       jurisprudence. Jorling v. U.S. Dep’t of Energy, 218 F.3d 96, 101
       (2d Cir. 2000). The analysis is nevertheless germane.

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       tolls         based   on   a   variety   of   measures    of    actual    [road]   use,

       including: horsepower, number and capacity of vehicles, mileage

       within         the    State,    gross-ton     mileage,   carrying      capacity,    and

       manufacturer’s rated capacity and weight of trailers.”) (internal

       citations omitted). Jorling, therefore, does not compel the result

       Defendants seek.           Use is not divorced from costs, and so the Court

       considers costs of use for allocation.

                Which is why Defendants’ Motion in Limine to exclude evidence

       of HCASs is denied.             HCASs are tools used by governments (federal

       and state) to allocate the costs of operating, maintaining, and

       repairing highways and bridges among different classes of users

       (e.g., pavement thickness to account for vehicle load or lane

       additions to account for passenger car volume).                    They are studies

       aimed         at   answering    the   very    question    the   fair     approximation

       analysis gets after.             Although the HCASs introduced by Plaintiffs

       are      neither      perfect    analogues,     nor   necessary     to    assess   fair

       approximation of use, they are helpful and relevant.                      Defendants’

       Motion in Limine, ECF No. 166, is DENIED. 31



               To be clear, this ruling does not in any way hint that
                31

       tolls not based on a HCAS methodology could not pass the fair
       approximation test.    Neither does the Court suggest that one
       methodology – HCAS or something else – is superior. Rather, the
       Court only holds that HCASs are relevant to the question of whether
       RhodeWorks’ tolling method fairly approximates the use of the
       tolled facilities. As discussed below, the RhodeWorks toll program
       fails the fair approximation test even without considering the
       HCAS evidence. This evidence merely reinforces why it does. And,
       in line with this ruling, what remains of Defendants’ Motion to

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                               ii.    Should the analysis focus on the tolled
                                      bridges and bridge groups, all Rhode
                                      Island bridges, or the entire Rhode
                                      Island transportation system?

                With costs in the calculus, the Court next concludes that the

       relevant costs are those of the tolled bridges only.                After all,

       the Court must evaluate whether the fees imposed at the tolled

       facilities fairly apportion the costs of those facilities among

       the different users.      Defendants try to dilute the Court’s holding

       that costs are relevant by expanding the measure of costs to

       include the costs of all other bridges and even Rhode Island’s

       entire highway system (roads and bridges alike) – all of which the

       State pays to maintain – because those roads and bridges provide

       benefits to tolled trucks, too.            Defendants’ reasoning is that

       even if trucks pay a significant portion of the costs for the

       tolled      bridges,   their      share   shrinks    dramatically       if   the

       denominator is RIDOT’s bridge budget or RIDOT’s entire budget,

       especially given the fees that other (un-tolled) users pay in

       registration fees, gas taxes, and the like discussed below.

                In pursuit of this futile end, Defendants lean on this Court’s

       decision in Cohen and several out-of-circuit cases, including




       Exclude Evidence and Expert Testimony on the Issue of Fair
       Approximation on the Basis of Congressional Authorization, ECF No.
       168, is now DENIED in full. For the same reason, this resolves
       the relevance of expert testimony about the HCASs (see, e.g., ECF
       No. 178 (Daubert Motion seeking to exclude testimony of Dr. Rose
       Ray)).

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       Angus Partners LLC v. Walder, 52 F. Supp. 3d 546 (S.D.N.Y. 2014),

       to support their contention that all Rhode Island bridges and the

       whole     highway    system   are    functionally         related   to    the      tolled

       bridges.     But none of these cases support this theory and the Court

       easily      concludes     that    the    tolled      bridges     are      the      proper

       measurement.

                In Cohen, this Court found there was a “spillover effect”

       between the Mount Hope Bridge and the Newport Bridge, which have

       a functional relationship in that they make up two of the three

       access     points    to   Aquidneck     Island      and   closure    of      one   would

       inevitably cause congestion on the other.                 775 F. Supp. 2d at 449-

       50.      And in Angus Partners, the district court analyzed fair

       approximation and excessiveness together, finding the Metropolitan

       Transportation Authority (“MTA”) was an integrated transportation

       system from which all users benefitted.                   52 F. Supp. 3d at 566.

       It surmised, “[e]ven if the tolls charged create a surplus, all

       that is required is a ‘functional relationship’ between the toll

       and the facilities used by the toll’s payers.”                 Id. at 567 (quoting

       Bridgeport & Port Jefferson Steamboat Co. v. Bridgeport Port Auth.,

       567 F.3d 79, 87 (2d Cir. 2009)). Finding a functional relationship

       existed, the court said the “traffic flow on the [Triborough Bridge

       and      Tunnel     Authority]      bridges        and    tunnels    would         suffer

       significantly without the MTA’s mass transit and commuter railway




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       services,” so it was not unfair to allocate “surpluses to support

       these functionally related facilities.”               Id. at 568.

                Defendants’        approach     would     stretch      the       functional

       relationship doctrine beyond all recognition and effectively gut

       the fair approximation test, so the Court rejects it.                       A “tolled

       facility,” for purposes of the fair approximation analysis, is the

       bridge or bridge group for which a specific toll is charged.                      This

       conclusion is well supported in the record and the language of

       ISTEA itself. 32

                                    iii. May the Court consider non-toll sources
                                         of revenue that fund the RIDOT budget?

                Last,     considering   non-toll     funding   sources     of      the   RIDOT

       budget would          be   inappropriate.      Defendants     ask   the      Court   to




               The tolling authorization in ISTEA clearly applies to
                32

       reconstruction or replacement of “a toll-free bridge.” 23 U.S.C.
       § 129(a)(1)(E).   Ample record evidence demonstrates that RIDOT
       considered the individual bridge groups as the tolled facilities.
       One, RIDOT entered a separate MOU with the FHWA for each tolled
       facility. DX34; DX99. Two, RIDOT separately calculated damage
       percentages for each bridge, which percentages correlate to the
       relative proportion of bridge costs to be repaid using toll
       revenue. June 10 Tr. 119:11-120:2; May 25 Tr. 32:24-33:11; PX314-
       B.   And three, RIDOT set up separate revenue accounts for each
       tolled facility from which the reconstruction costs of each bridge
       will be paid. June 10 Tr. 108:21-25, 111:21-112:2. That said,
       not all evidence relating to the RIDOT budget is irrelevant to the
       fair approximation analysis.     Evidence demonstrating how RIDOT
       apportions the costs of rebuilding and replacing each bridge is
       helpful to understand the extent to which tolled and un-tolled
       users are paying their “fair share,” particularly using
       Plaintiffs’ methodology.     Thus, the Court DENIES Plaintiffs’
       Motion to Exclude Evidence Related to the Rhode Island Department
       of Transportation’s Road System Budget, ECF No. 181.
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       consider other ways users – both tolled and un-tolled – contribute

       to the costs of maintaining the tolled bridges.                     This would

       include, for example, other funding sources for the RIDOT budget

       like Rhode Island Capital Plan (“RICAP”) funds (excess funds in

       the state’s general revenue rainy day fund), the Rhode Island

       Highway     Maintenance   Account    (“HMA”)     funded    by   DMV     revenues

       (license fees, registration fees, etc.), RIDOT gas tax, and general

       bond obligations.      June 10 Tr. 105:12-108:1.         To the extent state

       funds pay for a part of the cost to reconstruct a RhodeWorks

       bridge, it is paid for using RICAP or HMA funds.                   Id. 109:25-

       110:10.      Plaintiffs rely on American Trucking Ass’ns, Inc. v.

       Scheiner, 483 U.S. 266 (1987), and Fulton Corp. v. Faulkner, 516

       U.S. 325, 335 (1996), to argue that evidence regarding these

       contributions is irrelevant.        The Court agrees with Plaintiffs.

                In Scheiner, the Court refused to weigh the challenged flat

       tax against other taxes and fees paid by Pennsylvanians.                It found

       that other taxes and fees, such as registration fees, were not

       paid solely for the use of Pennsylvania’s highways and, “even if

       the relative amounts of the States’ registration fees confer a

       competitive advantage on trucks based in other States, the Commerce

       Clause does not permit compensatory measures for the disparities

       that result from each State’s choice of tax levels.”               483 U.S. at

       288.     Thus, the Scheiner Court held that the “flat taxes must stand

       or fall on their own.”       Id. at 289.      In Fulton, the Supreme Court

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       likewise rejected this argument, noting the “danger of treating

       general         revenue   measures    as   relevant   intrastate      burdens    for

       purposes of the compensatory tax doctrine” because it would “allow

       a state to tax interstate commerce more heavily than in-state

       commerce anytime the entities involved in interstate commerce

       happened to use facilities supported by general state tax funds.”

       516 U.S. at 335 (internal quotation marks omitted).

                It is true, as Defendants point out, that Evansville and

       Northwest         Airlines   both     considered   other    sources    of   revenue

       contributing to the costs of the facilities when assessing fair

       approximation.            See Evansville, 405 U.S. at 718 (“Furthermore,

       business         users,   like   shops,    restaurants,    and   private    parking

       concessions, do contribute to airport upkeep through rent, a cost

       that is passed on in part at least to their patrons.”); Nw.

       Airlines, 510 U.S. at 359-60.                But these cases dealt with fees

       that other users paid directly to the tolled facility (like rent),

       not funding that must be traced to the facility through general

       tax and licensing revenues.               Scheiner and Fulton make clear that

       the tolls must be evaluated on their own. 33



              Even if the Court considered other contributions tolled and
                33

       un-tolled users make toward the costs of the bridge, it would make
       no difference to the outcome. The State initially reconstructed
       the bridges with 80% federal funding and 20% state funding. June
       10 Tr. 109:25-110:16.    When toll revenues are collected, they
       reimburse these state and federal funds up to a certain percentage.
       Id. 110:18-111:3. The remaining costs for each bridge are repaid
       according to an 80/20 split, with the State paying 20% of those

                                                     51

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                          b.     What does it mean to use the bridges?

                Having set the parameters of the inquiry, the next critical

       question is, who are the users of the facilities?                  Defendants

       contend the only (or the primary) users are Class 8+ trucks because

       these do most of the damage to bridges, in effect “consuming” the

       useful life of the bridge over time.           If Defendants are correct,

       then allocating the entire tolling burden to these vehicles is

       fair.     But, if not, the RhodeWorks tolling scheme fails.            The Court

       finds that under every conceivable way of evaluating the question

       – the common sense understanding of what it means to use a bridge;

       Defendants’      flawed     “consumption      method”;     and    Plaintiffs’

       comparison to HCAS studies - RhodeWorks fails the test.

                Defendants have an unusual understanding of what it means to

       use a bridge.      Obviously, in plain language, a “user” of a tolled

       bridge is a vehicle that crosses the bridge.             See Trailer Bridge,




       costs.   By way of example, under the RhodeWorks program a $10
       million bridge, with an 80% tractor trailer damage assessment,
       would be paid for using $8 million in tolls, $1.6 million in
       federal funds, and $400,000 in state funds once the tolls are fully
       collected. It is true that some un-tolled users of the bridge pay
       toward the costs of the project through, for example, gas taxes or
       registration fees. June 6 Tr. 195:10-197:2. But tolled users –
       both in-state and out-of-state – also contribute to state revenue
       used to fund the costs of the facilities through programs like the
       International   Fuel   Tax   Agreement   and    the   International
       Registration Plan. See May 26 Tr. 94:25-96:10, ECF No. 236. And
       there are some un-tolled users (e.g., those in lower vehicle
       classes registered out of state) who do not pay in any other way.
       Consequently, the other payments made by users not tolled under
       the RhodeWorks system do not render these exemptions reasonable.
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       797 F.3d at 145 (defining “user fee” as a “charge assessed for the

       use of a government facility or service”).                    Dictionaries provide

       several definitions of the term “use.”                 The more natural one here

       is “to carry out a purpose or action by means of [something else.]”

       Use,                 Merriam-Webster           Dictionary,              www.merriam-

       webster.com/dictionary/use.             One uses a bridge to get to the other

       side of the span.

                But another definition is “to expend or consume by putting to

       use.”          Id.     Defendants’ “consumption” approach relies on this

       latter notion of use, as if bridges are like bicycles or batteries.

       But bridges are not consumable goods; they are infrastructure that

       once constructed can remain operational for hundreds of years (the

       Brooklyn Bridge, for example 34) or quickly fall into dangerous

       despair and disuse amid disagreements about who’s responsible for

       repair         and     maintenance     (like   the     Fern    Hollow     Bridge     in

       Pittsburgh 35).          To use something does not, in this context, mean

       to exhaust it; Defendants’ consumption approach defies common

       sense.         In the Court’s view, in the context of tolling bridges,

       use means to cross the bridge in a vehicle.




                 See
                34      Featured    Video:   Brooklyn                      Bridge,        PBS,
       https://www.pbs.org/kenburns/brooklyn-bridge.

              See John Shumway, Work well underway to replace the Fern
                35

       Hollow Bridge, CBS Pittsburgh, Aug. 1, 2022.

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                It follows, then, that a tolling scheme can fairly approximate

       use by charging each user a fee that corresponds with the number

       of times it crosses that bridge.                  In such a case, users in all

       vehicle classes would share in the toll burden when the user

       crosses the corresponding bridge or bridge group. Here, the record

       demonstrates that 97% of the vehicles making use of the tolled

       bridges – vehicles in Classes 1-7 – are not tolled.                      May 25 Tr.

       114:12-13.          Thus, RhodeWorks operates by design in a way that

       exempts not only most users, but nearly all users. Without looking

       much deeper, a system that places the entire toll burden on an

       extreme minority of users is inherently unfair and fails the test.

                But a user fee may be permissible under the dormant Commerce

       Clause even if it exempts certain classes of users or draws

       distinctions between classes that are not “wholly unreasonable.”

       See Evansville, 405 U.S. at 717-18; Trailer Bridge, 797 F.3d at

       145.      Therefore, the fair approximation analysis contemplates the

       possibility of more than just a correlation based on frequency of

       an activity.          And this makes sense: as the evidence shows, not

       every use is equal in impact.                Indeed, the Supreme Court has

       sanctioned a variety of measures of use in the highway toll

       context, including some that vary fees based on weight or vehicle

       class.         See Evansville, 405 U.S. at 715 (collecting cases). 36



               Defendants point to cases where states have permissibly
                36

       varied highway tolls according to the weight or rated capacity of

                                                    54

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                Defendants    argue    that     the     General      Assembly    reasonably

       measured use by vehicle weight class by focusing on which vehicles

       do the most damage to bridges and hence “consume them.”                           They

       contend that so long as the State’s methodology has “a rational

       basis      in   that   it   reasonably     and       fairly    approximates      large

       commercial vehicles’ use,” the Court must afford that methodology

       deference and not look to whether a different formula might more

       precisely reflect use of the facilities.                   Defs.’ Br. 100.        This

       methodology is reasonable, they say, because vehicle weight is an

       important consideration in regulating highway use and because

       vehicle weight measures have been used both as a way of allocating

       costs (in HCAS studies) and to estimate pavement damage.

                Defendants rely on expert testimony from Dr. Andrzej S. Nowak,

       who testified that a “consumption methodology,” such as that used

       in RhodeWorks, starts with the premise that “each passage of a

       vehicle takes a piece of a part of the lifetime which that bridge

       has.”      June 3 Tr. 4:7-17, 5:13-21, ECF No. 240.                 Heavy vehicles,

       according       to   this   approach,    take       away   more   of   the    bridge’s




       different vehicles and thereby, to some degree, used a load-based
       measure of use. See Evansville, 405 U.S. at 715 (acknowledging
       “we have sustained numerous tolls based on a variety of measures
       of actual use, including: . . . a manufacturer’s rated capacity
       and weight of trailers”); see also Commonwealth v. B&W Transp.
       Inc., 448 N.E.2d 728, 734-35 (Mass. 1983). Just because some tolls
       use classifications based on weight and are fair does not mean
       that every system that uses weight to apportion tolls does so in
       a way that satisfies the dormant Commerce Clause.
                                                      55

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       remaining life with every crossing than do lighter vehicles.                      Id.

       5:21-22.         And large commercial trucks “consume” 70-80% of bridge

       life. Id. 3:3-10. As for Class 6 and 7 trucks, Dr. Nowak testified

       that while their impact is not “insignificant,” the volume of such

       traffic is small enough that it would not make a difference, id.

       16:2-11, and the damage from light vehicles such as passenger cars

       is “practically negligible” – “so small that it doesn’t make a

       difference in calculation of consumption,” 37 id. 14:7-13.

                The State’s so-called consumption-based methodology is flawed

       from nearly every perspective:

                To start, the methodology relies on equivalent single-axle

       loads (“ESALs”) and an inapplicable GAO study from the 1970s.

       Testimony from both Plaintiffs’ and Defendants’ experts was that

       ESAL measurements are not an effective way to measure impact on

       bridges (as opposed to on pavement generally).                    June 2 Tr. 149:6-

       9 (Defendants’ expert, Dr. Small, testifying that ESALs are not a

       measurement he would “use to look at bridges”); May 27 191:17-

       192:8,        ECF   No.   237   (Plaintiffs’      expert,   Dr.    William   Vavrik,

       testifying that “ESALs are not part of the bridge design process.

       ESAL was intended out of the Road Test to be a pavement design



              It is worth noting that if use equals consumption, and cars
                37

       do not consume the life of the bridges, two baffling conclusions
       follow: first, 90% of the vehicles on the bridges are not using
       them; and second, if only cars were allowed to cross the bridges,
       the bridges should last forever because they are not being consumed
       by trucks.

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       tool. . . . The bridge tool for load is the design truck.”).                       With

       respect to the 1970s GAO study, Plaintiffs’ expert Dr. Vavrik

       credibly testified that the purpose of it was to analyze overweight

       and oversized vehicles; further, the study’s findings were based

       on an early road test for pavement design (not for bridges). 38                     May

       31 Tr. 15:8-16:22, ECF No. 244.

                Defendants’ expert, Dr. Nowak, conducting his own analysis,

       nonetheless reached essentially the same damage estimate as the

       GAO study and RIDOT’s ESAL-based study.                   See June 3 Tr. 6:16-7:7.

       Although         his   analysis   did    asses      the   impact   on   bridges,    his

       methodology narrowly focused on one type of effect on a bridge

       (fatigue) without assessing other ways vehicles impact bridges. 39

       Id. 35:5-24. Furthermore, bridges – and particularly those bridges




              While courts undoubtedly owe some measure of deference to
                38

       legislative findings, they may not shirk their “independent
       constitutional   duty   to    review  factual   findings   where
       constitutional rights are at stake.”   Gonzales v. Carhart, 550
       U.S. 124, 165 (2007). Indeed, courts have consistently rejected
       the proposition that legislative factfinding may wholly insulate
       a statute from constitutional review. See Sable Commc’ns of Cal.
       v. FCC, 492 U.S. 115, 129 (1989); Lamprecht v. F.C.C., 958 F.2d
       382, 392 n.2 (D.C. Cir. 1992). But see Clark v. Paul Gray, Inc.,
       306 U.S. 583, 594 (1939) (requiring rational basis review of
       legislative findings).

               Plaintiffs attack Dr. Nowak’s methodology in many other
                39

       ways. To name a few, they argue that Dr. Nowak did not conduct a
       bridge-specific analysis; this type of methodology has never been
       used to allocate costs across vehicle classes; it excludes certain
       other traffic-induced loads; and it is based on flawed weight-in-
       motion (“WiM”) data to measure traffic. These critiques all have
       merit, but the Court need not interrogate them given its holdings.
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       on interstate highways – are designed to withstand the flow of

       heavy trucks.         See May 31 Tr. 79:18-80:4 (“[I]n heavy bridges,

       high-traffic volume bridges, because we’re designing for heavy

       trucks and we have all those factors of safety . . . many of the

       elements within the bridge have an infinite fatigue life.”); see

       also June 3 Tr. 50:24-51:5.

                Even assuming load-based methodologies could appropriately

       capture how large commercial trucks “use” bridges, and further

       assuming       Defendants    are   correct   that   large    commercial     trucks

       consume 70-80% of a bridge’s life, the State’s decision to place

       the entire toll burden on those users still does not pass the fair

       approximation test.         While it may be that the government need not

       charge every “user” of a facility to pass the Evansville test, see

       Evansville, 405 U.S. at 718 (holding that exempting certain users

       from paying fees is permissible so long as they are “not wholly

       unreasonable” and “reflect rational distinctions”), this record

       evidence makes clear that the State failed to “reasonably draw[]

       a line between those it is charging and those it is not,” Trailer

       Bridge, 797 F.3d at 145.

                By   its   own   calculations,   Defendants’      methodology     exempts

       users who consume 30% of the bridge life from paying any charge at

       all for use of the tolled facilities.                    The most significant

       exclusion relates to Classes 6 and 7.               Dr. Nowak explained that

       although a single crossing of a Class 6 or 7 vehicle may well cause

                                                    58

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       a similar damage impact as a Class 8+ vehicle, the volume is too

       low to matter.             See June 3 Tr. 99:12-100:3.          The Court does not

       credit Dr. Nowak’s “low volume” explanation for why Class 6 and 7

       vehicles should be excluded.                 First, the State itself calculated

       that single-unit trucks account for 9-25% of the damage to the

       RhodeWorks bridges.             See PX314-B (also listing the impact from

       passenger vehicles as between 1-6% of damage).                        Second, in his

       testimony,           Dr.    Nowak     did    not     discuss    these     percentages

       specifically, so it is not clear what he was relying on for his

       statement about these classes having “low volume.” 40                          And other

       credible evidence contradicts it.                  Using Kapsch traffic data, Dr.

       Peters testified that in July 2020, Class 4-7 vehicles amounted to

       about 1.53% of traffic, compared to 3.05% for Class 8+ vehicles.

       See May 25 Tr. 114:3-22.            The pre-enactment CDM Smith traffic data

       found         that   single-unit      trucks       (Classes    5-7)   accounted       for

       approximately 4.5% of traffic, compared to 3.7% of traffic for

       Class 8+ trucks.             PX320 at 6.       And when calculating the damage




              Dr. Nowak’s expert report includes a table showing all WiM
                40

       data over a specific period, with counts specific to each class of
       vehicle. See Nowak Expert Rep. 16, ECF No. 198-4.       These data
       show 778,638 Class 4 vehicles, 13,688,655 Class 5 vehicles,
       1,631,978 Class 6 vehicles, and 136,235 Class 7 vehicles.      Id.
       Class 8+ vehicles amount to 10,560,680 of the traffic count. Id.
       Dr. Nowak’s report was not introduced as a full exhibit at trial,
       but it is in the case record as part of Plaintiffs’ response to
       one of Defendants’ Motions in Limine. The numbers in his chart do
       not support his statement and, rather, are consistent with
       Plaintiffs’ expert Dr. Peters’ findings.

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       share attributable to single-unit trucks, RIDOT’s Robert Rocchio

       used traffic data showing that at certain bridge locations single-

       unit trucks outnumbered tractor trailers (and did outnumber them

       overall).        See PX328 at 7.    Finally, weight-in-motion (“WiM”) data

       show that a significant percentage of vehicles that exceeded the

       weight limits were in Classes 4-7, May 26 Tr. 16:17-25 (Dr. Peters

       testifying that “a large percentage of the vehicles that exceeded

       the Rhode Island weight limits were actually in Classes 4 to 7”);

       PX653 at 25 (reflecting that 86.4% of vehicles exceeding Rhode

       Island’s weight-per-axle limit are in Classes 5-7), but Dr. Nowak

       excluded these overloaded vehicles from his analysis, June 3 Tr.

       58:1-14.

                To the extent that consumption or damage-based calculations

       factor into a tolling program in some way, users having more than

       a “negligible” impact on the tolled facilities must be assessed a

       fee for their use, so that all users pay some portion of their

       fair share.        And if the State’s own expert, Dr. Nowak, is correct

       that Class 6 and 7 vehicles cause damage akin to Class 8+ trucks

       per crossing, their “consumption” of the bridges is far from

       negligible.        It was unreasonable for the State to exempt entire

       classes of similarly impactful vehicles.                See Bridgeport & Port

       Jefferson Steamboat Co., 567 F.3d at 87-88 (finding that imposing

       the      total   cost   of   a   service   on    one   group   of   users    (ferry




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       passengers) but no charge on another group of users (pleasure

       boats) failed the fair approximation test). 41

                The analysis could end with Defendants’ approach, but it is

       worth considering Plaintiffs’ evidence, too.                   Plaintiffs’ HCASs

       likewise show that RhodeWorks fails to fairly approximate the costs

       associated with each user’s use of the facilities, they just do so

       more dramatically.

                As told by Dr. Vavrik, HCASs consider the different ways users

       impact highways and bridges, allocating common costs across all

       users and incrementally adding responsibility to users who require

       additional infrastructure or design features.                    See May 27 Tr.

       186:14-188:11, 196:8-198:9, ECF No. 237.               Said another way, HCASs

       are a means to allocate costs to users respective of their use of

       roads and bridges.           Id. 188:1-11.        Indeed, the FHWA HCAS states

       that its study was intended to analyze “the costs occasioned in

       design, construction, rehabilitation, and maintenance of Federal-

       aid highways by the use of vehicles of different dimensions,

       weights, and other specifications, and by the frequency of such



              If more is needed – and the Court doubts more is - the toll
                41

       caps (which are discussed in more detail below) illustrate another
       flaw in the consumption methodology because, when triggered, they
       break the relationship between the tolls charged and the actual
       use of the bridge. A large commercial truck passing over the same
       bridge five times in one day “consumes” the bridge each time it
       crosses, but it only pays compensation for the first “consumption”
       in each direction of that bridge.     Although fair approximation
       does not require precision fairness, the RhodeWorks caps run
       directly counter to the stated premise of the State’s methodology.

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       vehicles in the traffic stream.”             PX12 at V-1 (internal quotation

       marks omitted).

                The federal HCAS estimates that tractor trailers account for

       29.4% of total highway costs, while single-unit trucks account for

       10.7%, and passenger vehicles account for 59.9%. May 31 Tr. 28:17-

       29:12; PX12 at VI-2.             It further estimates that tractor trailers

       are responsible for 21.4% of all bridge costs.                 May 31 Tr. 29:7-

       12; PX12 at V-16.                Bridge costs are broken down into minor

       rehabilitation,          major    rehabilitation,   reconstruction,        and   new

       bridges.          May 31 Tr. 29:13-20; PX12 at V-16.            Under this sub-

       analysis, tractor trailers are responsible for 32% percent of

       bridge replacement costs.             May 31 Tr. 29:13-20, 49:17-50:14.

                Dr. Vavrik also examined nine state HCASs, finding that these

       states apportioned responsibility to tractor trailers anywhere

       between just over 20% to just over 40% of highway costs.                   See May

       31 Tr. 27:23-28:3; PX640 at 51.              After reviewing these studies,

       Dr. Vavrik “benchmarked” these data to estimate Rhode Island’s

       situation. 42        May 31 Tr. 39:20-40:14.      He testified that, based on

       an adjustment for the low volume of Class 8+ trucks, Rhode Island’s

       cost allocation for Class 8+ vehicles would be, at the high end,

       11% of costs.          Id. 55:11-18; PX640 at 65.




              Rhode Island has not commissioned a HCAS. May 31 Tr. 165:2-
                42

       4, ECF No. 244.

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                Defendants took great pains to discredit the individual HCASs

       as dissimilar to Rhode Island, but their attacks fall flat.                These

       studies are not meant to be precise analogues to Rhode Island;

       rather, they are useful for understanding how different government

       authorities have compiled data and assigned responsibility among

       users for whom highways and bridges were designed and built.

       Taking even the highest of these HCAS figures (attributing 40% of

       bridge costs to large commercial trucks), a tolling system that

       places 100% of the tolls and 70% percent of the repair costs on

       those trucks fails to fairly apportion the costs of its bridges

       among all the users.         The HCASs bolster Plaintiffs’ position that

       large commercial trucks should not bear the entire tolling burden

       associated with defraying the costs of the tolled bridges and that

       this failure of apportionment does not pass the fair approximation

       test.

                For these reasons, the Court finds that by any relevant

       measurement the RhodeWorks toll charges do not fairly approximate

       the use of the tolled facilities and therefore fail this part of

       the Evansville test.

                     3.   Does RhodeWorks discriminate against interstate
                          commerce?

                The First Circuit has framed the relevant contours as follows:

       “Discrimination      under    the   Commerce    Clause    means    differential

       treatment of in-state and out-of-state economic interests that


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       benefits the former and burdens the latter[.]”                     Fam. Winemakers of

       Ca. v. Jenkins, 592 F.3d 1, 8 (1st Cir. 2010) (internal quotation

       marks and citation omitted).               “A finding that state legislation

       constitutes economic protectionism may be made on the basis of

       either         discriminatory        purpose    or      discriminatory        effect.” 43

       Gwadosky, 430 F.3d at 35 (quoting Bacchus Imps., 468 U.S. at 270)

       (internal quotation marks omitted).

                When discriminatory, a statute is “virtually per se” invalid.

       Or. Waste Sys., Inc. v. Dep’t Env. Quality of State of Or., 511

       U.S. 93, 99 (1994).              In that event, the State must “show that [the

       statute]         advances    a    legitimate    local    purpose     that     cannot   be

       adequately served by reasonable nondiscriminatory alternatives.”

       Id. at 100-101 (quoting New Energy, 486 U.S. at 278).                           This is

       effectively a strict scrutiny analysis.                   In contrast, “[a] state

       statute         that    regulates     evenhandedly      and   has   only    incidental

       effects         on     interstate    commerce    engenders     a    lower     level    of

       scrutiny.” Gwadosky, 430 F.3d at 35 (applying something resembling

       rational basis review as applied in Pike v. Bruce Church, Inc.,

       397 U.S. 137 (1970)) (internal quotation marks omitted); see also




              RhodeWorks does not discriminate on its face and is silent
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       on its application to in-state versus out-of-state vehicles. See
       § 42-13.1-1 et seq.

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       Wayfair, 138 S. Ct. at 2091.

                              a.     Was RhodeWorks enacted with a discriminatory
                                     purpose?

                Plaintiffs assert both that RhodeWorks was enacted with a

       discriminatory purpose and that discriminatory intent alone can

       render a statute unconstitutional.              See Bacchus Imps., 468 U.S. at

       270 (“Examination of the State’s purpose in this case is sufficient

       to    demonstrate       the   State’s   lack    of   entitlement      to      [the   Pike

       balancing test].”).

                “[W]hen evaluating whether a state statute was motivated by

       an intent to discriminate against interstate commerce,” the Court

       looks “first to statutory text, context, and legislative history,

       as well as to whether the statute was closely tailored to achieve

       the      non-discriminatory        legislative       purpose     asserted       by   the

       State.” 44       Am. Trucking Ass’n, Inc. v. Alviti (“ATA II”), 14 F.4th

       76, 90 (1st Cir. 2021) (internal quotation marks omitted and

       cleaned         up).     “The   plain   meaning      of    the   statute’s       words,



               The Court once again rejects Defendants’ argument that
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       discriminatory purpose is irrelevant to the dormant Commerce
       Clause analysis. Although the First Circuit at an earlier phase
       of this litigation doubted both the probative value of the evidence
       of intent and whether a statute could be struck down based solely
       on discriminatory purpose, it did not dispense with this inquiry.
       See Am. Trucking Ass’n, Inc. v. Alviti, 14 F.4th 76, 89-90 (1st
       Cir. 2021).     Because the Court finds that Plaintiffs have
       demonstrated that the RhodeWorks toll system does not represent a
       fair approximation of the use of the tolled facilities and
       discriminates   in   effect,   it  need   not   determine   whether
       discriminatory purpose alone is sufficient to find a statute
       unconstitutional under the dormant Commerce Clause. Id. at 90.

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       enlightened by their context and the contemporaneous legislative

       history, can control the determination of legislative purpose.”

       Edwards v. Aguillard, 482 U.S. 578, 594 (1987). Although the Court

       may weigh “the specific sequence of events leading to passage of

       the statute,” id. at 595, it exercises caution in using “evidence

       of individual lawmakers’ motives to establish that the legislature

       as a whole enacted RhodeWorks with any particular purpose,” ATA

       II, 14 F.4th at 90.

                As Plaintiffs see it, their trial evidence proved that RIDOT

       conceived        of,   and      the   General       Assembly   passed,     a    revenue-

       generating system designed to raise funds primarily from out-of-

       state tractor trailer trucks while protecting local businesses as

       much as possible.             Specifically, they point to the selection of a

       tolling system (as opposed to other revenue generating options

       like     a    taxation    regime),     pre-enactment        and   pre-implementation

       studies focused on the in-state/out-of-state vehicle comparison,

       comments made by Director Alviti and Senate President Dominick J.

       Ruggerio to the General Assembly, the decision to exclude Class 7

       and smaller trucks, the lack of effort to justify tolling only

       large trucks, and more.

                To start, that the General Assembly chose to enact a statute

       implementing a toll system to generate revenue to repair its bridge

       infrastructure,          as    opposed    to    a    different    revenue-generating

       option (like a gas tax), does not on its own show that lawmakers

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       intended to burden out-of-state interests.                          Further, the Court

       agrees with Defendants that two state-commissioned studies – the

       Blue Ribbon study and the Regional Economic Models, Inc. (“REMI”)

       study – have only marginal relevance.                     The 2008 Blue Ribbon study

       examined         Rhode      Island’s       funding      system      across    the    entire

       transportation infrastructure and found it was insufficient to

       support future needs.                  PX30 at 5.       This study proposed several

       options to generate revenue, one of which was tolling I-95 at the

       borders.            Id. at 24.           Although the study may be helpful to

       understand          the   need     for    the   RhodeWorks       legislation,       and   was

       referenced in the legislative findings, it cannot be said that the

       Blue Ribbon Panel’s observation that tolling the I-95 corridor

       would have little impact on Rhode Islanders reflects on the General

       Assembly’s intent when enacting the RhodeWorks statute nearly

       seven years later.               Id.   The 2015 REMI study examined, at RIDOT’s

       behest, the economic impact of the proposed RhodeWorks legislation

       and noted that “the tolling financing regime shifts a segment of

       the cost of the RhodeWorks project onto semi-tractor trailer trucks

       that pass through the state without stopping.”                          PX218 at 4, 6.

       This study is closer in time to the passage of RhodeWorks and is

       consistent with the findings of protectionism discussed below.

       But      it    is   still    a    step    removed      from   the   General    Assembly’s

       enactment of the statute.

                Next, although Plaintiffs suggest that RIDOT’s selection of

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       which bridges to toll evinces a discriminatory intent because RIDOT

       downgraded certain bridges on the interstate highways in order to

       toll them, Plaintiffs have not demonstrated that the selected

       bridges did not meet the 29 U.S.C. § 129 requirements.                 See PX317

       at 5 (indicating all bridges meet the Title 129 definition); June

       1 Tr. 136:17-137:5, 140:9-15.        As Director Alviti testified, RIDOT

       also looked to invest in bridges that would become structurally

       deficient.      June 1 Tr. 133:21-135:2.      Nothing in the law requires

       the State to select bridges in the worst condition.                    And since

       ISTEA specifically allows for excess toll dollars to be redirected

       toward other bridges, it makes economic sense to toll high-volume

       bridges even if they are not the worst of the worst.            This evidence

       adds little.

                And it is true that RIDOT, with the help of its consultants,

       carefully evaluated the difference in impact on in-state and out-

       of-state trucks prior to RhodeWorks’ enactment.             PX190.       Clearly

       it was important to state officials and the General Assembly to

       understand the extent to which Rhode Islanders would be impacted

       by the tolling program.       Id. (in an email, explaining that “RIDOT

       leadership will not take ‘no it can’t be done’ as an answer and

       told Rocchio that if [CDM Smith] couldn’t come up with a plan, he

       needs to find someone who can”).          And at the same time, RIDOT’s

       “process” for identifying a justification for placing the burden

       on large commercial trucks was less than robust.             See Garino Dep.

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       15:12-16:8 (recalling that the concept of a trucks-only tolling

       provision was divined at the family dinner table); May 24 Tr.

       105:13-108:12         (recounting      that     justifying     sources    were       found

       through an Internet search).               This evidence weighs in favor of an

       intent        to   shift    the   burden   to   out-of-state      trucks,      but   only

       marginally so.

                Beyond     these    minor    points,    however,    Plaintiffs        presented

       compelling evidence that the General Assembly sought to protect

       local businesses with its decision to toll only Class 8+ trucks.

       In 2015, lawmakers made public the first version of RhodeWorks,

       which would have tolled all Class 6+ trucks.                   PX83.   The inclusion

       of Class 6 and 7 trucks was based on a recommendation made by RIDOT

       consultant CDM Smith.             PX80 at 1-2.       However, only a couple weeks

       later, a second draft was proposed with two important changes: (1)

       Class 6 and 7 vehicles were exempted from tolling and (2) a

       limitation was added to address repeat per-day visits to a single

       gantry.         PX101.     Lawmakers and state officials alike specified at

       the time that these changes were made to address concerns raised

       by local businesses and that both changes would reduce the impact

       of the tolls on local industries. 45                    PX146I (Senate President



               Defendants suggest that these statements are irrelevant in
                45

       part because vehicles in Classes 4-7 contribute to bridge costs in
       other ways, including by paying certain fees and gas taxes in Rhode
       Island.     But as addressed above in the context of fair
       approximation, these vehicles’ contributions by way of general
       fees and taxes have little relevance. The question here concerns

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       Ruggerio testifying that “the revised bill takes several important

       steps to improve upon the original bill to address the concerns of

       the local trucking industry.         It applies to trucks Class 8 and

       above, these are the larger commercial trucks, not your local

       landscaper truck or not your local, the usual pick-up trucks.”);

       PX146H (Director Alviti testifying that “[i]t’s important for you

       to know that these changes came as a result of us listening to the

       various    stakeholders    and   transportation     industries        in   Rhode

       Island.    There were – there was some criticism as to the impact

       that this legislation, our original legislation, might impose on

       various industries, we listened to those industries, we’ve met

       with them and we’ve changed our legislation to improve it.                   But

       not only improve it, to actually provide economic incentives to

       those industries to do business in Rhode Island.”).             Although the

       Court is mindful that comments made by individual legislators are

       not always the most probative evidence bearing on legislative

       purpose, see ATA II, 14 F.4th at 90, these statements are not, as

       Defendants claim, wholly irrelevant because they were made by

       Senate President Ruggerio and Director Alviti – two key officials




       whether these provisions were enacted with the intent of local
       protectionism.


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       behind the RhodeWorks legislation. 46

                But the most important evidence of the intent of the General

       Assembly to protect local businesses and residents at the expense

       of interstate commerce is found in both the structure of law itself

       and in the data.            The trial evidence showed that lower-classed

       trucks are more likely to be Rhode Island-plated than Class 8+

       trucks.         See May 26 Tr. 13:8-25 (comparing Rhode Island share of

       Class 4-7 vehicles at “42 percent, 38 percent” with Rhode Island

       share of Class 8+ vehicles at “generally an 18 to 20 percent

       range”).         This means that approximately 80% of the tolled vehicles

       are from out of state.           And the less than 20% of tolled Class 8+

       trucks from Rhode Island disproportionally receive the benefit of

       the toll caps, which the Court finds below discriminate in effect.

       These discriminatory effects “strengthen[] the inference that the




               In Alliance of Auto Manufacturers v. Gwadosky, the First
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       Circuit rejected an attempt to show that the legislative process
       demonstrated intent. 430 F.3d 30, 36 (1st Cir. 2005). There, the
       legislature deleted the at-issue language, but ultimately restored
       it after an “intense lobbying campaign.” Id. The court held that
       the legislative process evidence was “indeterminate.” Id. at 38-
       39. It continued, “[a]s a general rule, statutory interpretation
       cannot safely be made to rest upon inferences drawn from
       intermediate legislative maneuvers.      In this instance, such
       reliance would be especially problematic because there are
       countless reasons why the state legislature may have altered its
       position.” Id. at 39 (internal citation omitted). The Court is
       cautious that it must not “lose[] sight of the forest while
       searching for trees.”    Id. at 37.    But, as the First Circuit
       stated, “context is a critically important interpretive tool,” and
       this legislative process helps put RhodeWorks in context when
       discerning its purpose from the statute “as a whole.” Id.
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       statute was discriminatory by design.”               Fam. Winemakers, 592 F.3d

       at 14.          Furthermore, both the exclusion of lower-classed trucks

       and the ceiling imposed by the toll caps make the statute less

       tailored and effective in fulfilling its express purpose of funding

       the repair of its failing bridges.

                On the whole, the record evidence demonstrates a common theme

       of placing the lion’s share of the tolling burden on out-of-state

       large commercial trucks and protecting Rhode Island commercial

       interests as much as possible through the exemption of Class 4-7

       vehicles and the utilization of toll caps. This intent to mitigate

       the      effect      of    tolling    on   local     businesses      was    clearly

       protectionist. 47




               Plaintiffs also rely on PX128 – and particularly a comment
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       made on the draft Rhode Island Office of Management and Budget
       document – to show discriminatory purpose. Pls.’ Post-Trial Br.
       (“Pls.’ Br.”) 52, ECF No. 228. The Court admitted this document
       over   Defendants’   objection   for   the   limited   purpose   of
       demonstrating a level of understanding regarding the shifting
       burden of tolls between in-state and out-of-state users. May 26
       Tr. 40:20-43:25. As for the comments, the Court indicated they
       were “beyond that limited purpose” and had “limited relevance and
       limited usefulness because it’s not even known who is making” them.
       Id. 43:18-25. Given this ruling, the Court does not rely on the
       comment now (nor is it necessary to the Court’s conclusion).

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                                     b.    Does RhodeWorks discriminate against
                                           interstate commerce in effect?

                Typically, “[a] state law is discriminatory in effect when,

       in practice, it affects similarly situated entities in a market by

       imposing disproportionate burdens on out-of-state interests and

       conferring advantages upon in-state interests.”                 Fam. Winemakers,

       592 F.3d at 10.             In other words, a statute discriminates within

       the context of the dormant Commerce Clause when it disfavors

       competitors based on their location outside a state’s borders.

       See      id.       “[T]he    mere   fact   that    a   statutory   regime    has   a

       discriminatory potential is not enough to trigger strict scrutiny

       under the dormant [C]ommerce [C]lause.”                Cherry Hill Vineyard, 505

       F.3d at 37 (cleaned up).              Plaintiffs must prove an actual adverse

       impact. 48       Id. at 36.

                Plaintiffs argue three strands of evidence demonstrate the

       discriminatory effect of the RhodeWorks tolling program: (1) the

       differential impact of the toll caps; (2) the locations of the

       tolls; and (3) the classes of vehicles tolled versus those not




               In Cherry Hill Vineyard, LLC v. Baldacci, the First Circuit
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       considered what kind of evidentiary showing was needed for
       discriminatory effect.     505 F.3d 28, 36 (1st Cir. 2007).      It
       concluded that when a statute is facially neutral and wholesome in
       purpose,    the  showing   of  discriminatory   effect   “must   be
       substantial.” Id. at 36. Later, the First Circuit noted but did
       not decide “whether a lesser showing might suffice when a law is
       allegedly discriminatory in both effect and purpose.” Fam.
       Winemakers, 592 F.3d at 11 n.11. Either way, Plaintiffs meet their
       burden.

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       tolled.

                                            i.    The Toll Caps

                Plaintiffs’ contention is that the toll caps discriminate

       against       interstate       commerce        because       local       interests

       disproportionately      reap   the   benefit     of   the    caps    and   so   the

       structure of the RhodeWorks tolls inevitably burdens interstate

       travel more heavily than intrastate travel.                 Although Plaintiffs

       acknowledge that the RhodeWorks tolls do not, on their face, look

       exactly like the unconstitutional flat fees at issue in Scheiner

       or the transitory trailer fee struck down in Trailer Marine, the

       tolls nonetheless “share the essential characteristics that made

       those [] flat fees unconstitutional.” Pls.’ Post-Trial Br. (“Pls.’

       Br.”) 29, ECF No. 228.

                Defendants, for their part, dispute the applicability of

       Scheiner and Trailer Marine Transport Corp. v. Rivera Vazquez, 977

       F.2d 1 (1st Cir. 1992), and argue the toll caps are instead

       analogous to the frequency-based discounts held constitutional in

       Doran.     And, alternatively, even if the Court finds the caps to be

       like flat fees, they are more like those found constitutional in

       American Trucking Ass’ns v. Michigan Public Service Commission,

       545 U.S. 429 (2005).

                As the parties acknowledge, none of these cases are directly

       on point. And the fact-dependent nature of dormant Commerce Clause

       challenges has long been understood as part of what makes them

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       difficult.             See Scheiner, 483 U.S. at 280 (noting series of

       judicial responses to specific state tax measures resembled a

       “quagmire”).            That said, the Court agrees that these four cases –

       Scheiner, Trailer Marine, Doran, and Michigan – are the essential

       guideposts for the inquiry.                   And, as explained below, the Court

       agrees with Plaintiffs that RhodeWorks’ toll caps discriminate

       against out-of-state interests by failing Scheiner’s “internal

       consistency            test”   and    by    creating     real,   documented       financial

       incentives to benefit local trucking interests.

                For     this    reason,      and     as   the   First   Circuit    has    already

       indicated, Scheiner is the most important analogue.                          See ATA II,

       14 F.4th at 90 (calling Scheiner the “the most factually analogous

       precedent cited” by Plaintiffs).                     In Scheiner, the Supreme Court

       assessed the constitutionality of two Pennsylvania statutes that

       amounted          to     “flat       taxes”    on     out-of-state      users      of   the

       Commonwealth’s highway system. 49                   483 U.S. at 270-71.      The Supreme

       Court struck down those fees as unconstitutional after applying




                The first was a $25 “marker fee,” which exempted
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       Pennsylvania-registered vehicles because the fee was deemed part
       of the cost of registration.       Am. Trucking Ass’ns, Inc. v.
       Scheiner, 483 U.S. 266, 274 (1987). The second was an axle tax
       with an accompanying reduction for Pennsylvania registration fees
       in the same amount. Id. at 274-75. Both fees were assessed upon
       all trucks operating in Pennsylvania, regardless of whether they
       were registered in Pennsylvania or elsewhere, but the net effect
       was that out-of-state trucks paid the fees, while trucks registered
       in Pennsylvania received a rebate equivalent to the fees on their
       registration, and so paid nothing. Id. at 283.

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       the so-called “internal consistency” test.                    Id. at 284.        To be

       constitutional under this test, the Court explained, “a state tax

       must be of a kind that, ‘if applied in every jurisdiction, there

       would be no impermissible interference with free trade.’”                            Id.

       (quoting Armco Inc. v. Hardesty, 467 U.S. 638, 644 (1984)).                          The

       Pennsylvania fees had an “inevitable effect . . . to threaten the

       free movement of commerce by placing a financial barrier around”

       Pennsylvania.             Id.    Because “[i]n practical effect, . . . they

       impose         a   cost    per    mile    on   [out-of-state]     trucks      that   is

       approximately five times as heavy as the cost per mile borne by

       local trucks, the taxes are plainly discriminatory.”                     Id. at 286.

                RhodeWorks differs from the law struck down in Scheiner in

       that it does not impose a simple flat fee for the privilege of

       using all Rhode Island bridges or roads.                       Instead, the State

       assesses a series of single user fees in varying amounts for

       traversing specific bridges, which accrue unless or until the user

       crosses that bridge more than once in a single day (in each

       direction) or reaches $40 in total tolls across the RhodeWorks

       system in a single day. 50               Perhaps recognizing this distinction,




               There is also a third statutory toll cap, but the Court
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       concludes it is irrelevant.    Section 42-13.1-4(c) prohibits the
       State from charging a commercial truck using an RFID more than $20
       on a border-to-border trip on I-95. RIDOT’s pricing decisions set
       the total tolls for this journey at $17.75, see DX250, which
       prevents this statutory mandate from ever having an impact. The
       Court will not hypothesize (in either direction) about how RIDOT

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       Plaintiffs     do   not    argue   that   the    entire   program    compares    to

       Scheiner.     Rather, they argue that when the limitations on tolling

       are triggered, the toll caps effectively operate as a series of

       daily flat fees.          Plaintiffs describe a hypothetical example to

       make the point: say two trucks travel the same number of miles and

       cross the same bridges per day, one doing so exclusively within

       Rhode Island and the other passing through the state.                  The “local

       truck will pay for the privilege of using Rhode Island’s roads at

       a lower effective rate per mile and per bridge-crossing than will

       the interstate truck.”          Pls.’ Br. 27.    This, they argue, is because

       the local truck will have made greater use “of the State’s bridges

       as compared to the truck that is passing through as part of an

       interstate trip.”         Id.    It is of no moment, they say, that some

       in-state trucks will pay more in the aggregate because, on average,

       the caps will inevitably cause the tolls to fall more heavily on

       out-of-state trucks.

                Under RhodeWorks, a fee is assessed when a large commercial

       truck makes use of a bridge or bridge group specifically associated

       with the RhodeWorks program.          Thus, the toll cap discounts are not

       based on whether a truck uses Rhode Island’s bridges, as in

       Scheiner, but with how they do so.              Although perhaps unlikely, an

       out-of-state large commercial truck could enter Rhode Island and



       could have implemented the tolls on this corridor or the potential
       effect of those decisions.

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       travel freely around it without ever accruing any toll at all.

       And such a truck could likewise enter Rhode Island and travel

       across various tolled bridges and receive exactly the same benefit

       through the caps as a Rhode Island-based truck.                  Thus, unlike

       Scheiner, the tolls do not appear at first blush to create a

       financial barrier around the state.           483 U.S. at 284.

                But Scheiner’s internal consistency test gets to the rub.            It

       asks whether, if the same system was applied in every jurisdiction,

       it would cause an “impermissible interference with free trade.”

       Id. at 283.      Imagine an interstate highway system with tolls and

       caps like RhodeWorks across every state.           And consider a trucking

       company based in Pennsylvania.        A tractor trailer might be able to

       travel 600 miles in a day (ten hours per day at sixty miles per

       hour, to keep it simple), in which case it could make the trip

       between Harrisburg and Pittsburgh three times (about 200 miles

       each way).      But such a driver might instead bypass Pittsburgh and

       go on to Indianapolis, Indiana (about 540 miles).             Assuming a toll

       system like RhodeWorks with a toll cap that limited the tolls to

       one toll per gantry crossing per day in each direction, the

       Harrisburg to Pittsburgh route driver would pay only the tolls

       from the first 200 miles to Pittsburgh and the 200 miles back to

       Harrisburg (400 miles total).         The interstate driver would also

       pay the Pennsylvania tolls but would lose the benefit of the caps

       when she crossed into Ohio, and then again when she crossed into

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       Indiana.      And, assuming each state also has a maximum daily toll

       like RhodeWorks, this too could come into play.                       So long as a

       driver confines her trips to one state, the total fare will not be

       proportional to the miles driven or bridges crossed.                    This system

       does not permit a vehicle to “pass among the States as freely as

       it may roam the State in which it is based,” and neither does it

       “maintain     state   boundaries         as   a    neutral   factor    in    economic

       decisionmaking.”      Id.   Rather, such a system “exerts an inexorable

       hydraulic pressure on interstate businesses to ply their trade

       within the State that enacted the measure rather than ‘among the

       several States.’”      Id. at 286-87 (quoting U.S. Const., Art. I, §

       8, cl. 3).

                The discriminatory effects shown by Plaintiffs are not merely

       hypothetical.       See ATA II, 14 F.4th at 89 (quoting Associated

       Indus. of Mo. v. Lohman, 511 U.S. 641, 654 (1994) (“The Supreme

       Court has ‘repeatedly . . . focused [its] Commerce Clause analysis

       on whether a challenged scheme is discriminatory in effect,’ and

       ‘emphasized that equality for the purposes of . . . the flow of

       commerce      is   measured       in      dollars     and    cents,     not     legal

       abstractions.’”).      Like the fees in Trailer Marine, the structure

       of the RhodeWorks tolls with their attendant caps ensures that the

       financial impact falls more heavily on large commercial trucks

       traveling primarily in interstate commerce than on similar local




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       trucks.       977 F.2d at 10-11.

                Dr. Peters testified in practical terms that Rhode Island-

       plated trucks, in the aggregate, received a 23% markdown (on

       average) from full fare tolls, while out-of-state-plated trucks

       received only an 8% markdown (on average).                          May 26 Tr. 55:6-16;

       PX653 at 19, 34 (based on Emovis data).                     And Rhode Island vehicles

       received       a    disproportionate        share     of     the    benefits:     in-state

       vehicles accrued 39.9% in discounts, despite only amounting to

       18.6%     of       the    transactions.        May     26    Tr.     54:5-25,     56:15-24

       (indicating the Emovis data for months besides July 2020 reflected

       a similar pattern); PX653 at 16, 18 (based on Emovis data).

                Looking at the caps individually, Dr. Peters estimated that

       Rhode Island-plated vehicles account for approximately 48% of the

       once per-day/per-gantry cap.               May 26 Tr. 59:5-23; PX639 at 21.              He

       cited an extreme example of a Rhode Island-plated truck that

       crossed a gantry thirteen times in each direction, accruing more

       than $150 in tolls, and paying only $13.                     May 26 Tr. 60:17-61:15;

       PX639 at 22.             The user most likely to benefit from this type of

       cap,     he    testified,      is    a   local   one       who     uses   the   facilities

       frequently throughout the day.                May 26 Tr. 62:7-19.               As for the

       $40 daily cap, Dr. Peters testified that Rhode Island-plated

       vehicles received 36% of the discounts (on 18.6% of transactions),

       while out-of-state vehicles received 64% of the discounts (on 81.4%

       of   transactions).            Id.   65:13-66:16;          PX639     at   24    (reflecting

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       percentages of 36.08 and 63.92, respectively); PX639 at 16 (giving

       percentages of transactions). This means, according to Dr. Peters,

       that     Rhode    Island   vehicles       are    “more    frequently    getting      the

       discount,” May 26 Tr. 66:17-19, and that once Rhode Island vehicles

       hit the $40 maximum, they then “accrue more benefit,” id. 69:3-6.

                The sum of this evidence is that both in-state and out-of-

       state vehicles can benefit from the caps, but Rhode Island-plated

       vehicles benefit to a significantly greater degree based on their

       traffic share than out-of-state vehicles.                      Although no record

       evidence specifically translated this difference into a per-mile

       or per-bridge crossing calculation like the court relied on in

       Trailer Marine, the burden on out-of-state Class 8+ trucks is clear

       and significant.           977     F.2d   at    10   (summarizing     the     aggregate

       evidence as showing that “the transient trailer pays almost half

       the ordinary flat fee, effectively paying five or six times as

       much per accident”).            Plaintiffs have proven that the caps violate

       the internal consistency test and inevitably shift the toll burden

       to     out-of-state      interests.            The   Court   concludes        the   caps

       discriminate in effect.

                Doran does not counsel a different result.                 See 348 F.3d at

       320.      In Doran, the First Circuit analyzed a toll program giving

       discounts        to   drivers    who   purchased      a   Massachusetts       E-Z   Pass

       transponder.          Id. at 317.         The toll scheme was constitutional

       because the discount was available “on identical terms” to all

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       drivers, and the drivers’ tolls remained directly tied to their

       use of the highways, notwithstanding their residences.                  Id. at

       319.      And although non-participating drivers without an E-Z Pass

       may pay slightly more per-gantry crossing, such a distinction was

       not based on residence, but on participation in the program.                 Id.

       But here the toll caps sever this pivotal connection to actual use

       of the bridges.      After the caps kick in, a driver pays nothing no

       matter how many times they drive through the gantries, unlike the

       discount in Doran where the tolls remained tied to gantry use.

       And, as in Scheiner, the break between how a user uses the

       roads/bridges and what they pay, practically functions to give a

       substantial discount to in-state interests.                As the Court has

       already noted, this is just as the caps were intended to function.

                Similarly, Defendants’ analogy to Michigan falls short.           They

       contend that the toll caps apply in the same way as the $100

       Michigan assessment because both impose(d) fees based purely on

       intrastate activity.        See 545 U.S. at 434.           The Michigan fee

       applied      to   trucks   engaging    in     “point-to-point”      commercial

       transactions, which the Court deemed “purely local activity.”                Id.

       at 437.     Here, unlike in Michigan, it cannot be said that the fees

       apply to “purely local activity.”           See id. at 438 (“An interstate

       firm with local outlets normally expects to pay local fees that

       are uniformly assessed upon all those who engage in local business,

       interstate and domestic firms alike.”).            Importantly, the burden

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       of   a    widely     applied   RhodeWorks    toll   program     would      fall     on

       interstate commerce, whereas the burden in Michigan falls on

       increased intrastate commerce.

                Finally,    Defendants’   argument      that   Plaintiffs        failed   to

       identify specific market competitors is also inapt.                  There is no

       doubt that, in some dormant Commerce Clause cases, the market

       matters      when     asking   whose    economic     interests     are      treated

       discriminatorily. See, e.g., E. Ky. Res. v. Fiscal Ct. of Magoffin

       Cnty., Ky., 127 F.3d 532, 543-44 (6th Cir. 1997); Gen. Motors Corp.

       v. Tracy, 519 U.S. 278, 298 (1997) (“Conceptually, of course, any

       notion of discrimination assumes a comparison of substantially

       similar entities.”); Cherry Hill Vineyard, 505 F.3d at 36, 38

       (comparing effects on in-state wineries to those on out-of-state

       wineries).      Here, Plaintiffs rely on the undifferentiated market

       of businesses that transport goods on interstate highways using

       trucks of varying types.           Their argument, as it relates to the

       tolled vehicles, is that the caps inevitably shift the economic

       burden to out-of-state carriers while shifting the benefit to in-

       state carriers.         And this is enough.        Just as the First Circuit

       noted in Trailer Marine, such an “imbalance in favor of local

       interests     . . . is a proper concern of the Commerce Clause whether

       or not the market participants are direct business rivals.”                        977

       F.2d at 11.         Thus, the toll caps discriminate against interstate




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       commerce in effect.

                                             ii.    Location

                Next, Plaintiffs contend that in placing the toll locations

       on the interstate freight corridors, the State “gerrymandered the

       tolls” so that the gantries are more likely to capture interstate

       travel despite that the bridges on state roads are more in need of

       repair.     Pls.’ Reply 15.       Defendants say no, the placement of the

       gantries     is   not   evidence    of   discrimination      because      Congress

       specifically authorized the tolling of existing bridges on the

       interstate and other federally-funded roads through ISTEA.                     The

       Commerce Clause does not require states to set up tolls in a manner

       that achieves “road-by-road apportionment.”              Defs.’ Br. 50.      This

       time, Plaintiffs’ argument fails.

                It is true that Plaintiffs’ data show that over 90% of toll

       revenue is collected from the I-95 and I-295 corridors, as of July

       2020.      May 25 Tr. 131:15-24; PX652 at 12.            Dr. Peters testified

       that these corridors are heavily used in interstate commerce,

       including by out-of-state users and so-called through trippers.

       May 25 Tr. 131:15-132:15.          Indeed, as noted above, he calculated

       that more than 80% of the RhodeWorks tolls were billed to out-of-

       state large commercial trucks.           PX653 at 31; see also June 3 Tr.

       143:2-18 (Dr. Saraf confirming data showing more than 80% out-of-

       state truck transactions); DX327 at 15 (same).

                But this does not show a discriminatory effect any more than

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       it shows a discriminatory purpose, an argument the Court has

       already addressed.           Plaintiffs may be correct that many of the

       RhodeWorks bridges were in better condition than others in the

       state, but it is not for this Court to ensure perfect equity in

       bridge selection or to weigh whether RIDOT should have chosen other

       bridges because they may be in worse structural condition.                       As

       Plaintiffs concede, ISTEA permitted the State to choose bridges

       connecting parts of interstate highways as its tolling locations.

       See 23 U.S.C. 129(a) (permitting reconstruction or replacement of

       a toll-free bridge and conversion into a tolled facility on federal

       highways).          Plaintiffs have not shown that the locations of the

       tolls discriminate in effect.

                                         iii. Class 4-7 Exemption 51

                Finally, Plaintiffs say that by exempting Classes 4-7 – which

       are more likely to be Rhode Island-plated than Class 8+ vehicles,

       May 26 Tr. 14:9-15 – from tolling, RhodeWorks shrank the pool of

       locally-owned trucks eligible for tolling by 70% even though these

       vehicles bear significant weight-per-axle and are less likely to

       take interstate trips.           Plaintiffs point again to Dr. Peters, who

       relied on data collected by the American Transportation Research

       Institute (“ATRI”), CDM Smith, and Emovis transaction data.                      In

       addition to causing the tolling burden to fall disproportionately



              Plaintiffs style this argument as related to Classes 4-7,
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       but the supporting evidence relates primarily to Classes 6 and 7.

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       on out-of-state vehicles, Plaintiffs also say exempting Class 6

       and 7 trucks amounts to giving a competitive advantage to Rhode

       Island business and truck owners.         Defendants retort that the only

       relevant comparison here is between large commercial vehicles.

                On the first point, Plaintiffs again are correct.            The record

       reveals that there are more than double the number of Rhode Island-

       registered trucks in Classes 5-7 than there are combination trucks

       (Classes 8+).        See PX752; June 10 Tr. 175:1-24 (discussing with

       Director Alviti FHWA statistics stating that Rhode Island’s fleet

       includes 10,518 straight trucks and 4,223 combination trucks).

       Further, combination trucks are used more often on “long-haul”

       trips,     whereas    lower-classed    trucks    are   used    more      (but      not

       exclusively) for local, intrastate trips, e.g., delivery, garbage

       service, or cement mixing. See May 25 Tr. 160:11-161:13. Shifting

       the tolling burden away from these classes of similarly situated

       vehicles     (in   terms   of   axle-weight)    that   are    owned      in    higher

       percentages by local interests and which travel more frequently

       intrastate onto another group that is far more likely to be owned

       by out-of-state interests and to travel interstate both reduces

       the overall burden on local businesses and increases the tolls

       paid by tolled (mostly non-local) businesses.             The Court finds the

       statute discriminates against interstate commerce in this way.

                Plaintiffs’ second argument is that by exempting Classes 6

       and 7 from tolling and increasing the tolls paid by out-of-state

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       Class 8+ trucks, Rhode Island business owners gain a competitive

       advantage through lower operating costs and because those local

       business owners could switch their vehicles to avoid the tolls.

       See May 26 Tr. 20:9-21:2, 28:18-29:1.                  Plaintiffs rely on Dr.

       Peters’ testimony to argue it is enough that some Class 6 and 7

       trucks compete with Class 8+ trucks; it, Plaintiffs say, is a

       matter of common sense that certain freights can be carried by

       smaller and larger trucks alike.             Id.

                Dr. Peters’ testimony is mostly speculative.              Plaintiffs did

       not put forth any concrete evidence demonstrating an increase in

       Rhode Island-based companies’ use of un-tolled trucks, changes in

       vehicle fleets, diversion, 52 or any other data demonstrating that

       lower-classed trucks compete in the same market as large commercial

       trucks.         See May 27 Tr. 23:3-25:6 (Dr. Peters testifying that he

       has neither quantified how likely it is that Class 8+ owners would

       switch to Classes 6 and 7 or what percentage would if they did,



               Defendants point out that Plaintiffs have not presented
                52

       concrete evidence of diversion around the tolled bridges.       The
       Court agrees. Although there is some evidence in the record that
       prior to implementation CDM Smith estimated around 25% of trucks
       would divert around the tolled facilities, see May 26 Tr. 29:20-
       30:8, Plaintiffs have not shown how diversion has affected tolling,
       see May 23 Tr. 167:2-25, ECF No. 236 (President of Rhode Island
       Trucking Association stating that while diversion has come up
       informally in conversation, he has no knowledge that any members
       are actually diverting); June 13 Tr. 22:1-3, ECF No. 243
       (testifying Cumberland Farms has not diverted to avoid tolls),
       35:15-18 (testifying M&M Transport is not diverting around the
       tolls), 52:1-13 (having no knowledge of whether ATA members have
       diverted to avoid tolls).
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       nor conducted any studies or economic analyses on that inquiry,

       nor observed any change in the traffic data since RhodeWorks’ tolls

       went live in 2018, nor heard any anecdotal evidence suggesting

       such a switch).           Neither did Plaintiffs introduce any evidence

       that in-state competitors have gained a competitive advantage at

       the expense of out-of-state competitors that use Class 8+ trucks. 53

                But in the end, none of this matters:               As noted above, under

       Trailer         Marine,    overtly      protectionist        legislation      such    as

       RhodeWorks offends the Commerce Clause even in the absence of a

       specific market impact.               977 F.2d at 11.        There is no question

       that the RhodeWorks legislation excluded lower-classed trucks to

       reduce the financial burden on in-state businesses and this, in

       turn,         increases   the   tolls   on   the    mostly    interstate      Class   8+

       vehicles.          In sum, the exclusion of similarly-situated vehicles

       like those in Classes 4-7 not only violates the fair approximation

       test and supports the Court’s finding on discriminatory purpose,

       but, as with the toll caps, discriminates against interstate




               Defendants additionally argue that the decision to toll
                53

       only large commercial vehicles does not evidence discrimination
       because (1) non-tolled vehicles pay in other ways; (2) there is no
       evidence that these users only travel intrastate; and (3) the
       decision to toll certain classes is for the General Assembly.
       These arguments were addressed above in the fair approximation
       section.
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       commerce in effect. 54

                              c.   Strict Scrutiny

                Having found RhodeWorks discriminates in purpose and effect,

       the Court applies strict scrutiny, asking if the State can “show

       that      it    advances    a   legitimate    local   purpose    that       cannot   be

       adequately served by reasonable nondiscriminatory alternatives.”

       Or. Waste, 511 U.S. at 100-01 (quoting New Energy, 486 U.S. at

       278) (cleaned up). This analysis is straightforward. Rhode Island

       has a legitimate - even compelling - interest in the maintenance

       of its ailing bridges.           But there is no reason that interest cannot

       be served by a tolling system that does not offend the Commerce

       Clause.         Indeed, many states have implemented tolling systems that

       fairly apportion their costs across various users and do not

       discriminate          against    interstate    commerce.        Applying       strict

       scrutiny, RhodeWorks’ tolling program fails the test.




               Because the Court holds that RhodeWorks’ tolling scheme
                54

       discriminates against interstate commerce, it need not decide
       whether it also fails under Pike v. Bruce Church, Inc., 397 U.S.
       137 (1970). See Fam. Winemakers, 592 F.3d at 10.

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       III. Conclusion 55

                Because RhodeWorks fails to fairly apportion its tolls among

       bridge users based on a fair approximation of their use of the

       bridges,         was   enacted   with    a   discriminatory      purpose,       and   is

       discriminatory          in   effect,     the    statute’s      tolling       regime   is

       unconstitutional under the dormant Commerce Clause of the United

       States         Constitution.        Plaintiffs’      request     for     a    permanent

       injunction is GRANTED, and RhodeWorks’ tolling system is enjoined.

       The Court specifically orders the following:

                1.      Under 28 U.S.C § 2201, judgment shall enter declaring

       R.I. Gen. Laws § 42-13.1-4(a), which precludes tolling any vehicle

       except         large   commercial     trucks,    along    with   its     implementing

       regulations, unconstitutional.

                2.      Defendants are permanently enjoined from charging or

       collecting tolls pursuant to R.I. General Laws § 42-13.1-4, or

       from      enforcing     nonpayment      of   such    tolls   through     penalty      for

       nonpayment or avoidance under R.I. Gen. Laws §§ 42-13.1-11, 12.




               For convenience, the Court summarizes the various rulings
                55

       made throughout this decision: Plaintiffs’ Motion to Reopen, ECF
       No. 221, is GRANTED; Defendants’ Motion for Judgment on Partial
       Findings, ECF No. 222, is DENIED; Defendants’ objection related to
       Dr. Saraf’s testimony, see June 6 Tr. 68:17-72:19, 73:15-75:4, is
       SUSTAINED and that testimony is stricken; Defendants’ objection to
       the admission of Exhibit DX236 is SUSTAINED; Defendants’ Motion in
       Limine No. 1, ECF No. 166, is DENIED; Defendants’ Motion in Limine
       No. 2, ECF No. 168, is now DENIED in full; and Plaintiffs’ Motion
       to Exclude Evidence Related to the Rhode Island Department of
       Transportation’s Road System Budget, ECF No. 181, is DENIED.

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       This injunction shall take effect 48 hours following entry of final

       judgment.

                3.   The clerk is directed to enter final judgment in favor

       of Plaintiffs.

                4.   The   Court   defers    ruling     on   Plaintiffs’    request    for

       attorneys’ fees and costs (including expert-witness fees) pursuant

       to 42 U.S.C. § 1988.        The motion for fees and costs shall not be

       filed until after any appeal is decided and a mandate is issued

       or, if no appeal is taken, until the period for entering a Notice

       of Appeal expires.          See Local Rule 54.1 (setting deadline for

       motion for attorneys’ fees “[u]nless otherwise ordered by the

       Court”).      From that time the prevailing party will have fourteen

       days to file a motion for fees and costs, with an accompanying

       bill of costs, as set forth in Local Rules 54.1 and 54.



       IT IS SO ORDERED.




        William E. Smith
        District Judge
        Date: September 21, 2022




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                              UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF RHODE ISLAND


      American Trucking Associations, Inc.;
      Cumberland Farms, Inc.; M&M Transport Services,
      Inc.; New England Motor Freight, Inc.
             Plaintiffs,



                v.
                                                                           C.A. No. 18-378-WES



      Peter Alviti, Jr. in his Official Capacity as
      Director of The Rhode Island Department of
      Transportation; Rhode Island Turnpike and Bridge Authority
             Defendants.

                                                JUDGMENT

      [ ] Jury Verdict. This action came before the Court for a trial by jury. The issues have been
      tried and the jury has rendered its verdict.

      [ X ] Decision by the Court. This action came to trial or hearing before the Court. The issues
      have been tried or heard and a decision has been rendered.



      IT IS ORDERED AND ADJUDGED:

      Judgment hereby enters for the Plaintiffs, American Trucking Associations, Inc.,
      Cumberland Farms, Inc, M&M Transport Services, Inc., and New England Motor Freight, Inc.
      against Defendants Peter Alviti, Jr. in his Official Capacity as Director of The Rhode Island
      Department of Transportation and Rhode Island Turnpike and Bridge Authority
      pursuant to the Findings of Fact and Conclusions of Law entered on September 21th, 2022 by
      this Court.


                                                                  Enter:

                                                                  /s/ Carrie L. Potter
                                                                  Deputy Clerk

      Dated: September 21, 2022

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       R.I. Gen. Laws, § 42-13.1-1

       § 42-13.1-1. Short title

       This chapter shall be known and may be cited as “The Rhode Island Bridge
       Replacement, Reconstruction, and Maintenance Fund Act of 2016”.



       R.I. Gen. Laws, § 42-13.1-2

       § 42-13.1-2. Legislative findings

       The general assembly finds that:

                (1) The state of Rhode Island, through the Rhode Island department
                of transportation (“the department”), funds the reconstruction,
                replacement, and maintenance of all bridges in Rhode Island, except
                the Newport Bridge, the Mount Hope Bridge, the Jamestown-
                Verrazano Bridge, and the Sakonnet River Bridge.

                (2) According to the Federal Highway Administration (FHWA) 2015
                National Bridge Inventory (NBI) data, there are seven hundred sixty-
                four (764) bridges in Rhode Island greater than twenty feet (20′) in
                length. Of these NBI bridges, one hundred seventy-seven (177)
                bridges, or twenty-three percent (23%), are classified as structurally
                deficient.

                (3) For the past several decades, Rhode Island has depended on three
                (3) primary sources for funding all transportation infrastructure
                construction, maintenance, and operations: federal funds, state bond
                funds, and motor fuel tax revenue. Of these sources, two (2), federal
                funds and motor fuel tax revenue, are mutable.

                (4) The 2008 governor’s blue ribbon panel on transportation funding,
                the 2011 senate special commission on sustainable transportation
                funding, and the 2013 special legislative commission to study the
                funding for East Bay bridges determined that there is insufficient
                revenue available from all existing sources to fund the maintenance
                and improvement of Rhode Island transportation infrastructure.



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                (5) In 2011, the general assembly adopted a component of the
                recommended systemic change to transportation funding by
                dedicating increased resources from the Rhode Island capital plan fund
                and creating the Rhode Island highway maintenance account, to be
                funded by an increase in license and registration fees, beginning in
                FY2014.

                (6) In 2014, the general assembly adopted changes to the Rhode Island
                highway maintenance account to provide additional state revenue for
                transportation infrastructure in future years.

                (7) Although the state is shifting from long-term borrowing to reliance
                upon annual revenues to fund transportation infrastructure on a pay-
                as-you go basis, and although a recurring state source of capital funds
                has been established, there is still a funding gap between the revenue
                needed to maintain all bridges in structurally sound and good condition
                and the annual amounts generated by current dedicated revenue
                sources.

                (8) According to the U.S. General Accounting Office, just one, fully-
                loaded five-axle (5) tractor trailer has the same impact on the
                interstate as nine thousand six hundred (9,600) automobiles. The
                department estimates that tractor trailers cause in excess of seventy
                percent (70%) of the damage to the state’s transportation
                infrastructure, including Rhode Island bridges, on an annual basis.
                However, revenue contributions attributable to tractor trailers
                account for less than twenty percent (20%) of the state’s total annual
                revenues to fund transportation infrastructure.

                (9) The United States Congress, consistent with its power to regulate
                interstate commerce and pursuant to 23 U.S.C. § 129, has authorized
                states to implement reconstruction or replacement of a toll-free bridge
                and conversion of the bridge to a toll facility, provided that the state:

                      (i) Has in effect a law that permits tolling on a bridge prior to
                      commencing any such activity; and

                      (ii) Otherwise complies with the requirements of 23 U.S.C. § 129.




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       R.I. Gen. Laws, § 42-13.1-3

       § 42-13.1-3. Definitions

       As used in this chapter, the following words and terms shall have the
       following meanings, unless the context shall indicate another or different
       meaning:

                (1) “Availability payment” means a payment by the department under
                a contract for a toll facility or any other facility that is based on the
                availability of the facility at a specified performance level and may
                include, without limitation, compensation for operations, maintenance,
                and financing of the facility.

                (2) “Department” means the department of transportation, or, if the
                department shall be abolished, the board, body, or commission
                succeeding to the principal functions thereof or upon whom the powers
                given by chapter 5 of title 37 to the department shall be given by law.

                (3) “Large commercial truck” shall be defined pursuant to the Federal
                Highway Administration (FHWA) vehicle classification schedule as
                any vehicle within Class 8 - single trailer, three (3) or four (4) axles, up
                to and including Class 13 - seven (7) or more axle multi-trailer trucks,
                as such classifications may be revised from time to time by the FHWA.

                (4) “Other vehicle” means any vehicle that has not been defined
                pursuant to this chapter as a large commercial truck.

                (5) “Passenger vehicle” shall be defined pursuant to the Federal
                Highway Administration (FHWA) vehicle classification schedule as
                any vehicle within Class 1, 2, and 3 as such classifications may be
                revised from time to time by the FHWA.

                (6) “Radio frequency identification transponder” or “RFID” means a
                toll collection system approved by the department that may consist of
                a toll tag placed inside the vehicle and an overhead antenna that reads
                the toll tag and collects the toll.




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                (7) “Toll evader” means, for the purposes of this chapter, any
                registered owner of any large commercial truck that passes through
                any electronic tolling location as authorized pursuant to § 42-13.1-4 and
                who does not pay the required toll and/or fees, fines, or penalties
                within the maximum allowable period specified under § 42-13.1-11.

                (8) “Toll facility” means equipment or capital improvements funded in
                whole or in part by toll revenue, or required to effectuate toll
                collection.

                (9) “Turnpike and bridge authority” means the Rhode Island turnpike
                and bridge authority (RITBA), a public instrumentality of the state of
                Rhode Island, created by the general assembly pursuant to chapter 12
                of title 24.



       R.I. Gen. Laws, § 42-13.1-4

       § 42-13.1-4. Authority to collect tolls on large commercial trucks only

       (a) The department is hereby authorized to fix, revise, charge, and collect
       tolls for the privilege of traveling on Rhode Island bridges to provide for
       replacement, reconstruction, maintenance, and operation of Rhode Island
       bridges. The tolls shall be fixed after conducting a cost-benefit analysis and
       providing an opportunity for public comment. The tolls shall be collected on
       large commercial trucks only and shall not be collected on any other vehicle;
       provided, however, no vehicle shall be tolled other than a tractor or truck
       tractor as defined in 23 C.F.R. 658.5, pulling a trailer or trailers. No act
       authorizing tolls on passenger vehicles pursuant to this chapter shall take
       effect until it has been approved by the majority of those electors voting in
       a statewide referendum. The secretary of state shall certify the results of
       the statewide referendum. Tolls on large commercial trucks may be
       implemented utilizing all-electric toll collection methodologies on a cash-less
       basis, or utilizing any other methodologies determined by the department.

       (b) Subject to § 42-13.1-14, the department will establish a program to limit
       the assessment of the tolls upon the same individual large commercial truck
       using a RFID to once per toll facility, per day in each direction, or an



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       equivalent frequency use program based upon individual large commercial
       truck use.

       (c) Subject to § 42-13.1-14, the total amount of tolls imposed upon the same
       individual large commercial truck using a RFID for making a border-to-
       border through trip on Route 95 Connecticut to Route 95 Massachusetts, or
       the reverse, shall not exceed twenty dollars ($20.00).

       (d) Subject to § 42-13.1-14, the daily maximum amount of the tolls collected
       upon the same individual large commercial truck using a RFID shall not
       exceed forty dollars ($40.00).

       (e) Tolls shall not be subject to supervision or regulation by any commission,
       board, bureau, agency, or official of the state or any municipality or other
       political subdivision of the state except the department.



       R.I. Gen. Laws, § 42-13.1-5

       § 42-13.1-5. Collection of tolls on passenger cars and other vehicles
       expressly prohibited

       Notwithstanding any other provisions of this statute, the department is
       expressly prohibited from collecting tolls hereunder on other vehicles,
       herein defined to include motorcycles, passenger cars, and all other vehicles
       classed one through seven (7) pursuant to the Federal Highway
       Administration (FHWA) vehicle classification schedule.



       R.I. Gen. Laws, § 42-13.1-6

       § 42-13.1-6. Rhode Island bridge replacement, reconstruction and
       maintenance fund established

       (a) There is hereby created a special account in the intermodal surface
       transportation fund, as established in § 31-36-20, to be known as the Rhode
       Island bridge replacement, reconstruction, and maintenance fund (“the
       fund”).



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       (b) The fund shall consist of all those monies received by the department
       under this chapter, including:

                (1) The monies received through the collection of tolls on bridges in
                Rhode Island;

                (2) Any fees, fines, or penalties collected pursuant to this chapter; and

                (3) Investment earnings on amounts credited to the fund.

       (c) Unexpended balances and any earnings thereon shall not revert to the
       general fund but shall remain in the Rhode Island bridge replacement,
       reconstruction, and maintenance fund. There shall be no requirement that
       monies received into the fund during any given calendar year or fiscal year
       be expended during the same calendar year or fiscal year.



       R.I. Gen. Laws, § 42-13.1-7

       § 42-13.1-7. Designation of toll bridges

       The director of the department may designate any Rhode Island bridge on
       the National Highway System as a toll bridge in order to facilitate the
       financing of replacement, reconstruction, and maintenance of Rhode Island’s
       system of bridges.



       R.I. Gen. Laws, § 42-13.1-8

       § 42-13.1-8. Amount of tolls

       The department’s authority to fix and adjust the amount of tolls shall be
       determined by the costs of replacement, reconstruction, maintenance, and
       operation of Rhode Island’s system of bridges and/or any portion or portions
       thereof, including costs associated with the acquisition, construction,
       operation, and maintenance of the toll facilities and administrative costs in
       connection therewith.




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       R.I. Gen. Laws, § 42-13.1-9

       § 42-13.1-9. Limitations on use of revenue

       All revenue collected pursuant to this chapter and deposited to the Rhode
       Island bridge replacement, reconstruction, and maintenance fund shall be
       used to pay the costs associated with the operation and maintenance of the
       toll facility, and the replacement, reconstruction, maintenance, and
       operation of Rhode Island bridges on the National Highway System or any
       other use permitted under 23 U.S.C. § 129.



       R.I. Gen. Laws, § 42-13.1-10

       § 42-13.1-10. Procurement of toll facilities

       Without limiting any right of the department to award contracts under any
       other law, the department shall have the right to procure toll facilities
       through contracts aggregating the services of design, engineering,
       construction, finance, operations, maintenance, or any combination of the
       foregoing. Notwithstanding any requirement of law to the contrary, the
       department may award such contracts on the basis of competitive
       negotiation in accordance with § 37-2-19. Such contracts may include
       availability payments or any other compensation structure determined
       appropriate by the department to further the objectives of this chapter.



       R.I. Gen. Laws, § 42-13.1-11

       § 42-13.1-11. Penalty for nonpayment of toll

       (a) The department shall have the authority to establish and collect fees,
       fines, and penalties from registered owners of large commercial trucks who
       use, or attempt to use, any toll facility established under § 42-13.1-4, without
       paying the toll at the rate then in force for such use.




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       (b) Any fee, fine, or penalty shall be in addition to the toll or tolls initially
       incurred and shall be no less than an amount sufficient to cover the cost of
       administration and collection of said fines, fees, and penalties.

       (c) The registered owner of the large commercial truck subject to toll shall
       be primarily responsible for all tolls, fees, fines, and penalties assessed
       pursuant to the provisions of this chapter.

       (d) Prior to the collection of any toll on large commercial trucks, the
       department shall establish a maximum allowable period for the payment of
       tolls and any subsequent fees, fines, and penalties assessed.



       R.I. Gen. Laws, § 42-13.1-12

       § 42-13.1-12. Additional penalties--Toll evasion

       Any toll evader who fails or refuses to pay or prepay the required toll and
       such fees, fines, and penalties as assessed under § 42-13.1-11 and within the
       maximum allowable period specified therein, shall be required to pay a fine
       not to exceed three thousand dollars ($3,000) and shall pay the toll amount
       due and any administrative costs, or shall have their registration suspended
       until payment is made in full for the violation. A toll evader under this
       section shall receive a traffic violation summons which shall be subject to the
       jurisdiction of the traffic tribunal. All amounts due under this section shall
       be remitted to the Rhode Island bridge replacement, reconstruction, and
       maintenance fund.



       R.I. Gen. Laws, § 42-13.1-13

       § 42-13.1-13. Conformance to statute, rules, and regulations

       All programs and funding proposals shall conform to applicable federal law,
       rules, and regulations. The department shall promulgate state rules and
       regulations to carry out the purposes of this chapter. Included within said
       rules and regulations shall be a provision requiring any public comment
       period to continue for at least thirty (30) days and a provision requiring



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       advance notification to be provided to the governor, speaker of the house of
       representatives, and president of the senate prior to any announcement of
       public hearing or public comment period establishing or modifying the
       amount of tolls to be collected. In promulgating these rules and regulations,
       the department shall establish policies and procedures that promote
       procedural transparency.



       R.I. Gen. Laws, § 42-13.1-14

       § 42-13.1-14. Severability

       If a part of this chapter is held unconstitutional or invalid, all valid parts that
       are severable from the invalid or unconstitutional part remain in effect. If a
       part of this chapter is held unconstitutional or invalid in one or more of its
       applications, the part remains in effect in all constitutional and valid
       applications that are severable from the invalid applications. This
       severability clause shall be applicable to each provision of this chapter,
       regardless of whether or not any particular provision references this section.



       R.I. Gen. Laws, § 42-13.1-15

       § 42-13.1-15. Bridge preservation and salt mitigation

       (a) In any fiscal year when the department fails to complete appropriate
       bridge maintenance, no new construction and design contracts subject to
       reporting under § 42-13.1-16 shall be awarded for the subsequent year or
       until proof of appropriate bridge maintenance is provided.

       (b) The director must submit detailed information regarding bridge
       maintenance activities undertaken during the fiscal year to the governor,
       office of management and budget, the speaker of the house, and the
       president of the senate no later than thirty (30) days after the fiscal year
       ends, beginning with fiscal year 2017. The information shall also be posted
       on the department’s website.




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       (c) Notwithstanding the provisions of § 42-13.1-16, bridge maintenance
       requirements may be waived if the director certifies that:

                (1) Certain bridges are in a state of disrepair such that maintenance
                activities will not forestall further deterioration; or

                (2) Certain bridges have a maintenance plan that does not require any
                activities during any given calendar year; or

                (3) Certain bridges have been modified such that maintenance to
                prevent salt erosion and deterioration is no longer required; or

                (4) The department has not used salt on certain bridges or has stopped
                using salt for winter maintenance as a long-term change in practice; or

                (5) Other specific circumstances exist to eliminate the need for
                maintenance activities in any given calendar year.

       (d) Failure to comply is subject to the penalties contained in § 35-3-24.



       R.I. Gen. Laws, § 42-13.1-16

       § 42-13.1-16. Reporting

       The department shall submit to the office of management and budget, the
       house fiscal advisor, and the senate fiscal advisor, a report on the progress
       of implementation of this chapter within thirty (30) days of the close of each
       of the fiscal quarters of each year. The reports shall also be posted on the
       department’s website. The reports shall include, at a minimum:

                (1) Construction and design contracts of five hundred thousand dollars
                ($500,000) or greater planned to be advertised in the upcoming federal
                fiscal year, their value, and expected award date;

                (2) Construction and design contracts of five hundred thousand dollars
                ($500,000) or greater awarded in the prior federal fiscal year, date of
                award, value, and expected substantial completion date;

                (3) Expected final cost of:



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                      (i) Any construction contracts of five hundred thousand dollars
                      ($500,000) or greater that reached substantial completion in the
                      prior federal fiscal year; and

                      (ii) Any design contracts of five hundred thousand dollars
                      ($500,000) or greater completed in the prior federal fiscal year;

                (4) Total number of workers employed through the contract and the
                number of the workers in that total with a Rhode Island address; and

                (5) This report shall also include a current list of all federal,
                discretionary, and any other grants that the department has applied
                for and the status of that application and identify any changes from the
                prior report. For any grants that require a state match, the
                department shall identify if the source for the state’s match is available
                under currently authorized funding.



       R.I. Gen. Laws, § 42-13.1-17

       § 42-13.1-17. Equality of opportunity

       No bid under this chapter shall be deemed complete nor awarded if the bid
       fails to include a specific written plan for the bidder to be in conformity with
       § 37-14.1-6, ensuring that minority business enterprises reach a minimum of
       ten percent (10%) of the dollar value of the bid. Pursuant to §§ 37-14.1-1 and
       37-14.1-3, for the purposes of chapter 13.1 of title 42, women shall be included
       in the definition of “minority business enterprise.” The aforementioned
       written plan should be submitted on forms created and distributed by the
       director of administration.




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